      Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 1 of 196                                            PageID.11




                                                                                                                        LDD / ALL
                                                                                                     Transmittal Number: 22103614
Notice of Service of Process                                                                            Date Processed: 10/02/2020

Primary Contact:           NIC Service Request
                           First American Title Insurance Company - Claim Services
                           5 First American Way
                           Santa Ana, CA 92707-5913

Electronic copy provided to:                   Craig Terrell
                                               Karen Ashway
                                               Kristina Egusa

Entity:                                       First American Title Insurance Company
                                              Entity ID Number 2190625
Entity Served:                                First American Title Insurance Company
Title of Action:                              Ka U Mahl, LLC vs. First American Title Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Circuit Court of the Third Circuit, HI
Case/Reference No:                            3CCV-XX-XXXXXXX
Jurisdiction Served:                          Hawaii
Date Served on CSC:                           09/30/2020
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           John P. Manaut
                                              808-523-2500

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                           EXHIBIT "1"
  Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 2 of 196                                                        PageID.12



        STATE OF HAWAI'I                                                                                  CASE NUMBER
                                                                   SUMMONS
     CIRCUIT COURT OF THE                                TO ANSWER CIVIL COMPLAINT
         THIRD CIRCUIT
 PLAINTIFF                                                        VS.      DEFENDANT(S)
 KA'U MAHI, .LLC, a Colorado lirriited liability company                   FIRST AMERICAN TITLE INSURANCE COMPANY, a
                                                                           Nebraska corporation; DOES 1-25




 PLAINTIFF'S NAME &ADDRESS, TEL. NO.

 KA'U MAHI, LLC, a Colorado limited liability company
 c/o CARLSMITH BALL LLP
 John Manaut, Esq.
 Katherine A. Garson, Esq.
 lan R. Wesley-Smith, Esq.
 1001 Bishop Street, Suite 2100
 Honolulu, Hawaii 96813
 Tel. No. (808) 523-2500


    TO THE ABOVE-NAMED DEFENDANT(S)
              You are hereby summoned and required to file with the court and serve upon
      John Manaut, Esq:, Katherine A. Garson, Esq., lan R. Wesley-Smith, Esq.
      Carismith Ball LLP
      1001 Bishop Street, Suite 2100, Honolulu, Hawaii 96813

     plaintiff's attorney, whose address is stated above, an answer to the complaint which is herewith served upon you, within
     20 days after service of this summons upon you, exclusive of the date of service. If you fail to do so, judgment by default               ,
     will be taken against you for the relief demanded in the complaint.,

           THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M: AND 6:00 A.M. ON
           PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
           COURT PERMITS, IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING THOSE HOURS.

           A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY OF DEFAULT AND DEFAULT
           JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.



    The original document is filed in the                               Effective Date of 28-Oct-2019
    Judiciary's electronic case management                                                                              ~
                                                                        Signed by: /s/ Chery l Salmo
    system which is accessible via eCourt Kokua
                                                                        Clerk, 3rd Circuit, State of Hawai`i
    at: http:/www.courts.state.hi.us


                  In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
                  reasonable accommodation for a disability, please contact the ADA Coordinator at the Circuit CourtAdministration Office on
                  HAWAII- Phone No. 808-961-7424, TTY 808-961-7422, FAX 808-961-7411, at least ten (10) working days prior to your
                  hearing or appointment date.




Form 1C-P-787 (3CCT)(10/19)
Summons to Complaint . ®RG-AC-508 (10/19).
  Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 3 of 196                                                        PageID.13



       STATE OF HAWAI'I                                                                                   CASE NUMBER
     CIRCUIT COURT OF THE                                          SUMMONS
                                                        TOANSWER CIVILCOMPLAINT
         THIRD CIRCUIT
  PLAINTIFF                                                      VS.      DEFENDANT(S)
  KA'U MAHI, LLC, a Colorado limited liability company                    FIRST AMERICAN TITLE INSURANCE COMPANY, a
                                                                          Nebraska corporation; DOES 1-25




  PLAINTIFF'S NAME &ADDRESS, TEL. NO.
  KA'U MAHI, LLC, a Colorado limited liability company
  c/o CARLSMITH BALL LLP
  John Manaut, Esq.
  Katherine A. Garson, Esq.
  lan R. Wesley-Smith, Esq.
  1001 Bishop Street, Suite 2100
  Honolulu, Hawaii 96813
  Tel. No. (808) 523-2500

    TO THE ABOVE-NAMED DEFENDANT(S)
              You are hereby summoned and required to file with the court and serve upon
      John Manaut, Esq., Katherine A. Garson, Esq., lan R. Wesley-Smith, Esq.
      Carlsmith Ball LLP
      1001 Bishop Street, Suite 2100, Honolulu, Hawaii 96813

      plaintiff's attorney, whose address is stated above, an answer to the complaint which is herewith served upon you, within
     20 days after service of this summons upon you, exclusive of the date of senrice. If you fail to do so, judgment by default
     will be taken against you for the relief demanded in the complaint.

           THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
           PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
           COURT PERMITS, IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING THOSE HOURS.
           A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY OF DEFAULT AND DEFAULT
           JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.



    The original document is f(led in the                              Effective Date of 28-Oct-2019
                                                                                                                   k4
    Judiciary's electronic case management
                                                                       Signed by: /s/ Cheryl Salmo
    system which is accessible via eCourt Kokua
    at: http:/www.courts.state.hi.us                                   Clerk, 3rd Circuit, State of Hawai'i
                                                                                                                   U
                                                                                                                   M-1
 is              In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
                 reasonable accommodation for a disability, please contact the ADA Coordinator at the Circuit Court Administration Office on
                 HAWAII- Phone No. 808-961-7424, TTY 808-961-7422, FAX 808-961-7411, at least ten (10) working days prior to your
               : hearing or appointment date.




Form 1C-P-787 (3CCT) (10/19)
Summons to Complaint . ©RG-AC-508 (10/19)
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 4 of 196                                                                          PageID.14
 ~




     CARLSIVIITH BALL LLP

     JOHN P. MANAUT 3989                                                                                                      Electronically Filed
     IAN R.. WESLEY-SMITH 10626                                                                                               THIRD CIRCUI,T
     ASB Tower, Suite 2100                                                                                                    3CCV-XX-XXXXXXX
     1001 Bishop Street                                                                                                       29-SEP-2020
     Honolulu, HI 96813
                                                                                                                              11:5:5 AM
     Tel No. 808.523.2500
     Fax No. 808.523.0842
     j pm (~
          a,carl sm ith. com
     iwesley-smith e,carlsmith.com

     KATHERINE A. GARSON 5748
     121 Waianuenue Avenue
     P.O. Box 686
     Hilo, HI 96721-0686
     Tel No. 808.935.6644
     Fax No. 808.935.7975
     kgarsongcarlsmith.com

     Attorneys for Plaintiff
     KA`U MAHI LLC

                                     IN THE CIRCUIT COURT OF THE THIRD CIRCUIT

                                                              STATE OF HAWAI`I

     KA`U MAHI, LLC, a Colorado limited                                              CIVIL NO. _
     liability company,                                                              (CONTRACT)

                            Plaintiff,                                               COMPLAINT; EXHIBIT 1; SUMMONS

                vs.

     FIRST AMERICAN TITLE INSURANCE
      OMPANY, a Ne ras a corpo ,
     1-25;

                            Defendants.


                                                                    COMPLAINT

                Plaintiff Ka`u Mahi, LLC ("Plaintiff ') alleges this Complaint against Defendant First

     American Title Insurance Company ("Defendant"), as follows:


                                                                                                                                                  91C/~
I do hereby certify that the foregoing is a'full, true and correct copy of the official court record of the Courts of the State of Hawai i.
Dated84'7F-0iBQ*B0:629i8fi%X=Zs/ Lester Oshiro, Clerk of the.Third Jadicial Circuit, State of Hawa'r'i                                            ~t
                                                                                                                                              T
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 5 of 196                                     PageID.15
®



                      1.           Plaintiff is a State of Colorado limited liability company with its principal

   business address at 1400 16th Street, Suite 320, Denver, Colorado, 80202.

                      2.           Plaintiff is informed and believes and on that basis alleges that Defendant

   is a corporation duly incorporated under the laws of the State of Nebraska with a home office

   located at 1 First American Way, Santa Ana, California 92707.

                                   The Defendants designated as Does 1-25 (collectively, the "Doe

   Defendants") are individuals, partnerships, corporations, associations, and/or governmental or

   private entities who, though not currently discovered or known to Plaintiff despite diligent

   inquiry, may have contributed to, or may be directly or vicariously responsible for causing, (1)

   the impasse leading to this action, or (2) the damages sustained by Plaintiff and/or (3) owe

   defense or indemnity coverage to Plaintiff. All references in this Complaint, to any of the named

   defendants, or to "Defendants," include these Doe Defendants.

                      4.           The claims asserted here for breach of contract, declaratory relief and

   breach of the duty of good faith and fair dealing are brought pursuant to the jurisdictional

   provisions of Haw. Rev. Stat. § 634-35 and § 632-1.

                      5.           Venue is appropriate in the Circuit Court of the Third Circuit under Haw.

   Rev. Stat. § 603-36.

                      6.           All claims for relief arose in the Ka`u District, County of Hawai`i, State of

   Hawai`i, and the property covered by the title insurance policy at issue here is.located in Ka`u,

   State of Hawai`i.

                      7.           This action seeks full and complete coverage on Plaintiff's title insurance

   policy claim with Defendant.




   4827-1327-4295.6.068646-00002                             2.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 6 of 196                                    PageID.16




                      8.           On or about December 25, 2015, Plaintiff acquired real property located in

   the District of Ka`u, County of Hawai`i, State of Hawai`i, as more fully described in Schedule C

   of Exhibit 1 attached hereto ("Property").

                      9.           As part of the purchase and closing of the property, Plaintiff agreed to

   purchase, and Defendant agreed to provide, title insurance policy coverage pursuant to an

   Owner's Policy of Title Insurance on or about December 22, 2015, in the amount of

   $10,400,000. A true and correct copy of Policy No. 5011415-17135, as issued by Defendant, is

   attached hereto as Exhibit 1("Contract"). The tenns and conditions of that Contract are

   incorporated herein by reference.

                      10.          Various provisions of the Contract require that Defendant indemnify,

   cover and defend alleged claims against Plaintiff s fee simple title, as specified in the Contract.

                      11.          Various provisions of the Contract also require Defendant to cover loss or

   damages incurred by Plaintiff, arising from, among other things: (1) fee simple title being vested

   other than as stated in the Contract; (2) defects in title; (3) unmarketable title; or (4) a

   government taking.

                      12.          A reasonable insured would understand, based on the plain language of the

   Contract, that the Contract provided coverage for, inter alia, adverse fee simple ownership

   claims affecting the Property or Plaintiff's fee simple interest in the Property, which were not

   specifically stated, disclosed, or excluded in the Contract. Plaintiff executed the Contract based

   on that reasonable interpretation of the plain language of the Contract.

                      13.          In 2018 and 2019, Plaintiff sought approval from the County of Hawai`i

   ("County") for certain development approvals for the Property. After a period of delay, Plaintiff

   was advised that the County and/or State of Hawai`i ("State") may assert a fee simple property




   4827-1327-4295.6.068646-00002                            3.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 7 of 196                                   PageID.17




   interest in a portion of land acquired by Plaintiff known as Road A and potentially other areas on

   the Property. The County determined that portions of the Property not previously disclosed as

   public lands in the Contract include a"public highway," which requires extensive infrastructure

   improvements and other requirements to develop and will require additional conditions and

   unanticipated improvements for future construction permits.

                      14.          The Hawaii State Abstractor provided a formal opinion letter dated April

   4, 2019, which declared that an area known as Road A in the Property and other nearby areas

   were considered a"public highway" pursuant to the Highways Act of 1892, now codified as

   Haw. Rev. Stat. § 264-1 (2016). Additional email correspondence confirmed the State

   Abstractor's position of a"public highway" on August 27, 2019 and August 29, 2019.

                      15.          The County and/or the State have confirmed, unambiguously, that they are

   claiming a fee simple interest in the alleged "public highway" located on PlaintifPs Property.

                      16.          Under long-standing Hawaii case law, the County's and/or State's adverse

   claim of interest that the alleged "public highway" exists, pursuant to the Highway's Act of 1892,

   formally constitutes a claim of fee simple title to that land as a matter of law under Application of

   Kelley, 50 Haw. 567, 579, 445 P.2d 538, 546 (1968).

                      17.          The County's and/or State's purported fee simple interest in Plaintiff's

   Property was not stated or disclosed in the Contract. Defendant made no disclosure that the

   government's adverse interest existed or that it could affect Plaintiff's fee simple title to the

   Property. Defendant did not exclude or except the County's and/or State's purported fee simple

   interest from coverage provided by the Contract.

                      18.          Plaintiff has and will suffered loss or damages incurred by reason of, inter

   alia, fee simple title being vested other than as stated in the Contract, and by reason of defects in




   4827-1327-4295.6.068646-00002                            4.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 8 of 196                                 PageID.18




   title and unmarketable title. Plaintiff requires coverage of losses/damages, indemnification, and

   defense against alleged claims against its fee simple title in the Property.

                      19.      Defendant's obligations under the Contract have been triggered by, inter

   alia, the County and/or State's assertion of a purported fee simple interest in Plaintiff's Property.

                      20.      Plaintiff formally tendered notice of the adverse interest claim to

   Defendant on or before July 18, 2019.

                      21.      Despite repeated demands to date, Defendant has failed to adequately

   perform its obligations under the Contract, including, without limitation, to cover Plaintiffs

   losses or damages and to accept the tender and defend and indemnify.

                      22.      Instead, Defendant has engaged in a year-long pattern of delay, and has

   asserted shifting and sometimes contradictory positions on coverage, failed to conduct adequate

   and good faith investigation, failed to act in Plaintiff's best interest with respect to disputes

   related to the Property and Contract, and, ultimately, unreasonably denied coverage under the

   Contract and failed to take steps to clear the title to the Property.

                      23.      By letter dated November 8, 2019, Defendant refused to commit to

   providing coverage under the Contract. Among other things, Defendant claimed that "Coverage

   Risk 1," for "loss arising from title being vested other than as stated in Schedule A of the

   Policy," did not apply, on the grounds that Defendant believed that the County and/or State did

   not "assert any interest in the fee title to the Road or any portion of the Land insured by the

   Policy." Defendant asserted "[t]here is no claim that Title is vested other than as set forth in

   Schedule A." Defendant concluded that "First American is without information to conclude that

   coverage for the claim is compensable under the terms of the Policy, and therefore denies the

   claim based on the analysis set forth herein."




   4827-1327-4295.6.068646-00002                         5.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 9 of 196                                     PageID.19




                      24.          Plaintiff thereafter requested that Defendant reconsider its position on the

   Contract, in part on the grounds that the State and/or County were indisputably claiming a fee

   simple interest in part of the Property.

                      25.          On April 1, 2020, Defendant reversed its position, recognizing that there

   "may be coverage" under "Coverage Risk No. 1" to the extent the State and/or County "claims

   fee title to the portion of the subject road traversing Parcels 8 and 9[of the Property], subject to

   the terms and conditions of the Policy." In effect, Defendant's April 1, 2020 letter

   acknowledged that the State and/or County claimed a fee simple interest in the Property that was

   not stated or disclosed in the Contract, and that triggered the core coverages of the Contract.

                      26.          Despite reversing its position and recognizing coverage, however,

   Defendant asserted various exclusions and exceptions, in bad faith, to avoid the majority of its

   obligations under the Contract. Defendant's interpretations of exclusions in the contract were

   unreasonable based on facts known or available to Defendant and the plain language of the

   Contract; Defendant advanced those interpretations to negate Defendant's straightforward title

   insurance obligations to Plaintiff.

                      27.          On Apri17, 2020, Plaintiff notified Defendant that its April l, 2020 letter

   constituted an attempt to "avoid acceptance of coverage." Plaintiff requested that Defendant

   confirm "full cooperation and clear admission of coverage" by April 14, 2020.

                      28.          On April 13, 2020, Defendant refused, in writing, to reconsider the

   unreasonable positions and interpretations on narrow coverage taken in its April 1, 2020 letter.

                      29.          In or before August 2020, representatives of the State and/or County

   further clarified that the State and/or County claimed fee simple ownership of the highway




   4827-1327-4295.6.068646-00002                             6.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 10 of 196                                   PageID.20




    purportedly running through the Property "solely" on the basis of the Highways Act of 1892 and

    HRS Section 264-1.

                      30.          Upon receiving clear notice that the State and County were claiming a fee

   simple interest in the Property, purportedly dating back to at least 1892, Defendant should have

   confirmed full coverage under the Contract and performed its obligations under the Contract.

   Among other things, the State's and/or County's claim to a 128-year-old fee simple interest

    meant that fee simple title to the Property was potentially vested other than as stated in the

    Contract. At minimum, the State's and/or County's claim represented a defect or cloud on title

   or a taking that was not explicitly stated, disclosed, exempted, excluded, or disclaimed in the

    Contract.

                      31.          The State's and/or County's claim of a 128-year-old fee simple interest in

   the Property, as confirmed in their August 2020 communication, implicates the primary purpose

   and central coverage of the Contract -- Defendant's obligation to insure Plaintiff's fee simple

    interest in the Property, as stated and represented in the Contract.

                      32.          Instead of confirming coverage, Defendant, in bad faith, used the State's

   and/or County's determination as grounds to try to rescind the extremely limited coverage

   offered to Plaintiff in the April 1, 2020 letter and to deny further coverage under the Contract.

                      33.          In a letter dated September 14, 2020, Defendant alleged, for the first time,

   that Defendant was rescindiiig and denying coverage solely under Exclusion 1 of the Contract,

   on the grounds that the State's and/or County's claimed 128-year-old fee simple interest

   somehow implicated the Contract's general exclusion for losses or damages arising from "[a]ny

    law, ordinance, permit, or government regulation (including those relating to building and




   4827-1327-4295.6.068646-00002                             7.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 11 of 196                                 PageID.21




    zoning) restricting, regulating, prohibiting, or relating to" use of the Property, or arising from an

    exercise of government "police power."

                      34.          Defendant's September 14, 2020 letter concluded that "First American is

    without information to conclude that coverage for the claim is compensable under the terms of

    the Policy, and therefore denies the claim ...." That language was exactly the same as the

    language that Defendant used when refusing to confirm coverage nearly a year earlier (under a

    different unreasonable interpretation of the Contract and the facts), in its November 8, 2019

    letter.

                      35.          The basis for denial alleged by Defendant in the September 14, 2020 letter

    was made in bad faith and was not based on a reasonable interpretation of the Contract. Among

    other things, no reasonable insured would believe that Exclusion 1 of the Contract, which

    governs use restrictions on property, excludes title insurance coverage for claims and losses

    arising from an undisclosed 128-year-old fee simple interest asserted by a government entity in

    the Property. The plain language and clear intent of the Contract, with all ambiguities

    interpreted in favor of the insured, does not support Defendant's interpretation.

                      36.          Defendant knows, or should have known, that the language of the Contract

    unambiguously provides; and that a reasonable insured would expect, that a 128-year-old fee

    simple interest would only be excluded from title insurance coverage if that 128-year-old fee

    simple interest was specifically stated, disclosed, and/or explicitly excluded from the Contract.

    The Contract contains no such explicit exclusion or disclosure.

                      37.          In written and oral communications over the past year, Defendant has

    evaded its obligations under the Contract with a shifting series of justifications and excuses.




   4827-1327-4295.6.068646-00002                            8.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 12 of 196                                       PageID.22




                      38.          The pattern of Defendant's conduct from 2019 to present, up to and

    including the September 14, 2020 letter, has been unreasonable.

                      39.          Defendant is engaged in a bad faith, year-long attempt to delay, deny,

    and/or minimize the straightforward title insurance coverage owed to Plaintiff under the

    Contract.

                                                         COUNTI
                                              (BREACH OF CONTRACT)

                      40.          Plaintiff restates all prior paragraphs as if asserted for this Count.

                      41.          The Contract is a binding and enforceable agreement for title insurance.

                      42.          Plaintiff has performed all of its obligations under the Contract.

                      43.          Defendant has materially breached its obligations under the Contract.

                      44.          All conditions precedent to the filing of this cause of action have been

    performed by Plaintiff or waived by Defendant.

                      45.          Plaintiff has the right to specific performance under the Contract.

                      46.      As a direct proximate result of Defendant's breach of the Contract,

    Plaintiff has also been damaged in an amount to be shown at trial.

                      47.          Current estimates of losses, including diminution in value, are for

   unanticipated losses calculated from estimates of anticipated costs of $2,515,800 (plus

   mobilization costs) up to $3,385,833, and subject to further adjustments or increases as the

   development proceeds and is further adversely impacted by the adverse fee simple interest claim

   of a"public highway" over its Property, or until Plaintiff s fee simple title is cleared of the

   adverse interest claim.

                      48.      Plaintiff is also entitled to an award of attorney's fees under, inter alia,

   Haw. Rev. Stat. Section 607-14.



   4827-1327-4295.6.068646-00002                              9.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 13 of 196                                         PageID.23




                                                    COUNT II
                                              (DECLARATORY RELIEF)

                      49.          Plaintiff restates all prior paragraphs as if asserted for this Count.

                      50.          Plaintiff seeks declaratory relief under Haw. Rev. Stat. § 632-1 and Haw.

    R. Civ. P. 57.

                      51.          An actual controversy exists between Plaintiff and Defendant as to the

    parties' rights, duties and obligations as between them.

                      52.          Plaintiff is entitled to a Declaration that losses, damages, and other fonns

   of relief arising from or caused by the County's and/or State's assertion of a fee simple interest

    in the Property are covered by the terms of the Contract and are not excluded by any term of the

    Contract.

                      53.          Plaintiff is entitled to a Declaration that Defendant is obligated to Plaintiff

   under the Contract, including, without limitation, to: (i) defend, indemnify, and promptly

   remove the adverse interests alleged of a public highway on the Property; (ii) to quiet title; (iii)

   to compensate Plaintiff for all losses and other damages; (iv) for diminution in value losses; (v)

   for fees and expenses of any kind since tender of the adverse interest claim; and/or (vi) otherwise

   for such other and further related relief as is appropriate.

                      54.          Plaintiff is entitled to recover all losses incurred and all attorney's fees and

   costs in pursuing this action.

                                                        COUNT III
                                                       (BAD FAITH)

                      55.          Plaintiff reasserts all prior allegations as if asserted for this Count.




   4827-1327-4295.6.068646-00002                             10.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 14 of 196                                       PageID.24




                       56.          Implied in every insurance policy, including policies for title insurance, is

    a covenant of good faith and fair dealing, the breach of which gives rise to a cause of action for

    the tort of bad faith.

                       57.      "When an insurer acts in bad faith, it gives rise to a cause of action for the

    tort of bad faith." Adams v. Hawaii Med. Serv. Ass'n, 145 Haw. 250, 256, 450 P.3d 780, 786

    (2019).

                       58.      "The implied covenant [of good faith and fair dealing] is breached,

    whether the carrier pays the claim or not, when its conduct damages the very protection or

    security which the insured sought to gain by buying insurance." Best Place, Inc. Penn Am. Ins.

    Co., 82 Haw. 120, 132, 920 P.2d 334, 346 (1996).

                       59.          An insurer is liable for bad faith when, among other things, it takes

    unreasonable positions on coverage.

                       60.          An insurer is also liable for bad faith when, among other things, it

    unreasonably handles an insurance claim or engages in an unreasonable course of conduct with

    respect to the insurance contract or the insured.

                       61.          Additionally, "[v]iolations of the unfair settlement provision, [HRS] §

    431:13-103(a), may be used as evidence to indicate bad faith in accordance with the guidelines

    of Best Place." Wailua Assocs. V. Aetna Cas. cPc Sur. Co., 27 F. Supp. 2d 1211, 1221 (D. Haw.

    1998).

                       62.          Defendant breached its obligation of good faith and fair dealing, and acted

    in bad faith, with respect to its unreasonable conduct administering, managing, investigating,

    interpreting, and adjusting the Contract and PlaintifFs claims under the Contract. Defendant has

    put, and continues to put, its own interests above the interests of its insured, Plaintiff.




    4827-1327-4295.6.068646-00002                            11.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 15 of 196                                     PageID.25




                      63.          Plaintiff is entitled to damages, including an award of exemplary or

    punitive damages, based on Defendant's willful, intentional, and grossly negligent conduct.

            WHEREFORE, Plaintiff prays for the following relief.

            A.        An order that Defendant has breached the Contract and is liable for all damages,

    including, without limitation loss of value, suffered by Plaintiff; and/or

            B.        That specific performance be awarded under the Contract, as appropriate; and/or

            C.        That Defendant be declared obligated to provide coverage under the Contract,

    including, without limitation, defending and timely performing obligations to quiet title and

    defending against the adverse fee simple interest, and compensating Plaintiff for all losses and

    damages, including diminution in value; and/or

            D.        An award of compensatory and punitive damages for Defendant's bad-faith

    conduct; and/or

            E.        For an award of all fees and costs (statutory or otherwise); and

            F.        Such other relief as is appropriate.

                                          DATED: Honolulu, Hawai`i, September 29; 2020.




                                                              /s/ John P. Manaut
                                                              JOHN P. MANAUT
                                                              KATHERINE A. GARSON
                                                              IAN R. WESLEY-SMITH

                                                              Attorneys for Plaintiff
                                                              KA`U MAHI LLC




   4827-1327-4295.6.068646-00002                           12.
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 16 of 196   PageID.26




                              EXHIBIT I
  Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 17 of 196                                                                                                    PageID.27
                                                                                                                                   ~.



     ,
         ,SS   ^MER~~

                        .                                                              Owner's Policy of Ti'tle Insurance
                                FirstAmerican Title                                    ISSUED BY


                                                                                       First American Title Insurance Company
                                                                                       POLICY NUMBER

     Owner'S POl iCy                                                                   5011415-17135
Any notice of claim and any other notice or statement in writing required to be given to the Company under this policy must be given to
the Company at the address shown in Section 18 of the Conditions.

                                                                                    COVERED RISKS

SUBJECT TO THE EXCLUSIONS FROM COVERAGE, THE EXCEPTIONS FROM COVERAGE CONTAINED IN SCHEDULE B, AND THE
CONDITIONS, FIRST AMERICAN TITLE INSURANCE COMPANY, a Nebraska corporation (the "Company") insures as of Date of Policy and, to
the extent stated in Covered Risks 9 and 10, after Date of Policy, against loss or damage, not exceeding the Amount of Insurance, sustained or
incurred by the Insured by reason of:

1.       Title being vested other than as stated in Schedule A.
2.       Any defect in or (ien or encumbrance on the Title. This Covered Risk includes but is not limited to insurance against loss from
         (a) A defect in the Title caused by
              (i) forgery, fraud, undue influence, duress, incompetency, incapacity, or impersonation;
              (ii) failure of any person or Entity to have authorized a transfer or conveyance;
              (iii) a document affec6ng Title not properly created, executed, witnessed, sealed, acknowledged, notarized, or delivered;
              (iv) failure to perform those acts necessary to create a document by electronic means authorized by law;
              (v) a document executed under a falsified, expired, or otherwise invalid power of attomey;
              (vi) a document not properiy flled, recorded, or indexed in the Public Records including failure to perform those acts by electronic
                    means authorized by law; or
              (vii) a defecfjvejudicial or administrative proceeding.
         (b) The lien of real estate taxes or assessments imposed on the Title by a governmental authority due or payable, but unpaid.
         (c) Any encroachment, encumbrance, violation, variation, or adverse circumstance afFecting the Title that would be disdosed by an
              accurate and complete land survey of the Land. The term "encroachment" indudes encroachments of existing improvements located on
              the Land onto adjoining land, and encroachments onto the Land of existing improvements located on adjoining land.
3.       Unmarketable Title.
4.       No right of access to and from the Land.
                                                                                                               (Covered Risks Continued on Page 2)


 In Witness Whereof, First American Title Insurance Company has caused its corporate name to be hereunto affixed by its authorized officers as
 of Date of Policy shown in Schedule A.

     First American Title Insurance Company                                                           Issued by:


                                                                                                          ~ G uqR                 Title Guaranty of Hawaii Inc
                                   ~                                                                    ~        ?1,              235 Queen Street
         Dennis J. Gilmore
                                                                                                        F          ~              Honolulu Hawaii 96813
         President                                                                                                                Telephone (808) 533-6261
                                                                                                            y~N A~ ~ ~            Fax (808) 521-0221
                        /    v                             :                                                                      Email title@tghawaii.com


         Jeffrey S. Robinson
         Secretary

(This Policy is valid only when Schedules A and B are attached)                                            This jacket was created electronically and constitutes an original document

Copyright 2006-2009 American Land Title Assoclatlon. AII rights reserved. The use of this form is restrictetl to ALTA licensees and ALTA members in good standing as of the dale of use.
AII other uses are prohibited. Reprinted under license from the American Land Title AssociaGon.




Form 5011415 (7-1-14)                                                       Page 1 of 16                                         ALTA Owner's Policy of Title Insurance (6-17-06)
  Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 18 of 196                                                               PageID.28

                                                           COVERED RISKS (Continued)


5. The violation or enforcement of any law, ordinance, permit, or govemmental regulation (including those relating to building and zoning)
     restricting, regulaGng, prohibiting, or relating to
     (a) the occupancy, use, or enjoyment of the Land;
     (b) the character, dimensions, or location of any improvement erected on the Land;
     (c) the subdivision of land; or
     (d) environmental protection
     if a no6ce, describing any part of the Land, is recorded in the Public Records sefting forth the violation or intention to enforce, but only to the
     extent of the violation or enforcement referred to in that notice.
6. An enforcement action based on the exercise of a govemmental police power not covered by Covered Risk 5 if a notice of the enforcement
     action, describing any part of the Land, is recorded in the Public Records, but only to the extent of the enforcement referred to in that notice.
7. The exercise of the rights of eminent domain if a notice of the exercise, describing any part of the Land, is recorded in the Public Records.
8. Any taking by a govemmental body that has occurred and is binding on the rights of a purchaser for value without Knowledge.
9. Title being vested other than as stated in Schedule A or being defe.cGve
     (a) as a result of the avoidance in whole or in part, or from a court order providing an altemative remedy, of a transfer of all or any part of
           the title to or any interest in the Land occurring prior to the transaction vesting Title as shown in Schedute A because that prior transfer
           constituted a fraudulent or preferential transfer under federal bankruptcy, state insolvency, or similar creditors' rights laws; or
     (a) because the instrument of transfer vesting Title as shown in Schedule A constitutes a preferential transfer under federal bankruptcy,
           state insolvency, or similar creditors' rights laws by reason of the failure of its recording in the Public Records
           (i) to be timely, or
           (ii) to impart notice of its existence to a purchaser for value or to a judgment or lien creditor.
10. Any defect in or lien or encumbrance on the Title or other mafter included in Covered Risks 1 through 9 that has been created or attached or
     has been filed or recorded in the Public Records subsequent to Date of Policy and prior to the recording of the deed or other instrument of
     transfer in the Public Records that vests Title as shown in Schedule A.

The Company will also pay the costs, attomeys' fees, and expenses incurred in defense of any matter insured against by this Policy, but only to
the extent provided in the Conditions.

                                                         EXCLUSIONS FROM COVERAGE


The following matters are expressly excluded from the coverage of this          (b) not Known to the Company, not recorded in the Public
policy, and the Company will not pay loss or damage, costs, aftomeys'                 Records at Date of Policy, but Known to the Insured
fees, or expenses that arise by reason of:                                            Claimant and not disdosed in writing to the Company by the
1. (a) Any law, ordinance, permit, or govemmental regulation                          Insured Claimant prior to the date the Insured Claimant
     (including those relating to building and zoning) restricting,                   became an Insured underthis policy;
     regulating, prohibiting, or relating to                                    (c) resulting in no loss or damage to the Insured Claimant;
          (i) the occupancy, use, or enjoyment of the Land;                     (d) attaching or created subsequent to Date of Policy (however,
          (ii) the character, dimensions, or location of any                          this does not modify or limit the coverage provided under
                improvement erected on the Land;                                      Covered Risk 9 and 10); or
          (iii) the subdivision of land; or                                     (e) resulting in loss or damage that would not have been
          (iv) environmental protection;                                              sustained if the Insured Claimant had paid value for the Title.
          or the effect of any viola6on of these laws, ordinances, or        4. Any claim, by reason of the operation of federal bankruptcy, state
          govemmental regulations. This Exclusion 1(a) does not                 insolvency, or similar creditors' rights laws, that the transaction
          modify or limit the coverage provided under Covered Risk 5.           vesting the Title as shown in Schedule A, is
     (b) Any govemmental police power. This Exclusion 1(b) does                 (a) a fraudulent conveyance or fraudulent transfer, or
          not modify or limit the coverage provided under Covered               (b) a preferential transfer for any reason not stated in Covered
          Risk 6.                                                                    Risk 9 of this policy.
2. Rights of eminent domain. This Exdusion does not modify or limit          5. Any lien on the Title for real estate taxes or assessments imposed
     the coverage provided under Covered Risk 7 or 8.                           by governmental authority and created or aftaching between Date
3. Defects, liens, encumbrances, adverse claims, or other matters               of Policy and the date of recording of the deed or other instrument
     (a) created, suffered, assumed, or agreed to by the Insured                of transfer in the Public Records that vests Title as shown in
          Claimant;                                                             Schedule A.

                                                                    CONDITIONS

1. DEFINITION OF TERMS                                                                10 and 11 of these Conditions.
   The following terms when used in this policy mean:                             (b) "Date of Policy": The date designated as "Date of Policy" in
   (a) "Amount of Insurance": The amount stated in Schedule A,                        Schedule A.
        as may be increased or decreased by endorsement to this                   (c) "Entity": A corporation, partnership, trust, limited liability
        policy, increased by Section 8(b), or decreased by Sections                   company, or other similar legal entity.


Form 5011415 (7-1-14)                                      Page 2 of 16                              ALTA Owner's Policy of Title Insurance (6-17-06)
     Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 19 of 196                                                                 PageID.29
                                                 -- .                CONDITIONS (Continued)
        (d) "Insured": The Insured named in S....ddule A.                             Policy in favor of .:, lnsured, but only so long as the Insured
               (i) The term "Insured" also includes                                 ,retains an estate or interest in the Land, or holds an obligation
                     (A) successors to the Title of the Insured by operation          secured by a purchase money Mortgage given by a purchaser
                           of law as distinguished from purchase, including           from the Insured, or only so long as the Insured shall have liability
                           heirs,       devisees,       survivors,      personal      by reason of warranties in any transfer or conveyance of the Title,
                           representatives, or next of kin;                           This policy shall not confinue in force in favor of any purchaser
                     (B) successors to an Insured by dissolution, merger,             from the Insured of either (i) an estate or interest in the Land, or
                           consolidation, distribution, or reorganization;            (ii) an obligation secured by a purchase money Mortgage given to
                     (C) successors to an Insured by its conversion to                the Insured.
                           another kind of Enfity;                               3. NOTICE OF CLAIM TO BE GIVEN BY INSURED CLAIMANT
                    (D) a grantee of an Insured under a deed delivered                The Insured shall notify the Company promptly in writing (i) in
                           without payment of actual valuable consideration          case of any litigation as set forth in Section 5(a) of these
                           conveying the Title                                        Conditions, (ii) in case Knowledge shall come to an Insured
                          (1) if the stock, shares, memberships, or other            hereunder of any claim of title or interest that is adverse to the
                                equity interests of the grantee are wholly-           Title, as insured, and that might cause loss or damage for which
                                owned by the named Insured,                          the Company may be liable by virtue of this policy, or (iii) if the
                          (2) if the grantee wholly owns the named Insured,          Title, as insured, is rejected as Unmarketable Title. If the
                          (3) if the grantee is wholly-owned by an affiliated        Company is prejudiced by the failure of the Insured Claimant to
                                Entity of the named Insured, provided the            provide prompt notice, the Company's liability to the Insured
                                affiliated Entity and the named Insured are          Claimant under the policy shall be reduced to the extent of the
                                both wholly-owned by the same person or              prejudice.
                                Entity, or                                       4. PROOF OF LOSS
                          (4) if the grantee is a trustee or beneficiary of a       In the event the Company is unable to determine the amount of
                                trust created by a written instrument                loss or damage, the Company may, at its option, require as a
                                established by the Insured named in                  condition of payment that the Insured Claimant fumish a signed
                                Schedule A for estate planning purposes.            proof of loss. The proof of loss must describe the defect, lien,
              (ii) With regard to (A), (B), (C), and (D) reserving, however,        encumbrance, or other matter insured against by this policy that
                    all rights and defenses as to any successor that the            constitutes the basis of loss or damage and shall state, to the
                    Company would have had against any predecessor                  extent possible, the basis of calculating the amount of the loss or
                    Insured.                                                         damage.
       (e) "Insured Claimant": An Insured daiming loss or damage.                5. DEFENSE AND PROSECUTION OF ACTIONS
      (f) "Knowledge" or "Known":                    Actual knowledge, not          (a) Upon written request by the Insured, and subject to the
              constructive knowledge or notice that may be imputed to an                     options contained in Section 7 of these Conditions, the
              Insured by reason of the Public Records or any other records                   Company, at its own cost and without unreasonable delay,
              that impart constructive notice of matters affecting the Title.                shall provide for the defense of an Insured in litigafion in
      (g) "Land": The land described in Schedule A, and affixed                              which any third party asserts a claim covered by this policy
              improvements that by law constitute real property. The term                    adverse to the Insured. This obligation is limited to only
              "Land" does not include any property beyond the lines of the                   those stated causes of action alleging matters insured
              area described in Schedule A, nor any right, fitle, interest,                  against by this policy. The Company shall have the right to
              estate, or easement in abufting streets, roads, avenues,                       select counsel of its choice (subject to the right of the Insured
              alleys, lanes, ways, or waterways, but this does not modify or                 to object for reasonable cause) to represent the Insured as to
             limit the extent that a right of access to and from the Land is                 those stated causes of action. It shall not be liable for and
             insured by this policy.                                                         will not pay the fees of any other counsel, The Company will
      (h) "Mortgage": Mortgage, deed of trust, trust deed, or other                          not pay any fees, costs, or expenses incurred by the Insured
             security instrument, induding one evidenced by electronic                      in the defense of those causes of action that allege matters
             means authorized by law.                                                       not insured against by this policy.
      (i) "Public Records": Records established under state statutes                (b) The Company shall have the right, in addition to the options
             at Date of Policy for the purpose of imparting constructive                    contained in Section 7 of these Conditions, at its own cost, to
             notice of matters relaang to real property to purchasers for                   institute and prosecute any action or proceeding or to do any
             value and without Knowledge, With respect to Covered Risk                      other act that in its opinion may be necessary or desirable to
             5(d), "Public Records" shall also include environmental                        establish the Title, as insured, or to prevent or reduce loss or
             protection liens filed in the records of the derk of the United                damage to the Insured. The Company may take any
             States District Court for the district where the Land is                       appropriate action under the terms of this policy, whether or
             located.                                                                       not it shall be liable, to the Insured. The exercise of these
      (j) "Title": The estate or interest described in Schedule A.                          rights shall not be an admission of liability or waiver of any
      (k) "Unmarketable Title": Title affected by an alleged or apparent                    provision of this policy. If the Company exercises its rights
             matter that would permit a prospective purchaser or lessee                     under this subsection, it must do so diligently.
             of the TiUe or lender on the Title to be released from the             (c) Whenever the Company brings an action or asserts a
             obligation to purchase, lease, or lend if there is a contractual               defense as required or permitted by this policy, the Company
            condition requiring the delivery of marketable title.                           may pursue the litigation to a final determination by a wurt of
2.    CONTINUATION OF INSURANCE                                                             competent jurisdiction, and it expressly reserves the right, in
      The coverage of this policy shall continue in force as of Date of                     its sole discretion, to appeal any adversejudgment or order.

Form 5011415 (7-1-14)                                         Page 3 of 16                               ALTA Owner's Policy of Title Insurance (6-17-06)
  Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 20 of 196                                                                   PageID.30
       ,                                      ,~•..           CONDITIONS (Continued)
6.   DUTY OF INSURED CLAIMANT TO Cu..PERATE                                              (i)   To pay or „uierwise settle with other parties for or in the
     (a) In all cases where this policy permits or requires the                                name of an Insured Claimant any claim insured against
          Company to prosecute or provide for the defense of any                               under this policy. In addition, the Company will pay any
          action or proceeding and any appeals, the Insured shall                              costs, attorneys' fees, and expenses incurred by the
          secure to the Company the right to so prosecute or provide                           Insured Claimant that were authorized by the Company
          defense in the action or proceeding, induding the right to                           up to the time of payment and that the Company is
          use, at its opfion, the name of the Insured for this purpose.                        obligated to pay; or
          Whenever requested by the Company, the Insured, at the                         (ii) To pay or othen►uise settle with the Insured Claimant the
          Company's expense, shall give the Company all reasonable                             loss or damage provided for under this policy, together
          aid (i) in securing evidence, obtaining witnesses, prosecuting                       with any costs, attorneys' fees, and expenses incurred
         or defending the action or proceeding, or effecting                                   by the Insured Claimant that were authorized by the
          settlement, and (ii) in any other lawful act that in the opinion                     Company up to the 6me of payment and that the
         of the Company may be necessary or desirable to establish                             Company is obligated to pay.
          the Title or any other matter as insured. If the Company is              Upon the exercise by the Company of either of the options
          prejudiced by the failure of the Insured to fumish the required          provided for in subsections (b)(i) or (ii), the Company's obligations
          cooperation, the Company's obligations to the Insured under              to the Insured under this policy for the daimed loss or damage,
          the policy shall terminate, including any liability or obligation        other than the payments required to be made, shall terminate,
          to defend, prosecute, or continue any litigation, with regard to         including any liability or obligation to defend, prosecute, or
         the mafter or matters requiring such cooperation.                         continue any litigation.
    (b) The Company may reasonably require the Insured Claimant               8.   DETERMINATION AND EXTENT OF LIABILITY
         to submit to examination under oath by any authorized                     This policy is a contract of indemnity against actual monetary loss
          representative of the Company and to produce for                         or damage sustained or incurred by the Insured Claimant who has
         examination, inspection, and copying, at such reasonable                  suffered loss or damage by reason of mafters insured against by
         times and places as may be designated by the authorized                   this policy.
          representative of the Company, all records, in whatever                  (a) The extent of liability of the Company for loss or damage
          medium maintained, including books, ledgers, checks,                           under this policy shall not exceed the lesser of
         memoranda, correspondence, reports, e-mails, disks, tapes,                      (i) the Amount of Insurance; or
         and videos whether bearing a date before or after Date of                       (ii) the difference between the value of the Title as insured
         Policy, that reasonably pertain to the loss or damage.                               and the value of the Title subject to the risk insured
         Further, if requested by any authorized representative of the                         against by this policy.
         Company, the Insured Claimant shall grant its permission, in              (b) If the Company pursues its rights under Section 5 of these
         writing, for any authorized representative of the Company to                    Conditions and is unsuccessful in establishing the Title, as
         examine, inspect, and copy all of these records in the                          insured,
         custody or control of a third party that reasonably pertain to                  (i) the Amount of Insurance shall be increased by 10%,
         the loss or damage.            AII informaGon designated as                           and
         confidential by the Insured Claimant provided to the                           (ii) the Insured Claimant shall have the right to have the
         Company pursuant to this Section shall not be disclosed to                           loss or damage determined either as of the date the
         others unless, in the reasonable judgment of the Company, it                         claim was made by the Insured Claimant or as of the
         is necessary in the administration of the claim. Failure of the                      date it is settled and paid.
         Insured Claimant to submit for examination under oath,                    (c) In addition to the extent of liability under (a) and (b), the
         produce any reasonably requested information, or grant                         Company will also pay those costs, attomeys' fees, and
         permission to secure reasonably necessary information from                     expenses incurred in accordance with Sections 5 and 7 of
         third parties as required in this subsection, unless prohibited                these Conditions.
         by law or govemmental regulation, shall terrninate any                9. LIMITATION OF LIABILITY
         liability of the Company under this policy as to that claim.              (a) If the Company establishes the 1 itle, or removes the alleged
7. OPTIONS TO PAY OR OTHERWISE SETTLE CLAIMS;                                           defect, lien, or encumbrance, or cures the ladc of a right of
    TERMINATION OF LIABILITY                                                            access to or from the Land, or cures the daim of Unmarketable
    In case of a claim under this policy, the Company shall have the                    Title, all as insured, in a reasonably diligent manner by any
    following additional options:                                                       method, induding lifigation and the completion of any appeals, it
    (a) To Pay or Tender Payment of the Amount of Insurance.                            shall have fully performed its obligations with respect to that
         To pay or tender payment of the Amount of Insurance under                      mafter and shall not be liable for any loss or damage caused to
         this policy together with any costs, aftomeys' fees, and                       the Insured.
         expenses incurred by the Insured Claimant that were                       (b) In the event of any litigation, induding litigation by the Company
         authorized by the Company up to the time of payment or                         or with the Company's consent, the Company shall have no
         tender of payment and that the Company is obligated to pay.                    liability for loss or damage until there has been a final
         Upon the exercise by the Company of this option, all liability                 determination by a court of competent jurisdiction, and
         and obligations of the Company to the Insured under this                       disposition of all appeals, adverse to the Title, as insured.
         policy, other than to make the payment required in this                   (c) The Company shall not be liable for loss or damage to the
         subsection, shall terminate, including any liability or                        Insured for liability voluntarily assumed by the Insured in seftling
         obligafion to defend, prosecute, or confinue any litigation.                   any daim or suit without the prior written consent of the
    (b) To Pay or Otherwise Settle With Parties Other Than the                          Company.
         Insured or With the Insured Claimant.                                10. REDUCTION OF INSURANCE; REDUCTION OR TERMINATION


Form 5011415 (7-1-14)                                        Page 4 of 16                              ALTA Owner's Policy of Title Insurance (6-17-06)
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 21 of 196                                                                          PageID.31
                                                 ~-              CONDITIONS (Continued)
      OF LIABILITY                                                                     arbitrated only whE.. agreed to by both the Company and the
      AII payments under this policy, except payments made for costs,                  Insured, Subject to the provisions of Hawaii Revised Statutes,
      attomeys' fees, and expenses, shall reduce the Amount of Insurance               Chapter 658A, arbitration pursuant to this policy and under the Rules
      by the amount of the payment                                                     shall be binding upon the pariies. Judgment upon the award
11. LIABILITY NONCUMULATIVE                                                            rendered by the Arbitrator(s) shall be entered in any court having
      The Amount of Insurance shall be reduced by any amount the                       jurisdiction thereof.
      Company pays under any pdicy insuring a Mortgage to which                   15. LIABILITY LIMITED TO THIS POLICY; POLICY ENTIRE
      exception is taken in Schedule B or to which the Insured has agreed,              CONTRACT
      assumed, or taken subject, or which is executed by an Insun:d after               (a) This policy together with all endorsements, if any, attadied to it
      Date of Policy and which is a charge or lien on the Title, and the amount               by the Company is the entire policy and contract between the
      so paid shall be deemed a payment to the Insured under this policy.                     Insured and the Company. In interpreting any provision of this
12. PAYMENT OF LOSS                                                                           policy, this policy shall be construed as a whole.
      When liability and the extent of loss or damage have been definitely              (b) Any claim of loss, or damage that arises out of the status of the
      fixed in accordance with these Conditions, the payment shall be                         Title or by any action asserting such daim shall be restricted to
      made within 30 days.                                                                    this policy.
13. RIGHTS OF RECOVERY UPON PAYMENT OR SETTLEMENT                                       (c) Any amendment of or endorsement to this policy must be in
      (a) Whenever the Company shall have settled and paid a daim                            writing and authenticated by an authorized person, or expressly
           under this policy, it shall be subrogated and entitled to the rights               incorpor•ated by Schedule A of this policy.
           of the Insured Claimant in the Title and all other rights and                (d) Each endorsement to this policy issued at any fime is made a
           remedies in respect to the daim that the Insured Claimant has                      part of this policy and is subject to all of its terms and provisions.
           against any person or property, to the extent of the amount of                     Except as the endorsement expressly states, it does not (i)
           any loss, oosts, aftomeys' fees, and expenses paid by the                          modify any of the terms and provisions of the policy, (ii) modify
           Company. If requested by the Company, the Insuned Claimant                        any prior endorsement, (iii) extend the Date of Policy, or (iv)
           shall execute documents to evidence the transfer to the                            increase the Amount of Insurance.
           Company of these rights and remedies. The Insured Claimant             16. SEVERABILITY
           shall permit the Company to sue, compromise, or settle in the                In the event any provision of this policy, in whole or in part, is held
           name of the Insured Claimant and to use the name of the                     invalid or unenforceable under applicable law, the policy shall be
           Insured Claimant in any transadion or lifigation involving these            deemed not to include that provision or such part held to be invalid,
           rights and remedies. If a payment on account of a daim does                  but all other provisions shall remain in full force and effect.
           not fully cover the loss of the Insured Claimant, the Company          17. CHOICE OF LAW; FORUM
           shall defer the exerdse of its right to recover unfil after the             (a) Choice of Law: The Insured acknowledges the Company has
           Insured Claimant shall have recovered its loss.                                   underwritten the risks covered by this policy and determined the
     (b) The Company's right of subrogafion indudes the rights of the                        premium charged therefor in reliance upon the law affecting
           Insun;d to indemnifies, guaranties, other polides of insuranoe, or                interests in real property and applicable to the interpretation,
           bonds, notwithstanding any terms or condifions contained in                       rights, remedies, or enforcement of policies of title insurance of
           those instruments that address subrogation rights.                                the jurisdiction where the Land is located.
14. ARBITRATION                                                                              Therefore, the court or an arbitrator shall apply the law of the
     Provided that this does not supersede Hawaii's Unifonn Arbitrafion                      jurisdiction where the Land is located to determine the validity of
     Act, Hawaii Revised Statutes, Chapter 658A, either the Company or                       daims against the Title that are adverse to the Insured and to
     the Insured may demand that the daim or controversy shall be                            interpret and enforce the terms of this policy. In neither case
     submifted to arbitration pursuant to the Title Insurance Arbitration                    shall the court or arbitrator apply its conflicts of law principles to
     Rules of the American Land Title Assodafion ("Rules"). Exoept as                        determine the applicable law.
     provided in the Rules, there shall be no joinder or consolidation with            (b) Choice of Forum; Any litigation or other proceeding brought by
     claims or controversies of other persons. Arbitrable mafters may                        the Insured against the Company must be filed only in a state or
     indude, but are not limited to, any controversy or daim between the                     federral court within the United States of America or its territories
     Company and the Insured arising out of or relating to this policy, any                  having appropriatejurisdiction.
     service in connection with its issuance or the breach of a policy            18. NOTICES, WHERE SENT
     provision, or to any other controversy or daim arising out of the                 Any notice of claim and any other nofice or statement in writing
     transaction giving rise to this policy. All arbitr•able mafters when the          required to be given to the Company under this policy must be given
     Amount of Insurance is $2,000,000 or less shall be arbitrated at the              to the Company at: First American Title Insurance Company, Attn:
     opfion of either the Company or the Insured. AII arbitrable mafters               Claims Nafional Intake Center,1 First American Way, Santa Ana,
     when the Amount of Insurance is in excess of $2,000,000 shall be                  Califomia 92707. Phone: 888-632-1642




Form 5011415 (7-1-14)                                          Page 5 of 16                                 ALTA Owner's Policy of Title Insurance (6-17-06)
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 22 of 196                                PageID.32
                                                                                    r--,.




                                            SCHEDULE A


     Premium: $11,870.00
     Amount of Insurance: $10,400,000.00
     Date of Policy: December 22, 2015 at 8:01 a.ia.
     Policy No.: 5011415-17135
     Agent's No.: 201524882


     ALTA Owner's Policy (06-17-06) (wi.th Hawaii modification)
     -----------------------------------------------------------------

     1. Name of Insured:
          RA'U MAHI, LLC, a Colorado limited liability company, as Fee
          Owner
     2. The estate or interest in the Land that is insured by this policy
          is:

          FEE SIMPLE
     3. Title is vested in:
          THE NAMED INSURED
     4. The land referred to in this policy is described as follows:
          See Schedule C.




          201524882         © Title Guaranty of Hawaii, Inc.                                Page 6
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 23 of 196                                    PageID.33




                                                                                        5011415-17135

                                            SCHEDULE B

                           EXCEPTIONS FROM COVERAGE



     This policy does not insure against loss or damage, and the Company
     will not pay costs, attorneys' fees, or expenses that arise by reason
     of :



     1. Those matters to which the Land described in Schedule C is
          "subject to," as set forth in Exhibits 111" to 11277, inclusive,
          attached hereto:

               EXHIBIT                                         TMK
               1                                              (3) 9-5-007-016
               2                                              (3) 9-5-012-017
               3                                              (3) 9-5-012-026
               4                                              (3) 9-5-014-017
               5                                              (3) 9-5-014-041
               6                                              (3) 9-5-014-045
               7                                              (3) 9-5-022-001
               8                                              (3) 9-6-003-002
               9                                              (3) 9-6-003-022
               10                                             (3) 9-6-005-010
               il                                             (3) 9-6-005-012
               12                                             (3) 9-6-005-013
               13                                             (3) 9-6-005-015
               14                                             (3) 9-6-005-056
               15                                             (3) 9-6-006-005
               16                                             (3) 9-6-006-006
               17                                             (3) 9-6-006-007
               18                                             (3) 9-6-006-008
               19                                             (3) 9-5-012-039
               20                                             (3) 9-5-012-040
               21                                             (3) 9-5-012-041
               22                                             (3) 9-5-012-042
               23                                             (3) 9-5-012-043
               24                                             (3) 9-5-014-008
               25                                             (3) 9-5-024-008
               26                                             (3) 9-5-024-076
               27                                             (3) 9-6-015-032




          20] 524882      © Title Guaranty of Hawaii, Inc.                                      Page 7
                          235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261'
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 24 of 196                              PageID.34
                        f




                                      SCHEDULE B CONTINUED



     2.   MORTGAGE


          MORTGAGOR . RA'U MAHI, LLC, a Colorado limited liability
                        company

          MORTGAGEE . RABO AGRIFINANCE, INC., a Delaware corporation, as
                       agent for'itself and the other Secured Parties
                       (defined therein) under the Collateral Agency
                       Agreement

          DATED       . November 4, 2015
          FILED       . Land Court Document No. T-9486032
          RECORDED       Document No. A-58340241
          AMOUNT      . $2,750,000.00



     3.   FINANCING STATEMENT

          DEBTOR      . KA'U MAHI, LLC

          SECURED
          PARTY             RABO AGRIFINANCE, INC., as agent for itself and the
                            other Secured Parties, under the Collateral Agency
                            Agreement

          RECORDED   . Document No. A-58340242
          RECORDED ON: December 22, 2015




                                     END OF SCHEDULE B




          201524882          O Title Guaranty of Hawaii, Inc.                             Page 8
                              235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6267
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 25 of 196                                     PageID.35




                                                                                         5011415-17135

                                              SCHEDULE C




     The Land referred to in this policy is described as follows:



     Those certain parcels of land described in Exhibits 111" to 11 27 11 ,
     inclusive, attached hereto:

              EXHIBIT                                            TMR

              1                                                  (3) 9-5-007-016
              2                                                  (3) 9-5-012-017
              3                                                  (3) 9-5-012-026
              4                                                  (3) 9-5-014-017
              5                                                  (3) 9-5-014-041
              6                                                  (3) 9-5-014-045
              7                                                  (3) 9-5-022-001
              8                                                  (3) 9-6-003-002
              9                                                  (3) 9-6-003-022
              10                                                 (3) 9-6-005-010
              il                                                 (3) 9-6-005-012
              12                                                 (3) 9-6-005-013
              13                                                 (3) 9-6-005-015
              14                                                 (3) 9-6-005-056
              15                                                 (3) 9-6-006-005
              16                                                 (3) 9-6-006-006
              17                                                 (3) 9-6-006-007
              18                                                 (3) 9-6-006-008
              19                                                 (3) 9-5-012-039
              20                                                 (3) 9-5-012-040
              21                                                 (3) 9-5-012-041
              22                                                 (3) 9-5-012-042
              23                                                 (3) 9-5-012-043
              24                                                 (3) 9-5-014-008
              25                                                 (3) 9-5-024-008
              26                                                 (3) 9-5-024-076
              27                                                 (3) 9-6-015-032



                                     END OF SCHEDULE C




          201524882           © Title Guaranty of Hawaii, Inc.                                   Page 9
                          '   235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533f261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 26 of 196                       PageID.36




                                        GENERAL NOTES



     1. There is hereby omitted from any covenants, conditions and
          reservations contained herein any covenant or restriction based
          on race, color, religion, sex, sexual orientation, familial
          status, marital status, disability, handicap, national origin,
          ancestry, or source of income, as set forth in applicable state
          or federal laws, except to the extent that said covenant or
          restriction is permitted by applicable law. Lawful restrictions
          under state or federal law on the age of occupants in senior
          housing or housing for older persons shall not be construed as
          restrictions based on familial status.




          201524882       © Title Guaranty of Hawaii, Inc.                            Page 10
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533f261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 27 of 196                             PageID.37




                      E N D O R S E M E N T N O.                                        1

                                               Issued by

                       FIRST AMERICAN TITLE INSURANCE COMPANY

                        Attached to Policy No. 5011415-17135
                        dated December 22, 2015 at 8:01 a.m.


                      -AS TO EXHIBITS,"1" TO 112711 , INCLUSIVE:-


     The Company insures the Insured against loss or damage sustained by
     reason of the failure of the Land to have a right of access to a
     public roadway.




     This endorsement is issued as part of the policy. Except as it
     expressly states, it does not (i) modify any of the terms and
     provisions of the policy, (ii) modify any prior endorsements, (iii)
     extend the Date of Policy, or (iv) increase the Amount of Insurance.
     To the extent a provision of the policy or a previous endorsement is
     inconsistent with an express provision of this endorsement, this
     endorsement controls. Otherwise, this endorsement is subject to all
     of the terms and provisions of the policy and of any prior
     endorsements.



     Dated: December 22, 2015 at 8:01 a.m.



     By Title Guaranty of Hawaii, Inc.,
     its Authorized Agent




     TC 103.4 - easement, access to public street (03-09-07) (modified)



          201524882        O Title Guaranty of Hawaii, Inc.                                 Page 11
                            235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 28 of 196                            PageID.38




                      E N D O R S E M E N T N O.                                       2

                                              Issued by

                      FIRST AMERICAN TITLE INSORANCE COMPANY

                       Attached to Policy No. 5011415-17135
                       dated December 22, 2015 at 8:01 a.m.



     The Company insures against loss or damage sustained by the Insured by
     reason of those portions of the Land identified in Exhibits 111" to
     11 2711 , inclusive, not being assessed for real estate taxes under the
     respective tax map key number as identified in paragraph 1 of Schedule
     B of each of said exhibits or those tax identification numbers
     including any additional.land.




     This endorsement is issued as part of the policy. Except as it.
     expressly states, it does not (i) modify any of the terms and
     provisions of the policy, (ii) modify any prior endorsements, (iii)
     extend the Date of Policy, or (iv) increase the Amount of Insurance.
     To the extent a provision of the policy or a previous endorsement is
     inconsistent with an express provision of this endorsement, this
     endorsement controls. Otherwise, this endorsement is subject to all
     of the terms and provisions of the policy and of any prior
     endorsements.



     Dated: December 22, 2015 at 8:01 a.m.



     By Title Guaranty of Hawaii, Inc.,
     its Authorized Agent




    ALTA 18.1-06/CLTA 129.1-06 - multiple tax parcel (06-17-06) (modified)



          201524882       © Title Guaranty of Hawaii, Inc.                                 Page 12
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 29 of 196                             PageID.39




                      E N D O R S E M E N T N O.                                        3

                                               Issued by

                       FIRST AMERICAN TITLE INSURANCE COMPANY

                       Attached to Policy No. 5011415-17135
                       dated December 22, 2015 at 8:01 a.m.




     1. The insurance provided by this endorsement is subject to the
          exclusions in Section 4 of this endorsement; and the Exclusions
          from Coverage, the Exceptions from Coverage contained in Schedule
          B, and the Conditions in the policy.

     2. For the purposes of this endorsement only:

          a.    "Covenant" means a covenant, condition, limitation or
                restriction in a document or instrument recorded in the
                Public Records at Date of Policy.

          b.    "Private Right" means (i) an option to purchase; (ii) a
                right of first refusal; or (iii) a right of prior approval
                of a future purchaser or occupant.

     3. The Company i.nsures against loss or damage sustained by the
          Insured under this Owner's Policy if enforcement of a Private
          Right in a Covenant affecting the Title at Date of Policy based
          on a transfer of Title on or before Date of Policy causes a loss
          of the Insured's Title.

     4. This endorsement does not insure against loss or damage (and the
          Company will not pay costs, attorneys' fees, or expenses)
          resulting from:

          a.    any Covenant contained in an instrument creating a lease;
          b.    any Covenant relating to obligations of any type to perform
                maintenance, repair, or remediation on the Land;

          C.    any Covenant relating to environmental protection of any
                kind or nature, including hazardous or toxic matters,
                conditions, or substances; or




    ALTA 9.9-06/CLTA 100.2.9-06 - oraner - private rights (04-02-13)


          201524882       © Title Guaranty of Hawaii, Inc.                                  Page 13
                           235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 30 of 196                           PageID.40
                                                                                   )" `




          d. any Private Right in an instrument identi£ied in
               Exception(s) None in Schedule B.




     This endorsement is issued as part of the policy. Except as it
     expressly states, it does not (i) modify any of the terms and
     provisions of the policy, (ii) modify any prior endorsements, (iii)
     extend the Date of Policy, or (iv) increase the Amount of Insurance.
     To the extent a provision of the policy or a previous endorsement is
     inconsistent with an express provision of this endorsement, this
     endorsement controls. Otherwise, this endorsement is subject to all of
     the terms and provisions of the policy and of any prior endorsements.




     Dated: December 22, 2015 at 8:01 a.m.



     By Title Guaranty of Hawaii, Inc.,
     its Authorized Agent




     ALTA 9.9-06/CLTA 100.2.9-06 - owner - private rights (04-02-13)




          201524882       © Title Guaranty of Hawaii, Inc.                                Page 14
                           235 OUEEN ST., HONOLULU, HAWAII 96613, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 31 of 196                           PageID.41




                      E N D O R S E M E N T N O.                                      4

                                              Issued by

                      FIRST AMERICAN TITLE INSURANCE COMPANY

                       Attached to Policy No. 5011415-17135
                       dated December 22, 2015 at 8:01 a.m.




     The Company insures against loss or damage sustained by the Insured by
     reason of any statutory lien for labor or material attaching to the
     Insured's estate described in Schedule C hereof and arising out of any
     work of improvement under construction or completed at the date
     hereof, except this endorsement does not insure against loss or damage
     sustained by reason of any statutory lien for labor or material
     contracted for, undertaken or agreed to by the Insured.




     This endorsement is issued as part of the policy. Except as it
     expressly states, it does not (i) modify any of the terms and
     provisions of the policy, (ii) modify any prior endorsements, (iii)
     extend the Date of Policy, or (iv) increase the Amount of Insurance.
     To the extent a provision of the policy or a previous endorsement is
     inconsistent with an express provision of this endorsement, this
     endorsement controls. Otherwise, this endorsement is subject to all
     of the terms and provisions of the policy and of any prior
     endorsements.



     Dated: December 22, 2015 at 8:01 a.m.



     By Title Guaranty of Hawaii, Inc.,
     its Authorized Agent




    TG 301-06 - Owner - mechanics' lien, but not of insured's work (6-06)



          201524882       © Title Guaranty of Hawaii, Inc.                                Page 15
                          235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 32 of 196                            PageID.42




                      E N D O R S E M E N T N O.                                       5

                                              Issued by

                      FIRST AMERICAN.TITLE INSURANCE COMPANY

                       Attached to Policy No. 5011415-17135
                       dated December 22, 2015 at 8:01 a.m.


     The Company insures against loss or damage sustained by reason of the
     existence, at Date of Policy, of any present violations on the Land of
     any enforceable covenants, conditions or restrictions;

     As used in this endorsement, the words "covenants, conditions or
     restrictions" do not refer to or include the terms, covenants,
     conditions or restrictions contained in any lease.

     As used in this endorsement, the words "covenants, conditions or
     restrictions" do not refer to or include any covenant, condition or
     restriction (a) relating to obligations of any type to perform
     maintenance, repair or remediation on the Land, or (b) perta3.ning to
     environmental protection of any kind or nature, including hazardous or
     toxic matters, conditions or substances except to the extent that a
     notice of a violation or alleged violation affecting the Land has been
     recorded in the Public Records at Date of Policy and is not excepted
     in Schedule B.


     This endorsement is issued as part of the policy. Except as it
     expressly states, it does not (i) modify any of the terms and
     provisions of the policy, (ii) modify any prior endorsements, (iii)
     extend the Date of Policy, or (iv) increase the Amount of Insurance.
     To the extent a provision of the policy or a previous endorsement is
     inconsistent with an express provision of this endorsement, this
     endorsement controls. Otherwise, this endorsement is subject to all
     of the terms and provisions of the policy and of any prior
     endorsements.


     Dated: December 22, 2015 at 8:01 a.m.


     By Title Guaranty of Hawaii, Inc.,
     its Authorized Agent



     TG 203B-06/CLTA 100-06 - Owner - restrictions, encroachments, minerals
                              - without survey (6-06)


          201524882       © TiHe Guaranty of Hawaii, Inc.                                  Page 16
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 33 of 196                  PageID.43
                                                                                   ~




                                           EXHIBIT "1"

                                    LEGAL DESCRIPTION


     -ITEM I:-

     A11 of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by Royal Patent Number 6882, Land Commission Award
     Number 9971, Apana 10 to W. P. Leleiohoku and Royal Patent Grant Number
     2771 to S. Laanui and all of Royal Patent Grant Number 994, Apanas 1 and
     2 to Heleloa; Royal Patent Grant Number 1897 to Kahula; Royal Patent Grant
     Number 2159 to Moeawa; Royal Patent Grant Number 3161 to S. K. Kawaiponia
     and Hao; Royal Patent Number 4996, Land Commission Award Number 7315, Apanas
     1 and 2 to Keawehano; Royal Patent Number 6821, Land Commission Award Number
     7535 Apanas 1 and 2 to Kokai; Royal Patent Number (none), Land Commission
     Award Number 7553-B, Apanas 1 and 2 to Pa; Royal Patent Number 3296, Land
     Commission Award Number 9963 Apanas 1, 2 and 3 to Leonui; Royal Patent Number
     2 957 , Land Commission Award Number 10445, Apana 2 to Naluahi ; Royal Patent
     Number 3211, Land Commission Award Number 10591, Apanas 2 and 3 to Pihe
     and Royal Patent Number 5001, Land Commission Award Number 7542, Apana 2
     to Kahaliukua) situate, lying and being at Kahaea, Kahilipali-iki, and
     Kahilipali-nui, District of Ka'u, Island and County of Hawaii, State of
     Hawaii, bearing Tax Key designation (3) 9-5-007-016 and containing an area
     of 2,013.142 acres, more or less.



     -ITEM II:-

     (A) A nonexclusive easement for roadway access and utility purposes over,
          across, and under, Road Easement A, Road Easement B, Road Easement
          C, Road Easement E, Road Easement F, Road Easement G(Revised) and
          Proposed Naalehu Spur Road, as more particularly described and set
          forth in DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITIES, dated
          August 5, 2004, recorded as Document No. 2004-173077; subject to the
          terms and provisions contained therein.

           Said DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITIES was amended
           by instrument dated October 26, 2004, recorded as Document No.
           2004-228021.




    201524882A             © Title Guaranty of Hawaii, Inc.                             Page ]
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 34 of 196                   PageID.44




                                     EXHIBIT CONTINUED



     (B) A nonexclusive easement for roadway access and utility purposes,
          through, over, under and across Road Easement "D°, as more
          particularly described and granted in GRANT OF EASEMENT FOR ROADWAY
          ACCESS AND UTILITIES PURPOSES, dated August 5, 2004, recorded as
          Document No. 2004-173078; subject to the terms and provisions
          contained therein.



           BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

           GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

           GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

           DATED      . December 22, 2015
           FILED      . Land Court Document No. T-9486031
           RECORDED   . Document No. A-58340236



                                      SCHEDULE B FOR
                                       EXHIBIT "1"


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1. Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
          June 30, 2016.

          Payable on or before February 20, 2016.

           Tax Key: (3) 9-5-007-016                 Area Assessed: 2,013.142 acres


          -Note:- Attention is invited to the fact that the premises covered
                   herein may be subject to possible rollback or retroactive
                   property taxes.




    201524882A            © Title Guaranty of Hawaii, Inc.                                Page 2
                          ,235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533~'i261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 35 of 196                  PageID.45
                        ~.




                                     EXHIBIT CONTINUED



     2.   Mineral and water rights of any nature.



     3.   Location of the seaward boundary in accordance with the laws of the
          State of Hawaii and shoreline setback line in accordance with County
          regulation and/or ordinance.



     4.   Rights of native tenants as reserved in Royal Patent Grants 994, 2159,
          2771 and 3161 and Land Commission Award Number 9971.



     S.   Matters arising out of the failure of a patent to have issued on Land
          Commission Award 7553-B to Pa, and any matters that may be set forth
          in any such patent. The Company assumes no obligation to procure any
          patent or to pay commutation, if any, which may be owed thereon.



     6. Matters ari.sing out of, iacluding any utility and access rights in
        favor of, Royal Patent Number 5409, Land Commission Award Number 7553,
        Apana 1, Tax Map Key designation (3) 9-5-007-008, located within the
        subject land described in Schedule C.



     7.   Matters arising out of, including any utility and access rights in
          favor of, Royal Patent Number 5409, Land Commission Award Number 7553,
          Apana 2, Tax Map Key designation (3) 9-5-007-005.



     8.   Matters arising out of, including any utility and access rights in
          favor of, Tax Map Key designation (3) 9-5-007-014.




    201524882A            © Title Guaranty of Hawaii, Inc.                               page 3
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 36 of 196                   PageID.46
                          f~




                                       EXHIBIT CONTINUED



     9.    Unrecorded GRANT OF EASEMENT by HUTCHINSON SUGAR PLANTATION COMPANY
           to THE HILO ELECTRIC LIGHT COMPANY, LTD. (now known as HAWAII ELECTRIC
           LIGHT COMPANY, INC.) dated September 8, 1953, granting a perpetual
           right and easement for utility purposes, over, under and across land
           located at Kahilipali-nui, Kau, Hawaii, being Land Commission Award
           Number 9971, Apana 10, Tax Key 9-5-007-001 (now tax key
           9-5-007-portion 016).



     10. LEASE

           LESSOR        SEAMOUNTAIN-HAWAII RANCH COMPANY, INC. and KA'U SUGAR
                         COMPANY, INC., both Hawaii corporations

           LESSEE     . STATE OF HAWAII, by its BOARD OF LAND AND NATURAL
                         RESOURCES for the Department of Regulatory Agencies;
                         COUNTY OF HAWAII, a municipal corporation of the State
                         of Hawaii; HAWAII ELECTRIC LIGHT COMPANY, INC., a Hawaii
                         corporation; CAMP, INC., a Hawaii corporation; and
                         WESTERN TELESTATIONS, INC., a Wyoming corporation

           DATED    . June 1, 1979
           RECORDED . Liber 14337 Page 381
           TERM        Thirty (30) years from June 1, 1979 to and including May
                       31, 2009, and thereafter from year to year until
                       terminated, leasing and demising Easement "A"
                       (microwave station site), and the use of road easement
                       "G", bei.ng a nonexclusive roadway easement for access
                       purposes to and from said microwave station site, both
                       as more fully described therein


           By mesne assignment, the interest of CAMP, INC ., a Hawaii corporation,
           is now held by THE CHRONICLE PUBLISHING COMPANY, by unrecorded
           assignment and assumption dated December 31, 1988, from COOKE
           CABLEVISION, INC. Consent given thereto by KA'U AGRIBUSINESS CO.,
           INC.




    201524882A             © Title Guaranty of Hawaii, Inc.                              Page 4
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 37 of 196                    PageID.47
                                                                                   ~..




                                       EXHIBIT CONTINUED



           The foregoing lease was amended by AMENDMENT TO LEASE dated February
           4, 2005, recorded as Document No. 2005-027944, re: the STATE OF
           HAWAI' I' s interest in the lease is now rep 'resented by the DEPARTMENT
           OF HEALTH, EMERGENCY MEDICAL SERVICES SYSTEM BRANCH, and amendment
           of the descriptions of: (a) Easement "A," demised by the lease to
           reflect the current designation of Easement "A," containing an area
           of 6,705 square feet, more or less, and to add Easement "A-1"
           containing an area of 439 square feet, more or less, and (b) road
           Easement "G," all being more particularly described therein.

           -Note:- No joinder by WESTERN TELESTATIONS, INC., a Wyoming
                     corporation, and THE CHRONICLE PUBLISHING COMPANY, in the
                     foregoing AMENDMENT TO LEASE.


           Said Lease, as amended, is subject to any and all matters arising
           from or affecting the same.



     11. LEASE

           LESSOR    . SEAMOIINTAIN-HAWAII RANCH COMPANY, LIMITED, a Hawaii
                        corporation
           LESSEE    . HAWAII ELECTRIC LIGHT COMPANY, INC., a Hawaii
                        corporation

           DATED    . October 23, 1979
           RECORDED ,. Liber 14353 Page 576
           TERM      . Thirty ( 30 ) years from June 1, 1979 to and including May
                        31, 2009, and thereafter from year to year until
                        terminated, leasing and demising Power Line Easements
                        2 and 3, being more particularly described therein




    201524882A             © Title Guaranty of Hawaii, Inc.                               Page 5
                            2350UEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 38 of 196                   PageID.48




                                       EXHIBIT CONTINUED



     12. GRANT

           TO          . HAWAII ELECTRIC LIGHT COMPANY, INC.

           DATED       . October 9, 1981
           RECORDED       Liber 15983 Page 449
           GRANTING       Easement 11E-6" for powerline purposes, being more
                          particularly described therein



     13. Unrecorded PASTURE LICENSE dated November 19, 1996, effective as of
         October 1, 1996, by and between KA'U AGRIBUSINESS CO. , INC. , a Hawaii
         corporation, as "Owner", and KUAHIWI CONTRACTORS, INC., as
         "Licensee", re: use of approximately 693.058 acres, bei.ng a portion
         of tax key (3) 9-5-007-016, for a term of fifteen (15) years from the
         effective date.



     14. Unrecorded PUBLIC UTILITY EASEMENT AGREEMENT dated October 21, 1996,
         by and between KAU AGRIBUSINESS CO., INC., a Hawaii corporation, as
         Grantor, and GTE MOBILNET OF HAWAII INCORPORATED, a Hawaii
         corporation, as set forth in instrument dated April 11, 2002, recorded
         as Document No. 2002-104888,. re: easement for telecommunication
         purposes.

           GTE MOBILNET OF HAWAII INCORPORATED, a Hawaii corporation, merged into
           and with GTE MOBILNET OF PORTLAND INCORPORATED, a Delaware
           corporation, as set forth in instrument dated March 18, 1998, filed
           as Land Court Order No. 130930.

           The corporate name of GTE MOBILNET OF PORTLAND INCORPORATED was
           changed to GTE WIRELESS OF THE PACIFIC INCORPORATED, a Delaware
           corporation, as set forth in instrument dated March 18, 1998, filed
           as Land Court Order No. 130930.

           Said easement agreement was assigned by ASSIGNMENT AND ASSUMPTION
           AGREEbMENT dated effective as of April 1, 2000, recorded as Document
           No. 2002-133573, to CROWN CASTLE GT COMPANY LLC, a Delaware limited
           liability company.




    201524882A             © Title Guaranty of Hawaii, Inc.                              Page 6
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 39 of 196                         PageID.49




                                          EXHIBIT CONTINUED



     15.   Unrecorded PUBLIC UTILITY EASEMENT AGREEMENT dated March 1, 1999, by
           and between KA'U AGRIBUSINESS CO., INC., as Grantor, and USCOC OF
           HAWAI I 3- INC ., as Grantee , granting f or a term of ten (10 ) years , from
           June 1, 1999, and terminating May 30, 2009, with option to extend for
           two (2) additional periods of five (5) years each, (a) Easement "US-2"
           for road access purposes affecting a portion of R. P. 6882, L. C. Aw.
           9971, Apana 10 to Wm. Pitt Leleiohoku and containing an area of 6,584
           square feet, more or less, as shown on map attached thereto; (b) a
           portion of Easement "G" (Revised) being a portion of Grant 2152, Apana
           2 to Kalimapahana, Grant 2724, Apana 1 to Kalike, Grant 2525 to Ilama,
           Grant 2599 to Kahakauwila and R. P. 6882, L. C. Aw. 9971, Apana 10
           to Wm. Pitt Leleiohoku; and (c) EASEMENT "US-111 , more particularly
           described as follows:

                                       EASEMENT "US-1 "
                           For United States Cellular Naalehu Site

                 Being a portion of R. P. 6882, L. C. Aw. 9971, Apana 10
                                 to Wm. Pitt Leleiohoku

             Situated at Kahilipali Nui, Kau, Island of Hawaii, Hawaii

           Beginning at the westerly corner of this easement parcel of land, the
           coordinates of said point of beginning referred to Government Survey
           Triangulation Station "STEIN 2" being 5,902.36 feet south and 1,351.44
           feet west and running by azimuths measured clockwise from true South:

           1. 2400        10'                  60.00               feet along Easement "US-21f;

           2. 3300        10'                  60.00               feet;

           3.      60 0   10'                  60.00               feet;

           4. 1500        10'                  60.00               feet to the point of beginning and
                                                                   containing an area of 3,600 square
                                                                   feet, more or less.

           Said Easement Agreement was assigned by unrecorded Assignment dated
           August 1, 2000, to AT & T WIRELESS SERVICES OF HAWAI I, INC ., a Wisconsin
           corporation, doing business as AT & T WIRELESS SERVICES.




    201524882A                  © Title Guaranty of Hawaii, Inc.                                  Page 7
                                235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 40 of 196                   PageID.50




                                     EXHIBIT CONTINUED



           Said Easement Agreement was amended by unrecorded Amendment of Public
           Utility Easement Agreement dated August 7, 2003, wherein also, RA'U
           AGRIBUSINESS CO., INC., a Hawaii corporation, consents to AT & T
           WIRELESS SERVICES OF HAWAII, INC., a Wisconsin corporation, doing
           business as AT & T WIRELESS SERVICES, entering into an agreement with
           NEXTEL WIP LEASE CORP., a Delaware corporation, doing business as
           NEXTEL PARTNERS, to collocate upon, access and utilize a portion of
           the Easement Agreement premises as shown on the site plans attached
           thereto. Acknowledged and agreed July 29, 2003, by NEXTEL WIP LEASE
           CORP., a Delaware corporation, doing business as NEXTEL PARTNERS.



     16. Unrecorded REVOCABLE LICENSE dated April 1, 2004, by and between MAUNA
         REA AGRIBUSINESS CO., INC., a Hawaii corporation, through its agent
         KA'U AGRIBUSINESS CO., INC., a Hawaii corporation, as "Owner", and
         WALTER ANDRADE, as "Licensee", re: use of approximately 780.00
         usable acres within tax key (3) 9-5-7-16, as shown on the map attached
         thereto, for the purpose of pasture use only, commencing April 1, 2004 .



     17. The terms and provisions contained in the following:

           INSTRUMENT . DECLARATION OF EASEbiENTS FOR ROADWAY AND UTILITIES

          DATED           August 5, 2004
          RECORDED     . Document No. 2004-173077
          PARTIES         C. BREWER AND COMPANY, LIMITED, a Hawaii corporation
                          (successor by merger to RA'U AGRIBUSINESS CO., INC.,
                          a Hawaii corporation)
           RE          . a perpetual nonexclusive appurtenant easement for
                          roadway access and utility purposes over, across, and
                          under Road Easement G(Revised) , in favor of the owner
                          from time to time of Tax Map Rey (3) 9-5-007-016, being
                          more particularly described therein.


          Said above DECLARATION OF EASIIMENTS FOR ROADWAY AND UTILITIES was
          amended by instrument dated October 26, 2004, recorded as Document
          No. 2004-228021.




    201524882A             © Title Guaranty of Hawaii, Inc.                               Page 8
                           235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 41 of 196                             PageID.51
                         ?l-1'                                                          ,,"^...



                                           EXHIBIT CONTINUED



     18. Claims arising out of customary and traditional rights and practices,
         including without limitation those exercised for subsistence,
         cultural, religious, access or gathering purposes, as provided for
         in the Hawaii_Constitution or the Hawaii Revised Statutes.



     19. The terms and provisions contained in the following:

           Unrecorded AGREEb1ENT PERTAINING TO CROWN EASEMENT dated June 22, 2005,
           of which a MEMORANDUM OF AGREEMENT (Crown Easement) is dated June 22,
           2005, recorded as Document No. 2006-101746.



     20. The terms and provisions as contained in letter entitled "Re:
         Archaeological Assessment for Three Na'alehu Project Areas, Island
         of Hawaii" , dated June 2, 2006, by Paul L. Cleghorn, Ph . D., Principal ,
         Senior Archaeologist, Pacific Legacy, Incorporated, including the
         failure to comply with any recommendations made in said above letter,
         or made pursuant to any federal, state or county laws and regulations
         regarding any sites and discoveries.



     21. -AS TO ITEM II:-

           Any claim or boundary dispute which may exist or arise by reason of
           the failure of the DECLARATION OF EASEbENTS FOR ROADWAY AND UTILITIES
           recorded as Document No. 2004-173077 referred to in Schedule C to
           locate with certainty the boundaries of the Proposed Naalehu Spur Road
           described in said instrument.



     22. GROUND LEASE AGREEMENT

           LESSOR        WWK HAWAII-WAIKAPUNA LLC, a Delaware limited liability
                         company

           LESSEE     . CROWN CASTLE GT COMPANY LLC, a Delaware limited
                         liability company




    201524882A               © Title Guaranty of Hawaii, Inc.                                      Page 9
                                 235 QUEEN ST.. HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 42 of 196                   PageID.52




                                      EXHIBIT CONTINUED



            DATED     . March 31, 2010
            TERM      . Five (5) years, automatically renewing for three terms
                         of five (5) years each, commencing upon the execution
                         of the Agreement

           A Short Form of Ground Lease Agreement is dated March 31, 2010,
           recorded as Document No. A-50721157.



     23.   Any unrecorded leases and matters arising from or affecting the same.


     24. Discrepancies, conflicts in boundary lines, shortage in area,
         encroachments or any other matters which a correct survey or
         archaeological study would disclose.




    201524882A            © Title Guaranty of Hawaii, Inc.                               Page 10
                           235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 43 of 196                     PageID.53




                                             EXHIBIT 11 2"

                                      LEGAL DESCRIPTION



     A11 of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by the Ahupuaa of Kioloku (Certificate of Boundary
     No. 57), and portions of Royal Patent Grant Number 2656 to Kaiahua, Royal
     Patent Grant Number 2118 to Keawemaka and Royal Patent Grant Number 2748
     to Kaleikau; and also being all of the lands described in and covered by
     Royal Patent Number 6782, Land Commission Award Number 9660 to Kaahui and
     Royal Patent Number 6095, Land Commission Award Number 9659 to Kekahuna)
     situate, lying and being at Kioloku, Poohina, District of Ka'u, Island and
     County of Hawaii, State of Hawaii, being LOT A-1, as per survey dated
     November 13, 2006, to-wit:

     Beginning at the south corner of this parcel of land, being also along the
     northwest side of Mamalahoa Highway, the coordinates of said point of
     beginning referred to Government Survey Triangulation Station "STEIN 2"
     being 3,293.47 feet north and 3,642.27 feet east and thence running by
     azimuths measured clockwise from true South:

     1.    2040   54'   40"        14.35             feet along Grant 2653:1 to Kalakuniai;

     2.    2130   22'          1746.00               feet along Lot 31 of Kaunamano
                                                     Homesteads;

     3.     880   30'            950.40              feet along Lot 31 of Kaunamano
                                                     Homesteads;

     4.    1360   47'            417.80              feet along the Government Land of
                                                     Kaunamano;

     5.    2220   43'          2022.00               feet along Lot 29 of Kaunamano
                                                     Homesteads;

     6.    1320   30'            264.00              £eet along Lot 29 of Kaunamano
                                                     Homesteads;

     7.    2120   40'            763.00              feet along Lot 29 of Kaunamano
                                                     Homesteads;

     8.    1160   50'            162.00              feet along Lot 29 of Kaunamano
                                                     Homesteads;




    201524882B                © Title Guaranty of Hawaii, Inc.                             Page 1
                              235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 44 of 196                 PageID.54




                                     EXHIBIT CONTINUED



     9.     1130 15'          551.00              feet along Lot 29 of Kaunamano
                                                  Homesteads;

     10. 1090 15'           1305.00               feet along Lot 27-B of Kaunamano
                                                  Homesteads;

     11. 1140 38'             331.70              feet along Lot 27-B of Kaunamano
                                                  Homesteads;

     12. 2700 00'             144.00             feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);

     13. 2580 54'               52.00            feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);

     14. 2500 52'             131.20             feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);

     15. 2400 03'             386.60             feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);

     16. 2360 31'             159.50             feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);

     17. 2330 47'            161.40              feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);

     18. 2350 37'            206.20              feet along Lot A, being a portion of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57);




    201524882B-           © Title Guai'anty of Hawaii, Inc.                            Page 2
                          235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 45 of 196                 PageID.55




                                     EXHIBIT CONTINUED



     19. 2370 22'             181.70              feet along Lot A, being a portion of the
                                                  Lands of Kioloku (Certificate of
                                                  Boundaries No. 57);

     20. 2270 46'             102.70              feet along Lot A, beiiig a portion of the
                                                  Lands of Kioloku (Certificate of
                                                  Boundaries No. 57);

     21. 2210 27'             161.13              feet along Lot A, being a portion of the
                                                  Lands of Kioloku (Certificate of
                                                  Boundaries No. 57);

     22. 2980 00'             879.42              feet along L.C.Aw. 8559-B, Ap. 13 to W.C.
                                                  Lunali.lo (Certificate of Boundaries No.
                                                  74) ;

     23. 2970 25'             939.58              feet along L.C.Aw. 8559-B, Ap. 13 to W.C.
                                                  Lunalilo (Certificate of Boundaries No.
                                                  74);

     24. 2770 00'           1802.22              feet along L.C.Aw. 8559-B, Ap. 13 to W.C.
                                                 Lunalilo (Certificate of Boundaries No.
                                                 74) ;

     4.     260 00' 20" 136.34                   feet along the northwest side of
                                                 Mamalahoa Highway;

     5.     340 32' 20" 206.32                   feet along the northwest side of
                                                 Mamalahoa Highway;
     6.     250 56' 20" 303.09                   feet along the northwest side of
                                                 Mamalahoa Highway;
     28 47° 19'               337.30             feet along Lot A-6, being portions of
                                                 Grant 2748 to Kaleikau; Grant 2656 to
                                                 Kaiahua; and the Lands of Ki.oloku
                                                 (Certificate of Boundaries No. 57);




    201524882B            © Title Guaranty of Hawaii, Inc.                             Page 3
                          235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 46 of 196                   PageID.56




                                      EXHIBIT CONTINUED



     29.    380   29'           192.00             feet along Lot A-6, being portions of
                                                   Grant 2748 to Kaleikau; Grant 2656 to
                                                   Kaiahua; and the Lands of Kioloku
                                                   (Certificate of Boundaries No. 57);

     30.    310   00'          400.00              feet along Lot A-6, being portions of
                                                   Grant 2748 to Kaleikau; Grant 2656 to
                                                   Kaiahua; and the Lands of Kioloku
                                                   (Certificate of Boundaries No. 57);

     31. 1210     00'        1300.00               feet along Lot A-6, being portions of
                                                   Grant 2748 to Kaleikau; Grant 2656 to
                                                   Kaiahua; and the Lands of Kioloku
                                                   (Certificate of Boundaries No. 57);

     32.    340   00'          419.47              feet along Lot A-6, being portions of
                                                   Grant 2748 to Kaleikau; Grant 2656 to
                                                   Kaiahua; and the Lands of Kioloku
                                                   (Certificate o£ Boundaries No. 57);

     33. Thence along Lot A-6, being portions of Grant 2748 to Kaleikau; Grant
                                      2656 to Kaiahua; and the Lands of Kioloku
                                      (Certificate of Boundaries No. 57), on
                                      a curve to the right with a radius of
                                      45.00 feet, the chord azimuth and
                                      distance being:

           260    41' 02"        58.90             feet;

     34. Thence along Lot A-6, being portions of Grant 2748 to Kaleikau; Grant
                                      2656 to Kaiahua; and the Lands of Kioloku
                                      (Certificate of Boundaries No. 57), on
                                      a curve to the left with a radius of 45.00
                                      feet, the chord azimuth and distance
                                      being:

            500 46' 43"          25.98 feet;




    201524882B              © Title Guaranty of Hawaii, Inc.                             Page 4
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 47 of 196                 PageID.57




                                      EXHIBIT CONTINUED



     35.     340 00'           410.28             feet along Lot A-6, being portions of
                                                  Grant 2748 to Kaleikau; Grant 2656 to
                                                  Kaiahua; and the Lands of Kioloku
                                                  (Certificate of Boundaries No. 57) and
                                                  Lot A-5, being a portions of Grant 2656
                                                  to Kaiahua; Grant 2118 to Keawemaka; and
                                                  Grant 2748 to Kaleikau;

     36. Thence along Lots A-5 and A-4, being portions of Grant 2656 to Kaiahua;
                                       Grant 2118 to Keawemaka; and Grant 2748
                                       to Kaleikau, on a curve to the left with
                                       a radius of 2970.00 feet, the chord
                                       azimuth and distance being:

            280 37' 30" 556.42 feet;

     37.    230 15'            508.89             feet along Lot A-4, being portions of
                                                  Grant 2656 to Kaiahua; Grant 2118 to
                                                  Keawemaka; and Grant 2748 to Kaleikau
                                                  and Lots A-3 and A-2 , being portions of
                                                  Grant 2656 to Kaiahua and Grant 2118 to
                                                  Keawemaka;

     38. Thence along Lot A-2, being portions of Grant 2656 to Kaiahua and Grant
                                       2118 to Keawemaka, on a curve to the left
                                       with a radius of 270.00 feet, the chord
                                       azimuth and distance being:

             0° 52' 30" 205.56 feet;

     39. 3380 30'             496.84              feet along Lot A-2, being portions of
                                                  Grant 2656 to Kaiahua and Grant 2118 to
                                                  Keawemaka;




    201524882B            © Title Guaranty of Hawaii, Inc.                             Page 5
                           2350UEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 48 of 196                   PageID.58




                                      ~~F: j rVA             ZI M k 1+J-oi 01




     40.   Thence along Lot A-2, being portions of Grant 2656 to Kaiahua and Grant
                                        2118 to Keawemaka, on a curve to the
                                        right with a radius of 330.00 feet, the
                                        chord azimuth and distance being:

            120   15'          366.68              feet;

     41.    460   00'          266.94              feet along Lot A-2, being portions of
                                                   Grant 2656 to Kaiahua and Grant 2118 to
                                                   Keawemaka;

     42.   Thence along Lot A-2, being portions of Grant 2656 to Kaiahua and Grant
                                         2118 to Keawemaka, on a curve to the left
                                         with a radius of 270.00 feet, the chord
                                         azi.muth and distance being:

             5°   451          34B.91              feet;

     43. 3250     30'            90.00             feet along Lot A-2, being portions of
                                                   Grant 2656 to Kaiahua and Grant 2118 to
                                                   Keawemaka;

     44.   Thence along Lot A-2, being portions of Grant 2656 to Kaiahua and Grant
                                         2118 to Keawemaka, on a curve to the left
                                         with a radius of 20.00 feet, the chord
                                        azimuth and distance being:

           2800   30'            28.28             feet;

     45.    550   30'          754.00              feet along the northwest side of
                                                   Mamalahoa Highway;

     46.    470   18'          426.64              feet along the northwest side of
                                                   Mamalahoa Highway to the point of
                                                   beginning and containing an area of
                                                   153.260 acres, more or less.




    201524882B             © Title Guaranty of Hawaii, Inc.                              Page 6
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 49 of 196                     PageID.59
                        i




                                        EXHIBIT CONTINUED



           BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

           GRANTOR          HI BIV LAND LLC, a Delaware lirnited liability company

           GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

           DATED     . December 22, 2015
           FILED     . Land Court Document No. T-9486031
           RECORDED . Document No. A-58340236



                                          SCHEDULE B FOR
                                           EXHIBIT 112"


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
           June 30, 2016.

           Payable on or before February 20, 2016.

           Tax Key: (3) 9-5-012-017                    Area Assessed: 153.260 acres


           -Note:- Attention is invited to the fact that the premises covered
                    herein may be subject to possible rollback or retroactive
                    property taxes.



     2.    Mineral and water rights of any nature.




    201524882B               © Title Guaranty of Hawaii, Inc.                              Page 7
                              235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 50 of 196                  PageID.60




                                     EXHIBIT CONTINUED



     3.    -AS TO THAT PORTION OF THE LAND DESCRIBED IN SCHEDULE C COVERED BY
           ROYAL PATENT GRANTS 2118, 2656 AND 2748:-

           Rights of native tenants as reserved in Royal Patent Grant Numbers
           2118, 2656 and 2748.



     4.    Roadways as referenced on tax map.



     S. Unrecorded LEASE dated November 17, 1953 by and between HUTCHINSON
          SUGAR PLANTATION COMPANY, as Lessor and HILO ELECTRIC LIGHT COMPANY,
          LIMITED (now known as HAWAII ELECTRIC LIGHT COMPANY, INC. ), as Lessee,
          leasing and demising a 20-foot wide easement for pole and wireline
          purposes, as set forth in DEED dated June 1, 1961, recorded in Liber
          4303 at Page 337.


          Said LEASE was amended by AGREEMENT dated March 2, 1988, recorded in
          Liber 21728 at Page 375, by and between KA'U AGRIBUSINESS CO., INC.
          (formerly known as KAU SUGAR COMPANY, INC. ), a Hawaii corporation and
          successor to HUTCHINSON SUGAR PLANTATION COMPANY, as Lessor, and
          HAWAII ELECTRIC LIGHT COMPANY, INC. (formerly known as HILO ELECTRIC
          LIGHT COMPANY, LIMITED), a Hawaii corporation, as Lessee; re: Parties
          have elected to continue the term of said lease on a year-to-year
          basis, re-survey of existing pole line, including proposed storm guys,
          etc.


          Said easements affecting the subject land are EASEMENT "A", 20-foot
          wide Utility Line Easement, containing an area of 4.18 acres, more
          or less, EASEbENT 10, 5-foot wide Anchor Easement, containing an area
          of 38 square feet, EASEMENT il, 5-foot wide Anchor Easement,
          containing an area of 35 square feet, EASEMENT 12, 5-foot wide Anchor
          Easement, containing an area of 32 square feet, EASEMENT 13, 5-foot
          wide Anchor Easement, containing an area of 32 square feet, EASEMENT
          14, 5-foot wide Anchor Easement, containing an area of 35 square feet,
          EASEMENT 15, 5-foot wide Anchor Easement, containing an area of 35
          square feet , EASEMENT 16, 5-f oot wide Anchor Easement , containing an
          area of 35 square feet, EASEMENT 17, 5-foot wide Anchor Easement,
          containing an area of 35 square feet, being more particularly
          described therein.




    201524882B             © Title Guaranty of Hawaii, Inc.                             Page 8
                           235 QUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 51 of 196                   PageID.61




                                     EXHIBIT CONTINUED



     6.    GRANT

           TO        . HAWAII ELECTRIC LIGHT COMPANY, INC., a Hawaii
                        corporation

          DATED       August 28, 1995
          RECORDED    Document No. 95-120864
          GRANTING . nonexclusive right and easement for utility purposes
                      as shown on map attached thereto



     7.    GRANT

           TO        . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                        corporation, now known as HAWAIIAN TELCOM, INC.

          DATED     . September 20, 1996
          RECORDED  . Document No. 96-139574
          GRANTING . non-exclusive right and easement for utility purposes
                       as shown on map attached thereto



     8.    GRANT

          TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                        corporation, now known as HAWAIIAN TELCOM, INC.

          DATED      . May 31, 2000
          RECORDED   . Document No. 2000-093550
          GRANTING      non-exclusive right and easement for utility purposes
                        as shown on map attached thereto



     9.   Easement "B" (50 feet wide) for access and utility purposes as shown
          on the Boundary Survey made by Russell Figueiroa of R. M. Towill
          Corporation on June 2, 2003, designated Job No. 1-19468-05, and more
          particularly described in instruments dated December 15, 2003,
          recorded as'Document Nos. 2003-284524 and 2003-284525.




    201524882B            © Title Guaranty of Hawaii, Inc.                               Page 9
                           235 OUEEN ST., HONOLULU. HAW AII 96813, PH: (808) 533-6261
    Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 52 of 196                                  PageID.62
I     .                          „"t                                                             "i
                                                                                                - ..
                                                                                              (p




                                                  EXHIBIT CONTINUED



           10. Claims arising out of customary and traditional rights and practices,
               including without limitation those exercised for subsistence,
               cultural, religious, access or gathering purposes, as provided for
               in the Hawaii Constitution or the Hawaii Revised Statutes.



           11. GRANT

                 TO         ..   KA'U AGRIBUSINESS CO., INC., a Hawaii corporation

                 DATED     . December 15, 2003
                 RECORDED  . Document No. 2003-284524
                 GRANTING . a non-exclusive easement for access and utility
                              purposes over, across, under and through Easement "B",
                              being more particularly described therein



           12. GRANT

                 TO         . MAUNA REA AGRIBUSINESS CO., INC., a Hawaii corporation

                 DATED         December 15, 2003
                 RECORDED   . Document No. 2003-284525
                 GRANTING      a non-exclusive, easement for access and utility
                               purposes over, across, under and through Easement "B",
                               being more particularly described therein



           13. Discrepancies, conflicts in boundary lines, shortage in area,
               encroachments or any other rights or matters in which a correct survey
               would disclose.




          201524882B               © Title Guaranty of Hawaii, Inc.                                         Page 10
                                       235 QUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261      '
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 53 of 196                   PageID.63




                                       EXHIBIT CONTINUED



     14. Archaeological sites identified in the Archaeological Inventory
         Survey of a Property Located at TMII{ (3) 9-5-012:17 in Ki'oloku and
         Kaunamano Ahupua'a, Kau District, Island of Hawaii by Diane Guerriero,
         B.A., Elizabeth Gregg, B.A., Joseph Kennedy, M.A., dated April 2005;
         subject to the terms and provisions, including the failure to comply
         with any recommendations made in said above report or made pursuant
         to any federal, state, or county laws and regulations regarding such
         sites and discoveries.



     15. Any unrecorded leases and matters arising from or affecting the same.



     16. Nonexclusive easements for roadway, access and utility purposes in
         favor of land identified as Tax Map Key 9-5-012-026 as granted in
         DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES dated
         November 30, 2015, recorded as Document No. A-58340240.




   201524882s               CO Title Guaranty of Hawaii, Inc.                            Page 11
                        ,   235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 54 of 196                 PageID.64




                                          EXHIBIT 11 3"

                                   LEGAL DESCRIPTION



     A11 of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by Ahupuaa of Kioloku (Certificate of Boundaries
     No. 57) situate, lying and being at Kioloku, District of Ka'u, Island and
     County of Hawaii, State of Hawaii, being LOT A, bearing Tax Key designatioa
     (3) 9-5-012-026, and containing an area of 69.772 acres, more or less.


     TOGETHER WITH non-exclusive easement for access and utility purposes
     through, over, under and across EASEMENT "B" (50-feet wide) as granted i.n
     GRANT dated December 15, 2003, recorded as Document No. 2003-284524, being
     more particularly described therein, and subject to terms and provisions
     contained therein.



           BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

           GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company
           GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company
           DATED        December 22, 2015
           FILED        Land Court Document No. T-9486031
           RECORDED     Document No. A-58340236



     Together with nonexclusive easements for roadway, access and utility
     purposes through tax map key parcel (3) 9-5-012-017, as granted in
     DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES dated November
     30, 2015, recorded as Document No. A-58340240.




    201524882C            © Title Guaranty of Hawaii, Inc.                             Page 1
                          235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 55 of 196                    PageID.65
                          .                                                        ~.


                                        EXHIBIT CONTINUED



                                         SCHEDULE B FOR
                                          EXHIBIT 11 3"


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
           June 30, 2016.

          Payable on or before February 20, 2016.

           Tax Key: (3) 9-5-012-026                    Area Assessed: 69.772 acres


           -Note:- Attention is invited to the fact that the premises covered
                    herein may be subject to possible rollback or retroactive
                    property taxes.



     2.    Mineral and water rights of any nature.



     3.    Roadway as referenced on tax map.



     4.    The terms and provisions contained in the following:

           INSTRUMENT : DEED OF EXCHANGE

          DATED       . August 11, 1970
          RECORDED    . hiber 7130 Page 112


          The foregoing includes, but is not limited to, matters relating to
          reservation of a nonexclusive easement or right-of-way (30-feet wide)
          for all road purposes.




    201524882c            © Title Guaranty of Hawaii, Inc.                                Page 2
                              2350UEEN ST.. HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 56 of 196                  PageID.66




                                      EXHIBIT CONTINUED



     5.    GRANT

           TO            HAWAII ELECTRIC LIGHT COMPANY, INC., a Hawaii
                         corporation

           DATED         August 28, 1995
           RECORDED   . Document No. 95-120864
           GRANTING      non-exclusive right and easement for utility purposes
                         as shown on map attached thereto



     6.    GRANT

           TO            GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                         corporation, now known as HAWAIIAN TELCOM, INC.

           DATED         September 20, 1996
           RECORDED      Document No. 96-139574
           GRANTING . non-exclusive right and easement for utility purposes
                         as shown on map attached thereto



     7.    GRANT

           TO         . MAUNA KEA AGRIBUSINESS CO., INC., a Hawaii corporation,
                         now known as C. BREWER AND COMPANY, LIMITED

           DATED         May 4, 2004
           RECORDED   . Document No. 2004-093481
           GRANTING . non-exclusive easements for access and utility
                         purposes as shown on map attached thereto


           Said Grant was amended by.AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
           AND UTILITY PURPOSES (HONUAPO to MAECINO JUNCTION ROAD) dated as of
           November 12, 2004, recorded as Document No. 2004-262571.                      1




    201524882C             CO Title Guaranty of Hawaii, Inc.                            Page 3
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 57 of 196                  PageID.67




                                     EXHIBIT CONTINUED



     8    GRANT

           TO        . RAU AGRIBUSINESS CO., INC., a Hawaii corporation, now
                        known as C. BREWER AND COMPANY, LIMITED

          DATED         May 4, 2004
          RECORDED   . Document No. 2004-093483
          GRANTING      non-exclusive easements for access and utility
                        purposes as shown on map attached thereto


          Said Grant was amended by AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
          AND UTILITY PURPOSES (HONUAPO to MAKINO JUNCTION ROAD) dated as of
          November 12, 2004, recorded as Document No. 2004-262573.



     9    GRANT

          TO             RAU AGRIBUSINESS CO., INC., a Hamaii corporation, now
                         known as C. BREWER AND COMPANY, LIMITED

          DATED     . May 4, 2004
          RECORDED     Document No. 2004-093484
          GRANTING . non-exclusive easements for access and utility
                       purposes as shown on map attached thereto


          Said Grant was amended by AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
          AND UTILITY PURPOSES (HONUAPO to MARINO JUNCTION ROAD) dated as of
          November 12, 2004, recorded as Document No. 2004-262574.



     10. DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES (Easements
          A and B in favor of Lot C) by C. BREWER AND COMPANY, LIMITED, a Hawaii
          corporation ("Declarant"), dated December 14, 2004, recorded as
          Document No. 2004-262577; re: a nonexclusive easement for roadway,
          access and utility purposes over and across Easement "A" (area 14,792
          square feet), more particularly described therein.




    201524882C             © Title Guaranty of Hawaii, Inc.                             Page 4
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 58 of 196                   PageID.68




                                      EXHIBIT CONTINUED



     11.   The following unrecorded licenses and leases and matters arising from
           or affecting the same:

           (A) Walter Andrade, under unrecorded "Pasture Lease C".

           (B) Alfred and Stephanie Simeona, under recorded agreement
               "M04500B".



     12.   Claims arising out of customary and traditi.onai rights and practices,
           including without limitation those exercised for subsistence,
           cultural, religious, access or gathering purposes, as provided for
           in the Hawaii Constitution or the Hawaii Revised Statutes.



     13. Any unrecorded leases and matters arising from or affecting the same.



     14. Discrepancies, conflicts in boundary lines, shortage in area,
          encroachments or any other matters which a correct survey or
          archaeological study would disclose.



     15. The terms and provisions contained in the following:

           INSTRUMENT : DECLARATION OF.EASEbIENT FOR ROADWAY AND UTILITY
                        PURPOSES

           DATED      . November 30, 2015
           RECORDED   . Document No. A-58340240




    201524882c             © Title Guaranty of Hawaii, Inc.                              Page 5
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 59 of 196                  PageID.69




                                          EXHIBIT 11 4"

                                   LEGAL DESCRIPTION



     A11 of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by Royal Patent Number 7049, Land Commission Award
     Number 8559-B, Apana 13 to W. C. Lunalilo; Royal Patent Numbers 6815 and
     6931, Land Commission Award Number 8781 to Keohokuma; Royal Patent Number
     3746, Land Commission Award Number 9563 to Kaina; Royal Patent Number 7228,
     Land Commission Award Number 9668 to Nana; Royal Patent Grant Number 1742
     to Papai; Royal Patent Grant Number 1367 to D. Leohaalulu and Royal Patent
     Number 2693 to Napahi and Kaanaana; and being all of the lands described
     in and covered by Royal Patent Number (none), Land Commission Award Number
     7558-B to Kuahine; Royal Patent Number 6795, Land Commission Award Number
     7329 to Kukuna; Royal Patent Number 7622, Land Commission Award Number-
     8760-H to Kookoo; Royal Patent Number 6214, Land Commission Award Number
     8780 to Ki; Royal Patent Number (S-8677) , Land Commission Award Number 9212,
     Apana 2 to Hoolapa; Royal Patent Number 7792, Land Commission Award Number
     9521 to Hua; Royal Patent Number 3325, Land Commission Award Number 9559
     to Molina; Royal Patent Number 5487, Land Commission Award Number 9667 to
     Kaolele; Royal Patent Number 6112, Land Commission Award Number 9955, Apana
     2 to Lilikalani; Royal Patent Number 7106, Land Commission Award Number
     10516 to Nahakuelua; and Royal Patent Number 7104, Land Commission Award
     Number 10634 to Pikoula) situate, lying and being at Hionaa and Honuapo,
     District of Ka'u, Island and County of Hawaii, State of Hawaii, bearing
     Tax Key designation (3) 9-5-014-017 and containing an area of 1,050.209
     acres, more or less.


     Together with non-exclusive easement for access and utility purposes
     through, over, under and across EASEMENT "B" (50-feet wide) described below
     as granted in GRANT dated December 15, 2003, recorded as Document No.
     2003-284524, being more particularly described therein; and subject to
     terms and provisions contained therein.




    201524882E             © Title Guaranty of Hawaii, Inc.                             Page 1
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 60 of 196                  PageID.70




                                     EXHIBIT CONTINUED



     Together with a non-exclusive, perpetual easement for access and utility
     purposes, through, over, under and across Tax Map Key (3) 9-5-012-026, as
     granted by GRANT OF EASEMENT FOR ACCESS AND UTILITY PURPOSES (Honuapo to
     Makino Junction Road), dated May 4, 2004, recorded as Document No.
     2004-093484; and subject to the terms and provisions contained therein.



          BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

          GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

          GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

          DATED      . December 22, 2015
          FILED      . Land Court Document No. T-9486031
          RECORDED   . Document No. A-58340236



                                      SCHEDULE B FOR
                                        EXHIBIT 114 "


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1. Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
          June 30, 2016.

          Payable on or before February 20, 2016.

           Tax Key: (3) 9-5-014-017                 Area Assessed: 1,050.209 acres


           -Note:- Attention is invited to the fact that the premises covered
                    herein may be subject to possible rollback or retroactive
                    property taxes.




    201524882E            © Title Guaranty of Hawaii, Inc.                              Page 2
                           235 QUEEN ST., HONOLULU, HAWAII 96B13, PH: (808) 53315261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 61 of 196                  PageID.71




                                     EXHIBIT CONTINUED



     2.    Mineral and water rights of any nature.



     3.    Roadway as referenced on tax map.



     4.    GRANT

           TO         . EUGENE A. HELBUSH and GLADYS S. HELBUSH, husband and
                         wife, GILBERT SEARLE, also known as GILBERT E. SEARLE,
                         as Trustee, et al.

           DATED         May 14, 1976
           RECORDED      Liber 11440 Page 535
           GRANTING      nonexclusive right and easement for all road purposes
                         over, across, along, upon and under Kaalaiki Road and
                         Hokukano Road as shown on maps attached thereto



     S. GRANT

           TO         . HAWAII ELECTRIC LIGHT COMPANY, INC., a Hawaii
                         corporation

           DATED        March 3, 1988
           RECORDED     Liber 21728 Page 375
           GRANTING     Rights and easements over Easement "A"for Utility Line
                        purposes, and Easements 1 through 9, for Anchor
                        purposes, more particularly described therein



     6. GRANT

           TO           THE NATURE CONSERVANCY, District of Columbi.a not for
                        profit corporation

          DATED      . February 28, 2002
          RECORDED   . Document No. 2002-037419
          GRANTING . nonexclusive easement for access purposes over and
                        across the existing roadways as shown on maps attached
                        thereto




    201524882E            © Title Guaranty of Hawaii, Inc.                              Page 3
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 62 of 196                     PageID.72




                                        EXHIBIT CONTINUED



     7.      The terms and provisions contained in the following:

            INSTRUMENT : WELL LICENSE AGREEI4ENT

            DATED          December 1, 2003
            RECORDED       Document No. 2003-268235
            PARTIES        RA'U AGRIBUSINESS CO., INC., a Hawaii corporation, and
                          'LANDCO, a California corporation
            RE             exclusive right to use Well No. 533-03 inclusive of all
                           water drawn therefrom and have nonexclusive right to
                           use Well No. 533-02, etc.


            Said above Agreement was amended by instrument dated December 20,
            2005, recorded as Document No. 2005-262393.


            Said above WELL LICENSE AGREEbENT is subject to that certain COVENANTS
            ON CERTAIN EASEMENT RIGHTS AND APPURTENANT RIGHTS UNDER WELL LICENSE
            AGREEMENT dated June 21, 2004, recorded as Document No. 2004-134651,
            entered into by and between HONUAPO BAY RANCH ESTATES LP, a California
            limited partnership (executed by LANDCO, a General Partner) and
            RICHARD E. ALDERSON, Trustee of the Richard E. Alderson Inter Vivos
            Trust Agreement dated December 11, 1987.



     8.     GRANT

            TO          . LANDCO, a California corporation

            DATED      . December 1, 2003
            RECORDED   . Document No. 2003-268236
            GRANTING . nonexclusive easements over and across the Centerline
                          Easement A for access purposes, Easement B for utility
                          purposes, Easements C and D for access and utility
                          purposes, Easement E for water tank site, Easements F
                          and G for well and water pump station site, and Easement
                          J for access and utility purposes




    201 S248s2E '           © Title Guaranty of Hawaii, Inc.                               Page 4
                    .        235 QUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 63 of 196                        PageID.73
                        r e~~.                                                        /_1_




                                           EXHIBIT CONTINUED



          EXTINGUISHMENT OF EASEMENT RIGHTS AND QUITCLAIM FOR HONUAPO LAND dated
          December 12, 2005 and December 20, 2005, recorded as Document No.
          2005-262391, by and among HONUAPO BAY RANCH ESTATES, LP, a California
          limited partnership ("Honuapo"), and BIG ISLE V VENTURES, LLC, a
          Delaware limited liability company, ("Big Isle V Ventures"), and
          HONUAPO HISTORICAL SOCIETY, a Hawaii nonprofit corporation, C. BREWER
          AND COMPANY, LIMITED, a Hawaii corporation (successor by merger to
          RA'U AGRIBUSINESS CO., INC., a Hawaii corporation), ("Brewer"),
          regarding TMK (3) 9-5-014-006, 007, 027, 029, 052, 053, 054, 055, 056,
          057, 058, and 059 ,



     9.    GRANT

           TO        . MAUNA KEA AGRIBUSINESS CO., INC., a Hawaii corporation

          DATED      . May 4, 2004
          RECORDED   . Document No. 2004-093480
          GRANTING . nonexclusive easements for access and utility purposes
                        as shown on maps attached thereto


          Said Grant was amended by AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
          AND UTILITY PURPOSES (HONUAPO - HOKUKANO ROAD) dated as of December
          14, 2004, recorded as Document No. 2004-262570.



     10. GRANT

           TO        . MAUNA KEA AGRIBUSINESS CO., INC., a Hawaii corporation,
                        now known as C. BREWER AND COMPANY, LIMITED

          DATED          May 4, 2004
          RECORDED       Document No. 2004-093481
          GRANTING       non-exclusive easements for access and utility
                         purposes as shown on map attached thereto




    201524882E               © Title Guaranty of Hawaii, Inc.                                  Page 5
                                 2350UEEN ST., HONOLULU, HAWAII 96613, PH: (608) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 64 of 196                  PageID.74




                                      EXHIBIT CONTINUED



           Said Grant was amended by AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
           AND UTILITY PURPOSES (HONUAPO TO MAKINO JUNCTION ROAD) dated as of
           November 12, 2004, recorded as Document No. 2004-262571.



     11. GRANT

           TO         . KA'U AGRIBUSINESS CO., INC., a Hawaii corporation

           DATED      . May 4, 2004
           RECORDED   . Document No. 2004-093482
           GRANTING . nonexclusive easements for access and utility purposes
                         as shown on maps attached thereto



           Said Grant was amended by AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
           AND UTILITY PURPOSES (HONUAPO - HOKUKANO ROAD) dated as of December
           14, 2004, recorded as Document No. 2004-262572.



     12. GRANT

           TO         . RAU AGRIBUSINESS CO., INC., a Hawaii corporation, now
                         known as C. BREWER AND COMPANY, LIMITED

           DATED    . May 4, 2004
           RECORDED . Document No. 2004-093483
           GRANTING . non-exclusive easements for access and utility
                       purposes as shown on map attached thereto


           Said Grant was amended by AMENDMENT TO GRANT OF EASEMENT FOR ACCESS
           AND UTILITY PURPOSES (HONUAPO - MAKINO JUNCTION ROAD) dated as of
           November 12, 2004, recorded as Document No. 2004-262573.




    201524882E            © Title Guaranty of Hawaii, Inc.                              Page6
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 65 of 196                  PageID.75




                                     EXHIBIT CONTINUED



     13. Any claim or boundary dispute which may exist or arise by reason of
         the failure of the GRANT dated May 4, 2004, recorded as Document No.
         2004-093484 referred to in Schedule C to locate wi.th certainty the
         boundaries of the non-exclusive perpetual easements for access and
         utility purposes as shown on map attached thereto described in said
         instrument.



     14. An easement for pipeline and access purposes to Well Site #5503-01,
         as set forth in Quitclaim Deed dated January 8, 2004, recorded as
         Document No. 2004-024593.



     15. Easements for access and utility purposes, in favor of KA'U
         AGRIBUSINESS CO., INC., a Hawaii corporation, and MAUNA KEA
         AGRIBUSINESS CO., INC., a Hawaii corporation; as reserved in Quitclaim
         Deed dated January 8, 2004, recorded as Document No. 2004-024593.



     16. The terms and provisions contained in the following:

           INSTRUt4ENT : DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
                         PURPOSES (PORTION OF KA'ALAIRI ROAD)

           DATED      . December 14, 2004
           RECORDED   . Document No. 2004-262576



     17. The terms and provisions contained in the following:

           INSTRUMENT : SPECIAL WARRANTY DEED WITH EXCEPTIONS AND RESERVATIONS

           DATED      . December 17, 2004
           RECORDED   . Document No. 2004-262578




    201524882E            © Title Guaranty of Hawaii, Inc.                              Page 7
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 66 of 196                  PageID.76




                                     EXHIBIT CONTINUED



     18. The terms and provisions contained in that certain unrecorded
         AGREEMENT dated December 17, 2004 , by and between C. BREWER COMPANY,
         LIMITED, a Hawaii corporation, and BIG ISLE V VENTURES, LLC, a Delaware
         limited liability company; re: water wells.

          A MEMORANDUM OF AGREEMENT is dated December 17, 2004, recorded as
          Document No. 2004-262583.



     19. The terms and provisions contained in that certain unrecorded
         AGREEMENT PERTAINING TO LANDCO WELL LICENSE dated December 17, 2004,
         by and between C. BREWER COMPANY, LIMITED, a Hawaii corporation, and
         BIG ISLE V VENTURES, LLC, a Delaware limited liability company.

          A MEMORANDUM OF AGREEMENT (LANDCO WELL LICENSE) is dated December 17,
          2004, recorded as Document No. 2004-262580.



     20. The following unrecorded licenses and leases and matters arising from
         or affecting the same.

          Walter Andrade, under unrecorded "Pasture Lease A".

           Said Lease covers the land described herein, besides other land.



     21. Claims arising out of customary and traditional rights and practices,
         including without limitation those exercised for subsistence,
         cultural, religious, access or gathering purposes, as provided for
         in the Hawai.i Constitution or the Hawaii Revised Statutes.



     22. Discrepancies, conflicts in boundary lines, shortage in area,
         encroachments, or any other rights or matters which a correct survey
         would disclose.




    201524882E            © Title Guaranty of Hawaii, Inc.                              Page 8
                 ,         235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 67 of 196                      PageID.77
                                                                                       E




                                      EXHIBIT CONTINUED



     23. Archaeological sites identified in the Archaeological Inventory
         Survey of a Property Located at TMK: 9-5-11:26 & 9-5-14: 8, 11, 17,
         41, 45, 46, & 48 in Hi'ona & Honu'apo Ahupua'a, Ka'u District, Island
         of Hawaii by Diane Guerriero, B.A. , Elizabeth Gregg, B.A. , and Joseph
         Kennedy, M.A., dated August 2005; subject to the terms and provisions,
         including the failure to comply with any recommendations made in said
         above report or made pursuant to any federal, state or county laws
         and regulations regarding such sites and discoveries.



     24. Any unrecorded leases and matters arising from or affecting the same.



     25. Nonexclusive easements for roadway, access and utility purposes in
         favor of land identified as Tax Map Keys 9-5-014-041, 045 and 008,
         as granted in DECLARATION OF EASEbMENT FOR ROADWAY AND IITILITY PIIRPOSES
         dated November 30, 2015, recorded as Document No. A-58340239.




    201524882E             © Title Guaranty of Hawaii, Inc.                                 Page 9
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 68 of 196                   PageID.78
                        ~                                                         ~




                                           EXHIBIT "5"

                                    LEGAL DESCRIPTION



     A11 of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by Royal Patent Number 7049, Land Commission Award
     Number 8559-B, Apana 13 to Wm. C. Lunalilo) situate, lying and being at
     Honuapo, District of Ka'u, Island and County of Hawaii, State of Hawaii,
     and thus bounded and described:

     Beginning at a 3/4" pipe at the southwest corner of this parcel of land,
     the coordinates of which referred to Government Survey Triangulation
     Station "HONUAPO" being 3,795.76 feet north and 554.86 feet west, and
     running by true azimuths measured clockwise from true South:

     1.    2130 36'              94.20             feet along remainder of L. C. Award
                                                   8559-B to W. C. Lunalilo to a 3/4" pipe;

     2.    3070 04'              52.80             feet along same to a 3/4" pipe;

     3.     300 36'              91.10             feet along same to a 3/4" pipe;

     4.    1230 36'              57.60             feet along same to the point of beginning
                                                   and containing an area of 5,099 square
                                                   feet or 0.117 acre, more or less.



          BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

           GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

           GRANTEE    . RA'U MAHI, LLC, a Colorado limited liability company

          DATED       . December 22, 2015
          FILED       . Land Court Document No. T-9486031
          RECORDED       Document No. A-58340236




    201524882F            © Title Guaranty of Hawaii, Inc.                                Page 1
                            235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 69 of 196                   PageID.79




                                      EXHIBIT CONTINUED



     Together with nonexclusive easements for roadway, access and utility
     purposes through tax map key parcel (3) 9-5-014-017, as granted in
     DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES dated November
     30, 2015, recorded as Document No. A-58340239.



                                       SCHEDULE B FOR
                                        EXHIBIT "5"


     This policy does not insure against loss or damage,. and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1.   Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
          June 30, 2016.

          Payable on or before February 20, 2016.

           Tax Rey: (3) 9-5-014-041                  Area Assessed: 0.117 acre



     2. Mineral and water rights of any nature.



     3.    The following unrecorded licenses and leases and matters arising from
           or affecting the same.

          Walter Andrade, under unrecorded "Pasture Lease A".

           Said Lease covers the land described herein, besides other land.




    201524882F             © Title Guaranty of Hawaii, Inc.                              Page 2
                            235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 70 of 196                   PageID.80




                                      EXHIBIT CONTINUED



     4. The terms and provisions contained in unrecorded AGREEMENT dated
          December 17, 2004, by and between C. BREWER AND COMPANY, LIMITED, a
          Hawaii corporation, and BIG ISLAND V VENTURES, LLC, a Delaware limited
          liability company; re: possible cemetery sites.

           A MEMORANDUM OF AGREEI4ENT is dated December 17, 2004, recorded as
           Document No. 2004-262583.



     S.    Claims arising out of customary and traditional rights and practices,
           including without limitation those exercised for subsistence,
           cultural, religious, access or gathering purposes, as provided for
           in the Hawaii Constitution or the Hawaii Revised Statutes.



     6. Archaeological sites identified in the Archaeological Inventory
        Survey of a Property Located at TMK: 9-5-11:26 & 9-5-14: 8, 11, 17,
        41, 45, 46, & 48 in Hi'ona & Honu'apo Ahupua'a, Ka'u District, Island
        of Hawaii by Diane Guerriero, B.A., Elizabeth Gregg, B.A., and Joseph
        Kennedy, M.A., dated August 2005; subject to the terms and provisions,
        including the failure to comply with any recommendations made in said
        above report or made pursuant to any federal, state or county laws
        and regulations regarding such sites and discoveries.



     7.    Discrepancies, conflicts in boundary lines, shortage in area,
           encroachments or any other matters which a correct survey or
           archaeological study would disclose.



     B.    Any unrecorded leases and matters arising from or affecting the same.



     9. The terms and provisions contained in the following:

           INSTRUMENT : DECLARATION OF EASENMENT FOR ROADWAY AND UTILITY
                         PURPOSES

          DATED       . November 30, 2015
          RECORDED    . Document No. A-58340239




    201524882F             © Title Guaranty of Hawaii, Inc.                              Page 3
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 71 of 196                  PageID.81




                                           EXHIBIT 11 6"

                                    LEGAL DESCRIPTION



     A11 of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by Royal Patent Grant Number 1742 to Papai)
     situate, lying and being at Hionaa, District of Ra'u, Island and County
     of Hawaii, State of Hawaii, bearing Tax Rey designation (3) 9-5-014-045,
     and containing an area of 6.700 acres, more or less.



           BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

           GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

           GRANTEE    . RA'U MAHI, LLC, a Colorado li.mited liability company

           DATED      . December 22, 2015
           FILED      . Land Court Document No. T-9486031
           RECORDED   . Document No. A-58340236



     Together with nonexclusive easements for roadway, access and utility
     purposes through tax map key parcel (3) 9-5-014-017, as granted in
     DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES dated November
     30, 2015, recorded as Document No. A-58340239.



                                       SCHEDULE B FOR
                                        EXHIBIT 11 6 "


    This policy does not insure against loss or damage, and the Company will
    not pay costs, attorneys' fees, or expenses that arise by reason of:




    201524882G            © Title Guaranty of Hawaii, Inc.                              Page 1
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 72 of 196                   PageID.82




                                      EXHIBIT CONTINUED



     1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
           June 30, 2016.

           Payable on or before February 20, 2016.

           Tax Key: (3) 9-5-014-045                  Area Assessed: 6.700 acres


           -Note:- Attention is invited to the fact that the premises covered
                    herein may be subject to possible rollback or retroactive
                    property taxes.



     2.    Mineral and water rights of any nature.



     3.    The following unrecorded licenses and leases and matters arising from
           or affecting the same.

           Walter Andrade, under unrecorded "Pasture Lease A".

           Said Lease covers the land described herein, besides other land.



     4.    Claims arising out of customary and traditional rights and practices,
           including without limitation those exercised for subsistence,
           cultural, religious, access or gathering purposes, as provided for
           in the Hawaii Constitution or the Hawaii Revised Statutes.



     5.    Any unrecorded leases and matters arising from or affecting the same.



     6.   Discrepancies, conflicts in boundary lines, shortage in area,
          encroachments or any other matters which a correct survey or
          archaeological study would disclose.




    201524882G             © Title Guaranty of Hawaii, Inc.                              Page 2
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 73 of 196                 PageID.83




                                     EXHIBIT CONTINUED



     7. The terms and provisions contained in the follooving:

           INSTRUMENT : DECLARATION OF EASENENT FOR ROADWAY AND UTILITY
                         PURPOSES

           DATED      . November 30, 2015
           RECORDED   . Document No. A-58340239




    201524882G            © Title Guaranty of Hawaii, Inc.                             Page 3
                          235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 74 of 196                             PageID.84
  I                         •",t                                                        ~""'"'•




                                                  EXHIBIT 11 7"

                                           LEGAL DESCRIPTION



      A11 of that certain parcel of land (being portion(s) of the land(s)
      described in and covered by Royal Patent Number 6882, Land Commission Award
      9971, Apana 10 to W.P. Leleiohoku) situate, lying and being at Kahilipalu
      Nui, District of Ka'u, Island and County of Hawaii, State of Hawaii, being
      LOT 2, and thus bounded and described as per survey dated January 2, 2008,
      to-wit:

      Beginning at the northeast corner of this parcel of land, being also the
      northwest corner of Lot 1, being a portion of Royal Patent 6882, Land
      Commission Award 9971, Apana 10 to W. P. Leleiohoku and being also the south
      side of Mamalahoa Highway, the coordinates of said point of beginning
      referred to Government Survey Triangulation Station "STEIN 211 ,being 212.33
      feet south and 4,744.90 feet west and thence running by azimuths measured
      clockwise from true South:

      1.     3580 11' 58"             216.50              feet along Lot 1, being a portion of R. P.
                                                          6882, L.C.Aw. 9971, Ap. 10 to W.P.
                                                          Leleiohoku;

      2.     3120 22' 30" 136.30                          feet along Lot 1, being a portion of R.P.
                                                          6882, L.C.Aw. 9971, Ap. 10 to W.P.
                                                          Leleiohoku;

      3.     2680 11' 58" 202.25                          feet along Lot 1, being a portion of R. P.
                                                          6882, L.C.Aw. 9971, Ap. 10 to W.P.
                                                          Leleiohoku;

      4.     3580   11'   58"         549.35              feet along remainder of R.P. 6882,
                                                          L.C.Aw. 9971, Ap. 10 to W.P. Leleiohoku;

      5.      860   23'   40"       1232.44               feet along the north side of proposed
                                                          Hawaii Belt Road;

      6.     Thence along the north side of proposed Hawaii Belt Road, on a curve
                                          to the right with a radius of 7960.00
                                          feet, the chord azimuth and,distance
                                          being:




      201524882H                   © Title Guaranty of Hawaii, Inc.                                Page 1
                                   235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 75 of 196                     PageID.85




                                        EXHIBIT CONTINUED



            880   51'   20"      683.63              feet;

     7.    1710   42'              87.94             feet along Lot 2-A, being a portion of
                                                     Grant 996 to S. Laanui;

     8.    2690 34'     40"      595.60              feet along remainder of R.P. 6882,
                                                     L.C.Aw. 9971, Ap. 10 to W.P. Leleiohoku;

     9.    1710   42'            664.50              feet along remainder of R.P. 6882,
                                                     L.C.Aw. 9971, Ap. 10 to W.P. Leleiohoku;

     10. 2690     34'   40"        80.00             feet along remainder of R.P. 6882,
                                                     L.C.Aw. 9971, Ap. 10 to W.P. Leleiohoku;

     il.   1710   42'              50.15             feet along remainder of R.P. 6882,
                                                     L.C.Aw. 9971, Ap. 10 to W.P. Leleiohoku;

     12. 2700     24'            200.00              feet along Naalehu Well Site, being a
                                                     portion of R.P. 6882, L.C.Aw. 9971, Ap.
                                                     10 to W.P. Leleiohoku;

     13. 1710 42'                151.75              feet along Naalehu Well Site, being a.
                                                     portion of R.P. 6882, L.C.Aw. 9971, Ap.
                                                     10 to W.P. Leleiohoku;

     14. 2700     23'   27"      848.80              feet along the south side of Mamalahoa
                                                     Highway to the point of beginning and
                                                     containing an area of 26.463 acres , more
                                                     or less.




    201524882H                © Title Guaranty of Hawaii, Inc.                             Page 2
                              235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 76 of 196                  PageID.86




                                      EXHIBIT CONTINUED



           BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

           GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

           GRANTEE    . KA'U MAHI, LLC, a Colorado limited liabili.ty company

           DATED      . December 22, 2015
           FILED         Land Court Document No. T-9486031
           RECORDED   . Document No. A-58340236



                                       SCHEDULE B FOR
                                        EXHIBIT "7"


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
           June 30, 2016.

           Payable on or before February 20, 2016.

           Tax Key: (3) 9-5-022-001                 Area Assessed: 26.463 acres.


           -Note:- Attention is invited to the fact that the premises covered
                    herein may be subject to possible rollback or retroactive
                    property taxes.



     2.    Mineral and water rights of any nature.




    201524882H             ~O Title Guaranty of Hawaii, Inc.                            Page 3
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 77 of 196                  PageID.87




                                     EXHIBIT CONTINUED



     3.    Unrecorded Grant of Easement dated September 8, 1953, made by
           HUTCHINSON SUGAR PLANTATION COMPANY to HAWAII ELECTRIC LIGHT COMPANY,
           INC., as mentioned in Instrument recorded in Liber 9167 at Page 2.



     4.    Any and all existing roadways, trails, easements, rights of way,
           flumes and irrigation ditches.



     5.    DESIGNATION OF EASEbIENT "1"

           SHOWN         on map prepared by Ichiro Sakamoto, Land Surveyor,
                         dated April 3, 1972, approved by the Planning
                         Department, County of Hawaii, Subdivision No. 3150, on
                         July 19, 1972



     6.    The terms and provisions contained in the following:

           INSTRUMENT : LIMITED WARRANTY DEED

           DATED         May 18, 2004
           RECORDED   . Document No. 2004-106056

           CORRECTION LIMITED WARRANTY DEED dated January 24, 2005, recorded as
           Document No. 2005-036834.

           The foregoing includes, but is not limited to, matters relating to
           not altering, diverting or restricting the natural flow of water on
           the property.



     7.    The terms and provisions contained in the following:

           INSTRUMENT : MEMORANDUM OF AGREEIMENT

          DATED          December 20, 2007
          RECORDED    . Document No. 2008-026510
          PARTIES     . HANEVA LLC, a Nevada limited liability company,
                         "Seller" and WWK HAWAII - NAALEHU PARCEL 1 LLC, a
                         Delaware limited liability company, "Buyer"




    201524882H             CO Title Guaranty of Hawaii, Inc.                            Page 4
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (80B) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 78 of 196                  PageID.88




                                      EXHIBIT CONTINUED



     8.    Any unrecorded leases and matters arising from or affecting the same.



     9.    Discrepancies, conflicts in boundary lines, shortage in area,
           encroachments or any other matters which a correct survey or
           archaeological study would4isclose.




    201524882H             © Title Guaranty of Hawaii, Inc.                             Page 5
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 79 of 196                  PageID.89




                                          EXHIBIT 11 8 "

                                   LEGAL DESCRIPTION



     -ITEM I:-

     All of that certain parcel of land (being all of Royal Patent Grant Number
     2537 to Uahi, Royal Patent Grant Number 2946 to Kahahawai, Royal Patent
     Grant Number 2955 to Kaahuliilii, Royal Patent Grant Number 2895 to Haalulu,
     Royal Patent Number 7674, Land Commission Award Number 10877 to Puhiki,
     and Apana 1 and 2 of Royal Patent Number 6487, Land Commission Award Number
     7608 to Keliilawaia; and Land Patent Grant No. 7704 to B. P. Bishop Estate)
     situate at Moaula and Kopu, District of Kau, Island and County of Hawaii,
     State of Hawaii, bearing Tax Key designation (3) 9-6-003-002, and
     containing an area of 701.660 acres, more or less.



     Together with non-exclusive easement for roadway and utility purposes
     affecting TMK (3) 9-6-003-022, as set forth in DECLARATION OF EASEMENT FOR
     ROADWAY AND UTILITY PURPOSES, dated August 24, 2005, filed as Land Court
     Document No. 3322324, recorded as Document No. 2005-177588, and as amended
     by PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006,
     filed as Land Court Document No. 3469269, recorded as Document No.
     2006-152062; and subject to the terms and provisions, contained therein.


     Together with a 40-foot wide nonexclusive easements, over, across and under
     the Road Easements for roadway and utility purposes, as shown on Exhibits
     B and B-1 attached thereto as set forth in that certain instrument entitled
     GRANT OF EASEMENT by instrument dated August 31, 2005, filed as Land Court
     Document No. 3469265, recorded as Document No. 2005-225062; and subject
     to the terms and provisions, contained therein.




    201524882K             © Title Guaranty of Hawaii, Inc.                              Page 1
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 80 of 196                     PageID.90




                                       EXHIBIT CONTINUED



     Together with a non-exclusive easement ("Easement 8a") over, across, under
     and through TMK (3) 9-6-005-025 in use as roadway and utility corridors
     up to approximately forty (40) feet in width, as set forth in GRANT OF
     EASEMENT effective dated November 8, 2005, filed as Land Court Document
     No. 3420914, recorded as Document No. 2006-078665 and more particularly
     described therein; and subject to the terms and provisions, contained
     therein.



     -ITEM II:-

     Together with a non-exclusive easement over, across, under and through TMIIC
     (3) 9-6-005-010 for use as roadway and utility corridors up to approximately
     40 feet in width, as set forth in DECLARATION OF EASEMENT FOR ROADWAY AND
     UTILITY PURPOSES (EASEMENT 13-D) , dated August 9, 2006, filed as Land Court
     Document No. 3469266, recorded as Document No. 2006-152056; and subject
     to the terms and provisions, contained therein.


     Together with a non-exclusive easement over, across, under and through TNII{
     (3) 9-6-005-017 for use as a roadway and utility corridor up to
     approximately 40 feet in width, as set forth in GRANT OF EASEMENT
     (Ra'u)(EASEMENT B-B) dated August 9, 2006, filed as Land Court Document
     No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
     and provisions, contained therein.



             BEING THE PREMISES ACQUIRED'BY QUITCLAIM DEED

             GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

             GRANTEE    . RA'U MAHI, LLC, a Colorado limited liability company

             DATED      . December 22, 2015
             FILED         Land Court Document No. T-9486031
             RECORDED      Document No. A-58340236




    20 1 5248 82K           © Title Guaranty of Hawaii, Inc.                               Page 2
                             235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-8261
    Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 81 of 196                     PageID.91
,     ,                     t--N                                                     el-11.




                                         EXHIBIT CONTINUED



         Together with nonexclusive easements for pedestrian and vehicular access
         and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
         as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
         dated November 4, 2015, recorded as Document No. A-58340237.




                                           SCHEDULE B FOR
                                            EXHIBIT 118"


         This policy does not insure against loss or damage, and the Company will
         not pay costs, attorneys' fees, or expenses that arise by reason of:



         1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
               June 30, 2016.

               Payable on or before February 20, 2016.

               Tax Key: (3) 9-6-003-002                 Area Assessed: 701.660 acres


               -Note:- Attention is invited to the fact that the premises covered
                        herein may be subject to possible rollback or retroactive
                        property taxes.



         2.    Mineral and water rights of any nature.



         3.    Existing Easement 119" for road and utility purposes, as shown on
               Subdivision Map No. 7540-Revised, approved by Planning Department of
               County of Hawaii, on June 27, 2002.




        201524882K             © Title Guaranty of Hawaii, Inc.                                Page 3
                               235 QUEEN ST., HONOLULU, HAWAII 96813, PH; (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 82 of 196                  PageID.92




                                     EXHIBIT CONTINUED



     4. The terms and provisions contained in the following:

           INSTRUMENT : DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
                         PURPOSES

           DATED      . August 24, 2005
           FILED      . Land Court Document No. 3322325
           RECORDED      Document No. 2005-177589

           PARTIAL CANCELLATION AS TO RESERVED EASEI4ENT RIGHTS (Existing
           Roadways Affecting TMK (3) 9-6-003-002) dated August 9, 2006, filed
           as Land Court Document No. 3469270, recorded as Document No.
           2006-152063.



     S. GRANT

           TO         . EDMUND C. OLSON, Trustee of the Edmund C. Olson Trust
                         II dated August 21, 1985

           DATED         August 31, 2005
           RECORDED      Document No. 2005-225063
           GRANTING      a 40-foot wide perpetual non-exclusive easement over,
                         across and under the Road Easements for road and utility
                         purposes as shown Exhibits B, B-1 and B-2 attached
                         thereto

           Said above Grant was amended by instrument dated December 9, 2005,
           recorded as Document No. 2005-260400.



     6.    GRANT

           TO            THE NATURE CONSERVANCY, a District of Columbia
                         nonprofit corporation

           DATED         September 30, 2005
           RECORDED   . Document No. 2005-225064
           GRANTING . a 40-foot wide perpetual non-exclusive easements over,
                         across and under the road Easements for road and
                         utilities purposes as shown on Exhibits B, B-1 and B-2
                         attached thereto




    201524882K             © Title Guaranty of Hawaii, Inc.                             Page 4
             .             235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 83 of 196                 PageID.93




                                      EXHIBIT CONTINUED



     7.    GRANT

           TO         . MONIKA MALLICK, married woman

           DATED      . September 7, 2005
           RECORDED      Document No. 2005-225065
           GRANTING      a 40-foot wide perpetual non-exclusive appurtenant
                          easements over, across and under the Road Easements for
                          road and utilities purposes as shown on Exhibits B, B-1
                         and B-2 attached thereto



     8.    GRANT

           TO         . TRUSTEES OF THE ESTATE OF BERNICE PAUAHI BISHOP

           DATED     . November 8, 2005
           RECORDED  . Document No. 2006-078665
           GRANTING . a perpetual, nonexclusive easement over and across,
                         under and through Easements 12a and 13a for access and
                         utility corridors up to approximately forty (40) feet
                         in width, more particularly described therein



     9.    Any claim or boundary dispute which may exist or arise by reason of
           the failure of the Declaration of Easement for Roadway and Utility
           Purposes and Grants of Easement referred to in Schedule C to locate
           with certainty the boundaries of the Roadway and Utility Easements
           described in said instruments.



     10. The following unrecorded licenses and leases and matters arising from
         or affecting the same:

           (A) License No. P98115 dated November 1, 1998, between Mauna Kea
                Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co, Inc.,
                as "Owner", and Ricardo Sambajon, as "Licensee", which License
                was assigned to Keiichiro Asaoka, by unrecorded Assignment dated
                July 30, 2004.




    201524882K             © Title Guaranty of Hawaii, Inc.                            Page 5
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533F261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 84 of 196                              PageID.94
                         (.~.-~~•                                                         ."a'°.




                                               EXHIBIT CONTINUED



           (B) License No. P99151 dated June 1, 1999, between Mauna Kea
                Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
                as "Owner" and Felipe Castaneda and Joseph Castaneda, as
                "Licensee" which License was amended, by unrecorded Amendment
                effective as of June 1, 2004.

           (C) License No. P97019 dated April 15, 1997, but effective September
                1, 1996, between Ka'u Agribusiness Co., Inc., as "Owner" and
                Leonardo Castaneda, as "Licensee", which License was amended and
                assigned to Felipe Castaneda by unrecorded Amendment/Assignment
                of Coffee License P97019 dated September 1, 2004.

           (D) License No. P97020 dated June 12, 1997, but effective July 1,
                1996, between Ka'u Agribusiness Co., Inc., as "Owner" and
                Leonardo Castenda (should be "Casteneda") as Licensee".

           (E) License No. P97049 dated August 1, 1996, between Ka'u
                Agribusiness Co. , Inc. , as "Owner" andMonarch Coffee Co. (Andrew
                Chalkan), as "Licensee".

           (F)   License No. P97048 dated July 18, 1996, but effective May 1, 1996,
                 between Ka'u Agribusiness Co., Inc. as "Owner", and Prasert
                 Chantrakul, as "Licensee", as amended by instrument dated July
                 6, 2001, adding Benjamin Castillo as a co-licensee.

           (G)   License No. P97021 dated July 17, 1996, but effective May 1, 1996,
                 between Ka'u Agribusiness Co., Inc. as "Owner", and James
                 Dacalio, as "Licensee".

           (H) License No P97021 dated August 20, 1996, but effective August
                1, 1996, between Ka'u Agribusiness Co., Inc., as "Owner" and
                Marceliano Camba and Teodora Camba, as "Licensee", which License
                was assigned to Ruby Javar by unrecorded Assignment dated January
                7, 2003.

           (I)   License No. P97111 dated August 30 1996, but effective September
                 1, 1996, between Ka'u Agribusiness CO., Inc., as "Owner", and
                 Anna Cariaga (and Georgia Kailiawa), as "Licensee" which License
                 was amended and assigned to Goergette Kailiawa and Georgina
                 Kailiawa by unrecorded Amendment to Coffee License between Ka'u
                 Agribusiness Co., Inc. and Anna Cariaga and Georgina Kailiawa
                 dated May 29, 1997.




    201524882K                  © Title Guaranty of Hawaii, Inc.                                    Page 6
                                    235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 85 of 196                    PageID.95




                                        EXHIBIT CONTINUED



           (J) License No. P97026 dated August 20, 1996, but effective August
               1, 1996, between Ka'u Agribusiness Co., Inc.,.as "Owner", and
               Clifford Kamei, as "Licensee".

           (K) License No. P97027 dated September 15, 1997, but effective
               November 1, 1996, between Ka'u Agribusiness Co., Inc., as
               "Owner", and Raymond and Cylynn Kamei, as "Licensee".

           (L) License No. P97055 dated November 8, 1996, but effective November
               1, 1996, between Ka'u Agribusiness Co., Inc., as "Owner", and
               Dennis & Leivanell Salmo, as "Licensee", which License was
               assigned to Arniel Libunao by unrecorded Assignment dated
               December 1, 2001.

           (M) License No. P97038 dated October 2, 1996, but effective October
               1, 1996, between Ka'u Agribusiness Co., Inc., as "Owner", and
               William Lorenzo, as "Licensee", as amended by unrecorded
               Amendment to Pasture License P97038 dated October 1, 2004, which
               License was assigned to Steve's Ag Services, Ltd. by unrecorded
               Assignment dated October 1, 2005.

           (N) License No. P98112 dated October 1, 1998, between Mauna Kea
               Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
               as "Owner", and Francis Marques, as "Licensee" which License was
               assigned to said Francis Marques, -and Trinidad Marques and Connie
               F. Koi, by unrecorded instrument dated January 28, 2000, and
               amended by unrecoreded Amendment to License dated July 17, 2001.

           (0)   License No. P97044 dated July 17, 1996, but effective May 1, 1996,
                 between Ka'u Agribusiness Co., Inc., as "Owner" and Francis
                 Marques, as "Licensee", which License was assigned to said
                 Francis Marques, and Trinidad Marques and Connie F. Koi, by
                 unrecorded instrument dated January 28, 2000.

           (P) License No. P00164 dated April 1, 2000, between Mauna Kea
                Agribusiness Co., Ina.,by its agent Ka'u Agribusiness Co., Inc.,
                as "Owner" and Francis Marques and Trinidad Marques, and Connie
                F. Koi, by unrecorded instrument dated April 6, 2000, and amended
                by unrecorded Amendment to License dated July 17, 2001.




    201524882K              © Title Guaranty of Hawaii, Inc.                              Page 7
                             235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 86 of 196                    PageID.96




                                      EXHIBIT CONTINUED



           (Q) License No. P97046 dated May 1, 1996, between Ka'u Agribusiness
               Co., Inc., as "Owner" and Manuel Marques, as "Licensee".

           (R) License No. P97051 dated August 20, 1996, effective August 1,
               1996, between Ka'u Agribusiness Co., Inc., as "Owner" and Leo
               Noberte, as "Licensee".

           (S) License No. P98114 dated November 1, 1998, between Mauna Kea
               Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc,.,
               as "Owner", and Leo Noberte, as "Licensee".

           (T) License No. P99150 dated June 1, 1999, between Mauna Kea
               Agribusiness CO., Inc., by its agent Ka'u Agribusiness CO., Inc.,
               as "Owner", and Leo Noberte, as "Licensee".

           (U) License No. P97052 dated August 20, 1996, effective August 1,
               1996, between Ka'u Agribusiness Co., Inc., as "Owner'!, and
               Franklin Orcino, as "Licensee".

           (V) License No. P98110 dated January 19, 1998, effective February
               1, 1998, between Mauna Kea Agribusiness Co., Inc., by its agent
               Ka'u Agribusiness Co., Inc., as "Owner", and Franklin Orcino,
               as "Licensee" which License was assigned to Franklin M. Orchino,
               aka said Franklin Orcino, and Annabell B. Orchino, by unrecorded
               instrument dated August 4, 1998.

           (W) License No. P97063 dated July 17, 1996, but effective May 1, 1996,
               between Ka'u Agri.business Co., Inc., as "Owner", and Stanley
               Queja, as "Licensee".

           (X) License No. P97054 dated August 20, 1996, effective August 1,
               1996, between Ka'u Agribusiness Co., Inc., as "Owner" and Don
               Sakata, as "Licensee".

          (Y) License No. P01001 dated March 1, 2001, between Mauna Kea
              Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
              as "Owner", and Ricardo Samba jon and Gidyet Sambajon Lansang,
              as "Licensee".

          (Z) License NO. M97056 dated November 1, 1996, between Ka'u
              Agribusiness Co, Inc., as "Owner" and Duane and Doris Santiago,
              as "Licensee", as amended by Amendment to License dated November
              1, 2002.




    201524882K             © Title Guaranty of Hawaii, Inc.                               Page 8
                            235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 87 of 196                   PageID.97




                                       EXHIBIT CONTINUED



           (AA) License No. P02008 dated March 1, 1998, between Mauna Kea
                 Agribusiness Co., Inc., through its agent Ka'u Agribusiness
                 Co., Inc., as "Owner", and Prasert Chantrakul and Benjamin
                 Castillo, as "Licensee".

                 -Note:- This license covers a portion of former TMK (3)
                          9-6-003-012 that was consolidated into current TMK (3)
                          9-6-003-002.

           (BB) License No. P02009 dated April 1, 1998, between Mauna Kea
                 Agribusiness Co., Inc. through its agent Ka'u Agribusiness CO.,
                 Inc., as "Owner" and James Dacalio, Jr., as "Licensee".

                 -Note:- This license covers a portion of former TMK (3)
                          9-6-003-012 that was consolidated into current TMK (3)
                          9-6-003-002.

           (CC) License No. P02020 dated March 1, 1998, between Mauna Kea
                 Agribusiness Co., Inc., through its agent Ka'u Agribusiness
                 Co., Inc., as "Owner", and Leo Noberte, as "Licensee".

                 -Note:- This license covers a portion of former TMK (3)
                          9-6-003-012 that was consolidated i.nto current TMK (3)
                          9-6-003-002.


           (DD) License No. P02007 dated May 1, 1999, between Mauna Kea
                 Agribusiness Co., Inc., through its agent Ka'u Agribusiness
                 Co., Inc., as "Owner", and Restituto and Loreto Obra, as
                 "Licensee".

                 -Note:- This license covers a portion of former TMK (3)
                          9-6-003-012 that was consolidated into current TMK (3)
                          9-6-003-002.



     11. Terms and provisions, as contained i.n letter entitled "Re:
          Archaeological Assessment for Three Na'alehu Project Areas, Island
          of Hawaii" , dated June 2, 2006, by Paul L. Cleghorn , Ph . D., Principal ,
          Senior Archaeologist, Pacific Legacy, Incorporated, including the
          failure to comply with any recommendations made in said above letter,
          or made pursuant to any federal, state or county laws and regulations
          regarding any sites and discoveries.




    201524882K              © Title Guaranty of Hawaii, Inc.                             Page 9
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 88 of 196                  PageID.98




                                       EXHIBIT CONTINUED



     12.    -AS TO ITEM II:-

            The terms and provisions contained in DECLARATION OF EASEMENTS FOR
            ROADWAY AND IITILITY PURPOSES (Existing roadways affecting TNIIt (3)
            9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
            Court Document No. 3469266, recorded as Document No. 2006-152056.



     13.   Claims arising out of customary and traditional rights and practices,
           including without limitation those exercised for subsistence,
           cultural, religious, access or gathering purposes, as provided for
           in the Hawaii Constitution or the Hawaii Revised Statutes.



     14.   Any unrecorded leases and matters arising from or affecting the same.



     15.   Discrepancies, conflicts in boundary lines, shortage in area,
           encroachments or any other matters which a correct survey or
           archaeological study would disclose.



     16.   The terms and provisions contained in the following:

           INSTRiJNJENT : DECLARATION OF EASEI4ENT (Ka'u Easements 13D, 8a, A-1,
                          B-B)

           DATED       . November 4, 2015
           RECORDED    . Document No. A-58340237




    201524882x             O Title Guaranty of Hawaii, Inc.
                           O                                                            Page 10
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533f261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 89 of 196                   PageID.99




                                            EXHIBIT "9"

                                     LEGAL DESCRIPTION



     —ITEM I:—

     All of that certain parcel of land (being portion(s) of the land(s)
     described in and covered by Royal Patent Grant Number 814 to Kealiinui and
     Royal Patent Grant Number 2877 to Kealiinui) situate, lying and being at
     Kopu, Moaula, District of Kau, Island and County of Hawaii, State of Hawaii,
     described as follows:

                                                   LOT 6

                    SITUATED APPROXIMATELY 700 FEET NORTHWEST OF
                  HAWAII BELT ROAD (F.A.P. NO. 18-B-PAHALA SECTION)
                 AND ON THE SOUTHWEST BOUNDARY OF THE LAND OF MAKAKA

                  BEING PORTIONS OF GRANT NUMBER 814 TO KEALIINUI
                        AND GRANT NUMBER 2877 TO KEALIINUI

                   AT KOPU, MOAULA, KAU, ISLAND OF HAWAII, HAWAII

     Beginning at the southeast corner of this parcel of land, being also the
     south corner of Lot 5, same being portions of Grant 814 to Kealiinui and
     Grant 2877 to Kealiinui and on the northwest side of Old Government Road,
     the coordinates of said point of beginning referred to Hawaii State Plane
     Coordinate System (Zone 1) , bei.ng 129,079.54 feet north and 501,270.19 feet
     east and thence running by azimuths measured clockwise from grid South:

     1.     190 30' 10"          83.20,            feet along the west side of Old
                                                   Government Road;

     2.    3560 30' 10"        167.23              feet along the west side of Old
                                                   Goverrunent Road;

     3.    3380 30' 10"           98.24            feet along the west side of Old
                                                   Government Road;




    201524882L             © Title Guaranty of Hawaii, Inc.                              Page 1
                            235 OUEEN ST.. HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 90 of 196                   PageID.100




                                       EXHIBIT CONTINUED



      4.    Thence along Lot 3, being all of Grant 2984 to Napela and portions
                                        of Grant 814 to Kealiinui; Grant 2877 to
                                        Kealiinui; Grant 2934 to Honokoa and
                                        Grant 817 to Makahi on a curve to the left
                                        wi.th a radius of 25.00 feet, the chord
                                        azimuth and distance being:

            1020 28' 00"          41.47 feet;

      5.    Thence along Lot 3, being all of Grant 2984 to Napela and portions
                                        of Grant 814 to Kealiinui; Grant 2877 to
                                        Kealiinui; Grant 2934 to Honokoa and
                                        Grant 817 to Makahi on a curve to the
                                        right with a radius of 325.00 feet, the
                                        chord azimuth and distance being:

             610 45' 16"        171.78 feet;

      6.    3210 30'              77.22            feet along Lot 3, being all of Grant 2984
                                                   to Napela and portions of Grant 814 to
                                                   Kealiinui; Grant 2877 to Kealiinui;
                                                   Grant 2934 to Honokoa and Grant 817 to
                                                   Makahi;

      7.     51° 30'              26.00            feet along Lot 3, being all of Grant 2984
                                                   to Napela and portions of Grant 814 to
                                                   Kealiinui; Grant 2877 to Kealiinui;
                                                   Grant 2934 to Honokoa and Grant 817 to
                                                   Makahi;

     8.     1410 30'           119.33              feet along Lot 3, being all of Grant 2984
                                                   to Napela and portions of Grant 814 to
                                                   Kealiinui; Grant 2877 to Kealiinui;
                                                   Grant 2934 to Honokoa and Grant 817 to
                                                   Makahi;




     201524882L            © Title Guaranty of HaR'aii, Inc.                              Page 2
                            235 QUEEN ST., HONOLULU, HAWAII 9681p, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 91 of 196                  PageID.101




                                      EXHIBIT CONTINUED



      9.      90° 00'        1049.92             feet along Lot 3, being all of Grant 2984
                                                 to Napela and portions of Grant 814 to
                                                 Kealiinui; Grant 2877 to Kealiinui; Grant
                                                 2934 to Honokoa and Grant 817 to Makahi;

      10. Thence along Lot 3, being all of Grant 2984 to Napela and portions
                                      of Grant 814 to Kealiinui.; Grant 2877 to
                                      Kealiinui; Grant 2934 to Honokoa and
                                      Grant 817 to Makahi on a curve to the
                                      right with a radius of 2000.00 feet, the
                                      chord azimuth and distance being:

             940 05' 00" 284.83 feet;

      11.    980 10'           287.64             feet along Lot 3, being all of Grant 2984
                                                  to Napela and portions of Grant 814 to
                                                  Kealiinui; Grant 2877 to Kealii.nui;
                                                  Grant 2934 to Honokoa and Grant 817 to
                                                  Makahi;


      12. Thence along Lot 3, being all of Grant 2984 to Napela and portions
                                      of Grant 814 to Kealiinui; Grant 2877 to
                                      Kealiinui; Grant 2934 to Honokoa and
                                      Grant 817 to Makahi, on a curve to the
                                      left with a radius of 500.00 feet, the
                                      chord azimuth and distance being:

             810 54' 00" 280.11 feet;

     13.     650 38'            77.06             feet along Lot 3, being all of Grant 2984
                                                  to Napela and portions of Grant 814 to
                                                  Kealiinui; Grant 2877 to Kealiinui;
                                                  Grant 2934 to Honokoa and Grant 817 to
                                                  Makahi;




     201524882L           © Title Guaranty of Hawaii, Inc.                               Page 3
                           235 OUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 92 of 196                       PageID.102




                                           EXHIBIT CONTINUED



      14. Thence along Lot 3, being all of Grant 2984 to Napela and portions
                                      of Grant 814 to Kealiinui; Grant 2877 to
                                       Kealiinui; Grant 2934 to Honokoa and
                                      Grant 817 to Makahi, on a curve to the
                                      right with a radius of 175.00 feet, the
                                      chord azimuth and distance being:

             88 0   21'   00"       135.16              feet;

     15. ill°       04'               69.50             feet along Lot 3, being all of Grant 2984
                                                        to Napela and porti.ons of Grant 814 to
                                                        Kealiinui; Grant 2877 to Kealiinui;
                                                        Grant 2934 to Honokoa and Grant 817 to
                                                        Makahi;

     16. 2230       40'   10"       292.99             feet along R.P. 7123, L.C.Aw. 10875 to
                                                       Puana;

     17. 1190       10'   10"       589.04             feet along R.P. 7123, L.C.Aw. 10875 to
                                                       Puana;

     18.   1370     16'               74.90            feet along Lot 2, being portions of Grant
                                                       2877 to Kealiinui and Grant 2934 to
                                                       Honokoa;

           Thence following along the middle of Moaula Stream and the northerly
                                        boundary of Lot 2, being portions of
                                        Grant 2877 to Kealiinui and Grant 2934
                                        to Honokoa, for the next four (4)
                                        courses, the direct azimuths and
                                       ,distances between points along said
                                        middle of stream being:

     19.    810     04'            608.22              feet;

     20. 1130       53'            963.00              feet;

     21. 1050       47'            437.00              feet;

     22.    610     59'            602.93              feet;




    201524882L                  © Title Guaranty of Hawaii, Inc.                             Page 4
                                235 QUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 93 of 196                       PageID.103




                                           EXHIBIT CONTINUED



            Thence continuing along the middle of Moaula Stream and Lot 1, being
                                         portions of Grant 2877 to Kealiinui;
                                         Grant 2934 to Honokoa and R.P. 6917,
                                         L.C.Aw. 8981 to Iaea for next two (2)
                                         courses, the direct azimuths and
                                         distances between points along said
                                         middle of stream being:

      23.     91°   00'             364.98              feet;

      24. 1340      39'           1212.73               feet;

      25.    370    01'             142.56              feet along Lot l,being portions of Grant
                                                        2877 to Kealiinui; Grant 2934 to Honokoa
                                                        and R.P. 6917, L.C.Aw. 8981 to Iaea;

      26. Thence along Lot 1, being portions of Grant 2877 to Kealiinui; Grant
                                       2934 to Honokoa and R.P. 6917, L.C.Aw.
                                       8981 to Iaea, on a curve to the right with
                                       a radius of 1230.00 feet, the chord
                                       azimuth and distance being:

             380    00'   44"         42.75            feet;

      27. 1490      28'   10"     3148.83              feet along Grant 2895 to Haalulu;

      28. 2300      58'   10"     2787.08              feet along Grant 2946 to Kahahawai;

      29. 3220      58'   10"     2441.92              feet along Grant 1570 to L. Maigret;

      30. 2350      28'   10"     2734.29              feet along Grant 1570 to L. Maigret;

      31. 3220      58'   10"     1300.16              feet along Grant 7704, Ap. 3 to B.P.
                                                       Bishop Estate;

      32. 319°      58'   10"    1396.87               feet along Grant 2371 to J. Palau;




     201524882L                 © Title Guaranty of Hawaii, Inc.                              Page 5
                                235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 94 of 196                  PageID.104




                                       EXHIBIT CONTINUED



      33.    410 38'             692.63             feet along Lot 4, being a portion of
                                                    Grant 2877 to Kealiinui;

      34. Thence following along the middle of a stream and the westerly boundary
                                        of Lot 4, being a portion of Grant 2877
                                        to Kealiinui, the direct azimuth and
                                        distance between points along said
                                        middle of stream being:

            3130 39' 00" 340.00 feet;

      35.    410 O1'           1042.00             feet along Lot 5, being portions of Grant
                                                   814 to Kealiinui and Grant 2877 to
                                                   Kealiinui;

            Thence following along the middle of a gulch and the westerly boundary
                                          of Lot 5, being portions of Grant 814 to
                                          Kealiinui and Grant 2877 to Kealiinui,
                                          for the next five (5) courses, the direct
                                          azimuths and distances between points
                                          along said middle of gulch being:

      36. 3530    31'           186.00             feet;

     37. 3290     33'           548.00             feet;

      38. 3450    03'           600.00             feet;

      39. 2910    23'           460.00             feet;

     40. 2730     16'           560.00             feet to the poi.nt of beginning and
                                                   containing an area of 619.103 acres,
                                                   more or less.



     Together with a 40-foot wide perpetual nonexclusive easements, over, across
     and under the Road Easements for roadway and utility purposes, as shown
     on Exhibits B and B-1 attached thereto as set forth in that certain
     instrument entitled GRANT OF EASEMENT by instrument dated August 31, 2005,
     recorded as Document No. 2005-225062, filed as Land Court Document No.
     3469265; and subject to the terms and provisions contained therein.




     201524882L             © Title Guaranty of Hawaii, Inc.                             Page 6
                             2350UEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533f261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 95 of 196                   PageID.105




                                       EXHIBIT CONTINUED



      Together with a non-exclusive easement ("Easement 8a") over, across, under
      and through TMR (3) 9-6-005-025 in use as roadway and utility corridors
      up to approximately forty (40) feet in width, as set forth in GRANT OF
      EASEI4ENT effective dated November 8, 2005, filed as Land Court Document
      No. 3420914, recorded as Document No. 2006-078665 and more particularly
      described therein; and subject to the terms and provisions contained
      therein.



      -ITEM II:-

     Together with a non-exclusive easement over, across, under and through TMK
     (3) 9-6-005-010 for use as roadway and utility corridors up to approximately
     40 feet in width, as set forth in DECLARATION OF EASEbMENT FOR ROADWAY AND
     UTILITY PURPOSES (EASEMENT 13-D) , dated August 9, 2006, filed as Land Court
     Document No. 3469266, recorded as Document No. 2006-152056; and subject
     to the terms and provisions contained therein.



     Together with a non-exclusive easement over, across, under and through TMK
     (3) 9-6-005-017 for use as a roadway and utility corridor up to
     approximately 40 feet in width, as set forth in GRANT OF EASEMENT
     (Ra'u)(EASENISNT B-B) dated August 14, 2006, filed as Land Court Document
     No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
     and provisions contained therein.



            BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

            GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

            GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

            DATED      . December 22, 2015
            FILED      . Land Court Document No. T-9486031
            RECORDED   . Document No. A-58340236




     201524882L            © Title Guaranty of Hawaii, Inc.                               Page 7
                            235 OUEEN ST.. HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 96 of 196                  PageID.106




                                      EXHIBIT CONTINUED



     Together with nonexclusive easements for pedestrian and vehicular access
     and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
     as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
     dated November 4, 2015, recorded as Document No. A-58340237.



                                       SCHEDULE B FOR
                                        EXHIBIT 11 9"


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
            June 30, 2016.

            Payable on or before February 20, 2016.

            Tax Key: (3) 9-6-003-022                 Area Assessed: 619.130 acres


            -Note:- Attention is invited to the fact that the premises covered
                     herei.n may be subject to possible rollback or retroactive
                     property taxes.



     2.     Mineral and water rights of any nature.



     3.     Triangulation Survey Station "MOAULA 20" located within the land
            described herein, referenced on the Tax Map. Attention is invited
            to the provisions of Section 172-13 of the Hawaii Revised Statutes,
            relative to destruction, defacing or removal of survey monuments.




     201524882L            O
                           O Title Guaranty of Hawaii, Inc.                              Page 8
                            235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533E261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 97 of 196                  PageID.107




                                      EXHIBIT CONTINUED



      4.   -AS TO THAT PORTION OF ROYAL PATENT GRANT NO. 2877 TO KEALIINUI:-

           Roads (shaded) as shown on Hawaii Territory Survey (HTS Plat 110)
           prepared by Walter E. Wall, dated December, 1914.



      S. Road and Utility Easement 118" as referenced on tax map.



      6.   GRANT

           TO            MAUNA LOA MACADAMIA PARTNERS, L.P., KA'U AGRIBUSINESS
                         CO, INC., AND MAUNA LOA MACADAMIA NUT CORPORATION

           DATED        June 12, 1986
           RECORDED . Liber 19573 Page 633
           GRANTING . Nonexclusive easement for road and utility purposes;
                        water pipeline maintenance; and easement rights, etc



     7.    The terms and provisions contained in that certain WATER AGREEMENT
           dated      , and amended by unrecorded AMENDED WATER AGREEbJENT, .
           effective as of October 1, 1989, set forth in 1MEMORANDUM OF AMENDED
           WATER AGREEMENT dated effective as of October 1, 1989, recorded in
           Liber 23813 at Page 295.


           -Note:- The Company does not insure water rights, nor claims or
                     title to water regardless if whether or not such rights or
                     claims are shown by the public records.



     B. The terms and provisions contained in the following:

           INSTRUMENT : DECLARATION OF EASENJENTS FOR ROADWAY AND UTILITY
                         PURPOSES

           DATED         August 24,.2005
           FILED      . Land Court Document No. 3322324
           RECORDED      Document No. 2005-177588




    201524882L            © Title Guaranty of Hawaii, Inc.                               Page 9
                           235 QUEEN ST., HONOLULU, HAWAII 96813, ,PH: (808) 533$261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 98 of 196                   PageID.108




                                       EXHIBIT CONTINUED



            PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS (Existing
            Roadways Affecting Tt4Fc (3) 9-6-003-022) dated August 9, 2006, filed
            as Land Court Document No. 3469269, recorded as Document No.
            2006-152062.



      9.   GRANT

            TO            EDMUND C. OLSON, Trustee of the Edmund C. Olson Trust
                          II dated August 21, 1985

           DATED         August 31, 2005
           RECORDED   . Document No. 2005-225063
           GRANTING , a 40-foot wide perpetual non-exclusive easement over,
                         across and under the Road Easements for road and utility
                         purposes as shown Exhibits B, B-1 and B-2 attached
                         thereto

           Said above Grant was amended by instrument dated December 9, 2005,
           recorded as Document No. 2005-260400.



     10. GRANT

           TO             THE NATURE CONSERVANCY, a District of Columbia
                          nonprofit corporation

           DATED         September 30, 2005
           RECORDED      Document No. 2005-225064
           GRANTING . a 40-foot wide perpetual non-exclusive easements over,
                         across and under the road Easements for road and
                         utilities purposes as shown on Exhibits B, B-1 and B-2
                         attached thereto




    201524882L             © Title Guaranty of Hawaii, Inc.                              Page 10
                            235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 99 of 196                  PageID.109




                                      EXHIBIT CONTINUED



      11. GRANT

            TO        . MONIKA MALLICR, a married woman

           DATED      . September 7, 2005
           RECORDED   . Document No. 2005-225065
           GRANTING      a 40-foot wide perpetual non-exclusive appurtenant
                         easements over, across and under the Road Easements for
                         road and utilities purposes as shown on Exhibits B, B-1
                         and B-2 attached thereto



     12. GRANT

           TO            TRUSTEES UNDER THE WILL AND OF THE ESTATE OF BERNICE
                         PAUAHI BISHOP, DECEASED

           DATED         November 8, 2005
           FILED         Land Court Document No. 3420914
           RECORDED   . Document No. 2006-078665
           GRANTING      a perpetual, nonexclusive easement over and across,
                         under and through Easements 12a and 13a for access and
                         utility corridors up to approximately forty (40) feet
                         in width, more particularly described therein



     13. Any claim or boundary dispute which may exist or arise by reason of
         the failure of the Grants of Easement referred to in Schedule C to
         locate with certainty the boundaries of the Roadway and Utility
         Easements described in said instruments.



     14. The following unrecorded licenses and leases and matters arising from
         or affecting the same.

           (A) License No. P97003a(revised) dated December 30, 2005, between
                C. brewer and Company, Limited, as "Owner", and John L. Ah San,
                as "Licensee".




    201524882L            © Title Guaranty of Hawaii, Inc.                              Page 11
                           235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 100 of 196
                             PageID.110           ~.




                                  EXHIBIT CONTINUED



       (B) License NO. M03050 dated May 1, 2003, between Mauna Kea
           Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner" and Gilbert Andrade and Dennis Andrade, as "Licensee".

       (C) Mauna Kea Agribusiness Co., Inc. Road and Sisal Well License
           dated May 1 2000, between Mauna Kea Agribusiness Co., Inc., as
           "Owner", and ML Macadamia Orchards, L.P., as "Licensee".



 15. Claims arising out of customary and traditional rights and practices,
     including without limitation those exercised for subsistence,
     cultural, religious, access or gathering purposes, as provided for
     in the Hawaii Constitution or the Hawaii Revised Statutes.



 16. Terms and provisions as contained in letter entitled "Re:
     Archaeological Assessment for Three Na'alehu Project Areas, Island
     of Hawaii", dated June 2, 2006, by Paul L. Cleghorn, Ph.D. , Principal,
     Senior Archaeologist, Pacific Legacy, Incorporated, i.ncluding the
     failure to comply with any recommendations made in said above letter,
     or made pursuant to any federal, state or county laws and regulations
     regarding any sites and discoveries.



 17. -AS TO ITEM II:-

       The terms and provisions contained in DECLARATION OF EASEMENTS FOR
       ROADWAY AND UTILITY PURPOSES (Existing roadways affecting TNIIt (3)
       9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
       Court Document No. 3469266, recorded as Document No..2006-152056.



 18.   Any unrecorded leases and matters ari.sing from or affecting the same.




201524882L             © Title Guaranty of Hawaii, Inc.                             Page 12
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 101 of 196
                             PageID.111
                                                                             ~..




                                 EXHIBIT CONTINUED



 19. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.



 20. The terms and provisions contained in the following: .

       INSTRUMENT : DECLARATION OF EASEMENT (Ra'u Easements 13D, 8a, A-1,
                     B-B)

       DATED      . November 4, 2015
       RECORDED   . Document No. A-58340237



 21. Nonexclusive easement for roadway and utility purposes, in favor of
     land identi.fied as Tax Map FCey 9-6-005-015, as granted in DECLARATION
     OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES, dated November _, 2015,
     (acknowledged November 10, 2015), recorded as Document No
     A-58340238.




201524882L            © Title Guaranty of Hawaii, Inc.                             Page 13
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 102 of 196
                             PageID.112




                                      EXHIBIT "10"

                                LEGAL DESCRIPTION



 A11 of that certain parcel of land (being all of the land(s) described in
 and covered by Royal Patent Number 6925, Land Commission Award Number 8761
 to Keepalawa, Royal Patent Number 5518, Land Commission Award Number 8362
 to Keliiaa, and Apana 2 of Royal Patent Number     , Land Commission Award
 Number 10755 to S. Palau) situate, lying and being at Makaka, District of
 Kau, Island and County of Hawaii, State of Hawaii, bearing Tax Key
 designation (3) 9-6-005-010, and containing an area of 25.210 acres, more
 or less.



 Together with DECLARATION OF EASEMNTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNIIC (3) 9-6-005-056) , dated August 24, 2005,
 recorded as Document No. 2005-177586, as amended by PARTIAL CANCELLATION
 AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, recorded as Document
 No. 2006-152060; and subject to the terms contained therein.


 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNIIC (3) 9-6-003-022) , dated August 24, 2005,
 filed as Land Court Document No. 3322324, recorded as Document No.
 2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
 recorded as Document No. 2006-152062; and subject to the terrns and
 provisions contained therein.


 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TMK (3) 9-6-003-002) , dated August 24, 2005,
 filed as Land Court Document No. 3322325, recorded as Document No.
 2005-177589, as amended by PARTIAL CANCELLATION AS TO_RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
 recorded as Document No. 2006-152063; and subject to the. terms and
 provisions contained therein.




20 1 5248 82M          CO Title Guaranty of Hawaii, Inc.                          Page 1
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (806) 533f261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 103 of 196
                             PageID.113



                                  EXHIBIT CONTINUED



 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting T141t (3) 9-6-006-008) , dated August 24, 2005,
 filed as Land Court Document No. 3322326, recorded as Document No.
 2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED . EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469271,
 recorded as Document No. 2006-152064; and subject to the terms and
 provisions contained therein.


 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing'roadways affecting TMt (3) 9-6-006-005) , dated August 24, 2005,
 filed as Land Court Document No. 3322327, recorded as Document No.
 2005-177591, as amended by AMENDMENT OF DECLARATION OF EASEMENT FOR ROADWAY
 AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court Document
 No. 3469268, recorded as Document No. 2006-152058, as amended by PARTIAL
 CANCELLATION AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, filed
 as Land Court Document No. 3469272, recorded as Document No. 2006-152065;
 and subject to the terms and provisions contained therein.


 Together with a 40-foot wide perpetual nonexclusive easements, over, across
 and under the Road Easements for roadway and utility purposes, as shown
 on Exhibits B and B-1 attached thereto as set forth in that certain
 instrument entitled GRANT OF EASEb>ENT by instrument dated August 31, 2005,
 recorded as Document No. 2005-225062, filed as Land Court Document No.
 3469265; and subject to the terms and provisions, contained therein.


Together with a perpetual, non exclusive easement ("Easement 8a") over,
across, under and through TMIIt (3) 9-6-005-025 in use as roadway and utility
corridors up to approximately forty (40) feet in width, as set forth in
GRANT OF EASEI4ENT effective dated November 8, 2005, filed as Land Court
Document No. 3420914, recorded as Document No. 2006-078665 and more
particularly described therein; and subject to the terms and provisions,
contained therein.




201524882M            © Title Guaranty of Hawaii, Inc.                             Page 2
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 104 of 196
                             PageID.114



                                  EXHIBIT CONTINUED



 Together with a non-exclusive easement over, across, under and through TMK
 (3) 9-6-005-017 for use as a roadway and utility corridor up to
 approximately 40 feet in width, as,set forth in GRANT OF EASEMENT (Ka'u)
 (EASEbENT B-B) dated,August 9, 2006, filed as Land Court Document No.
 3469274, recorded as Document No. 2006-152068; and subject to the terms
 and provisions, contained therein.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED         December 22, 2015
       FILED         Land Court Document No. T-9486031
       RECORDED   . Document No. A-58340236



                                   SCHEDULE B FOR
                                    EXHIBIT 11 10"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



 1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

      Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-005-010                 Area Assessed: 25.210 acres



       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.    Mineral and water rights of any nature.




201524882M             © Title Guaranty of Hawaii, Inc.                            Page 3
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 105 of 196
                             PageID.115



                                  EXHIBIT CONTINUED



 3.    Matters arising out of the failure of a patent to have issued on Land
       Commission Award 10755 to S. Palau, and any matters that may be set
       forth in any such patent. The Company assumes no obligation to
       procure any patent or to pay commutation, if any, which may be owed
       thereon.



 4.    -AS TO THOSE PORTION OF ROYAL PATENT NUMBER    , LAND COMMISSION AWARD
       NUMBER 10755 TO S. PALAU AND ROYAL PATENT NUMBER 5518, LAND COMMISSION
       AWARD NOMBER 8362 TO KELIIAA:-

       Road (shaded) as shown on Hawaii Territory Survey (HTS Plat 110)
       prepared by Walter E. Wall dated December, 1914.



 5.    The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
                     PURPOSES

       DATED         August 24, 2005
       RECORDED      Document No. 2005-177585

       PARTIAL CANCELLATION AS TO RESERVED EASENJENT RIGHTS (Existing
       Roadways Affecting TMK (3) 9-6-005-010) datedAugust 9, 2006, recorded
       as Document No. 2006-152059.



 6.    GRANT

       TO         . EDMUND C. OLSON, Trustee of the Edmund C. Olson Trust
                     II dated August 21, 1985
       DATED      . August 31, 2005
       RECORDED   . Document No. 2005-225063
       GRANTING      a 40-foot wide perpetual non-exclusive easement over,
                     across and under the Road Easements for road and utility
                     purposes as shown Exhibits B, B-1 and B-2 attached
                     thereto

      Said above Grant was amended by instrument dated December 9, 2005,
      recorded as Document No. 2005-260400.




201524882M             ~O Title Guaranty of Hawaii, Inc.                           Page 4
                       235 QUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 106 of 196
                             PageID.116



                                  EXHIBIT CONTINUED



 7.    GRANT

       TO         . THE NATURE CONSERVANCY, a District of Columbia
                     nonprofit corporation

       DATED      . September 30, 2005
       RECORDED   . Document No. 2005-225064
       GRANTING . a 40-foot wide perpetual non-exclusive easements over,
                     across and under the road Easements for road and
                     utilities purposes as shown on Exhibits B, B-1 and B-2
                     attached thereto



 S. GRANT

       TO         . MONIKA MALLICEC, a married woman

       DATED      . September 7, 2005
       RECORDED      Document No. 2005-225065
       GRANTING      a 40-foot wide perpetual non-exclusive appurtenant
                     easements over, across and under the Road Easements for
                     road and utilities purposes as shown on Exhibits B, B-1
                     and B-2 attached thereto



 9.    GRANT

       TO         . TRUSTEES OF THE ESTATE OF BERNICE PAUAHI BISHOP

       DATED        November 8, 2005
       FILED        Land Court Document No. 3420914
       RECORDED     Document No. 2006-078665
       GRANTING . a perpetual, nonexclusive easement over and across,
                    under and through Easement 13b for access and utility
                    corridors up to approxi.mately forty (40) feet in width,
                    more particularly described therein




201524882M             © Title Guaranty of Hawaii, Inc. '                           Page 5
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
         Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 107 of 196
1   1                         , s^4,
                                     PageID.117                                           y++-




                                              EXHIBIT CONTINUED



         10. The terms and provisions contained in the following:

               INSTRUMENT : DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
                             PURPOSES

               DATED       . August 9, 2006
               FILED       . Land Court Document No. 3469266
               RECORDED    . Document No. 2006-152056



         11. Any claim or boundary dispute which may exist or arise by reason of
             the failure of the Declarations of Easements for Roadway and Utility
             Purposes and Grants of Easement referred to in Schedule C to locate
             with certainty the boundaries of the Roadway and Utility Easements
             described in said instruments.



         12. The following unrecorded license and matters arising from or affecting
             the same:

               License No. M03050 dated May 1, 2003, between MAUNA KEA AGRIBUSINESS
               CO. , by its agent Ka'u Agribusiness Co. , Inc. , as "Owner", and GILBERT
               ANDRADE and DENNIS ANDRADE, as "Licensee".



         13. Claims arising out of customary and traditional rights and practices,
             including without limitation those exercised for subsistence,
             cultural, religious, access or gathering purposes, as provided for
             in the Hawaii Constitution or the Hawaii Revised Statutes.



         14. Terms and provisions as contained in letter entitled "Re:
             Archaeological Assessment for Three Na'alehu Project Areas, Island
             of Hawaii ", dated June 2, 2006, by Paul L. Cleghorn , Ph . D., Principal ,
             Senior Archaeologist, Pacific Legacy, Incorporated, including the
             failure to comply with any recommendations made in said above letter,
             or made pursuant to any federal, state or county laws and regulations
             regarding any sites and discoveries.



        15. Any. unrecorded leases and matters arising from or affecting the same .




        201524882M                 © Title Guaranty of Hawaii, Inc.                              Page 6
                                   235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533E261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 108 of 196
                             PageID.118
                                                                               f~—'.



                                   EXHIBIT CONTINUED



 16. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.



 17. Nonexclusive easements for pedestrian and vehicular access and
     utility purposes in favor of land identified as Tax Map Keys
       9-6-003-002 & 022; 9-6-005-012, 013, 015 & 056; 9-6-006-005, 006, 007
       & 008, as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a,
       A-1, B-B) dated November 4, 2015, recorded as Document No. A-58340237 .




201524882M             © Title Guaranty of Hawaii, Inc.                                    Page 7
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261      '
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 109 of 196
                            PageID.119




                                     EXHIBIT "11"

                               LEGAL DESCRIPTION



 A11 of that certain parcel of land (being all of the land(s) described in
 and covered by Royal Patent Number 7670, Land Commission Award Number 8034
 to Ahia) situate, lying and being at Makaka, District of Kau, Island and
 County of Hawaii, State of Hawaii, bearing Tax Key designation (3)
 9-6-005-012, and containing an area of 7.340 acres, more or less.



 Together with DECLARATION OF EASEb1SNTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNIIC (3) 9-6-005-010) , dated August 24, 2005,
 recorded as Document No. 2005-177585, as amended by PARTIAL CANCELLATION
 AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, recorded as Document
 No. 2006-152059; and subject to the terms and provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMK (3) 9-6-005-056) , dated August 24, 2005,
recorded as Document No. 2005-177586, as amended by PARTIAL CANCELLATION
AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, recorded as Document
No. 2006-152060; and subject to the terms contained therein.


Together with DECLARATION OF EASENISNTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TNIIC (3) 9-6-003-022) , dated August 24, 2005,
filed as Land Court Document No. 3322324, recorded as Document No.
2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
recorded as Document No. 2006-152062; and subject to the terms and
provisions contained therein.




201524882N             © Title Guaranty of Hawaii, Inc.                            Page ]
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 110 of 196
                     ; --.   PageID.120           ~..,.



                                  EXHIBIT CONTINUED



 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
  (Existing roadways affecting TMIIt (3) 9-6-003-002) , dated August 24, 2005,
 filed as Land Court Document No. 3322325, recorded as Document No.
 2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
 recorded as Document No. 2006-152063; and subject to the terms and
 provisions contained therein.


 Together with DECLARATION OF EASEb1ENTS FOR ROADWAY AND UTILITY PURPOSES
  (Existing roadways affecting Tt4K (3) 9-6-006-008) , dated August 24, 2005,
 filed as Land Court Document No. 3322326, recorded as Document No.
 2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469271,
 recorded as Document No. 2006-152064; and subject to the terms and
 provisions contained therein.


 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
  (Existing roadways affecting TMIIt (3) 9-6-006-005) , dated August 24, 2005,
 filed as Land Court Document No. 3322327, recorded as Document No.
 2005-177591, as amended by AMENDMENT OF DECLARATION OF EASENENT FOR ROADWAY
 AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court Document
 No. 3469268, recorded as Document No. 2006-152058, as amended by PARTIAL
 CANCELLATION AS TO RESERVED EASEb1ENT RIGHTS dated August 9, 2006, filed
 as Land Court Document No. 3469272, recorded as Document No. 2006-1152065;
 and subject to the terms and provisions contained therein.


Together with a 40-foot wide perpetual nonexclusive easements, over, across
and under the Road Easements for roadway and utility purposes, as shown
on Exhibits B and B-1 attached thereto as set forth in that certain
instrument entitled GRANT OF EASENIENT by instrument dated August 31, 2005,
recorded as Document No. 2005-225062, filed as Land Court Document No.
3469265; and subject to the terms and provisions contained therein.,




201524882N             © Title Guaranty of Hawaii, Inc.                            Page 2
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (SOB) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 111 of 196
                     ; ~`.
                             PageID.121           .~^'~^~•




                                  EXHIBIT CONTINUED



 Together with a perpetual, non exclusive easement ("Easement 8a") over,
 across, under and through TMK (3) 9-6-005-025 in use as roadway and utility
 corridors up to approximately forty (40) feet in width, as set forth in
 GRANT OF EASEMENT effective dated November 8, 2005, filed as Land Court
 Document No. 3420914, recorded as Document No. 2006-078665 and more
 particularly described therein; and subject to the terms and provisions
 contained therein.


 Together with a non-exclusive easement over, across, under and through TMK
 (3) 9-6-005-017 for use as a roadway and utility corridor up to
 approximately 40 feet in width, as set forth in GRANT OF EASEMENT
 (Ra'u)(EASEI4ENT B-B) dated August 9, 2006, filed as Land Court Document
 No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
 and provisions, contained therein.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limi.ted liability company

       DATED      . December 22, 2015
       FILED      . Land Court Document No. T-9486031
       RECORDED   . Document No. A-58340236



Together with nonexclusive easements for pedestrian and vehicular access
and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
as granted in DECLARATION OF EASEMENT (Ra'u Easements 13D, 8a, A-1, B-B)
dated November 4, 2015, recorded as Document No. A-58340237.




201524882N            © Title Guaranty of Hawaii, Inc.                             Page 3
                       235 QUEEN ST., HONOLULU, HAWAII 96613, PH: (808) 533-6261
     Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 112 of 196
~                        ;•^.~   PageID.122           ...4




                                      EXHIBIT CONTINUED



                                       SCHEDULE B FOR
                                        EXHIBIT "11"


     This policy does not insure against loss or damage, and the Company will
     not pay costs, attorneys' fees, or expenses that arise by reason of:



     1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
           June 30, 2016.

           Payable on or before February 20, 2016.

           Tax Rey: (3) 9-6-005-012                 Area Assessed: 7.340 acres



     2.    Mineral and water rights of any nature.



     3.    The terms and provisions contained in the following:

           INSTRUMENT : DECLARATION OF EASEbSENTS FOR ROADWAY AND UTILITY
                         PURPOSES

           DATED         August 24, 2005
           RECORDED      Document No. 2005-177587

           PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS (Existing
           Roadways Affecting TMK (3) 9-6-005-012) datedAugust 9, 2006, recorded
           as Document No. 2006-152061.



    4.     Any claim or boundary dispute which may exist or arise by reason of
           the failure of the Declarations of Easements for Roadway and Utility
           Purposes and Grants of Easement referred to in Schedule C to locate
           with certainty the boundaries of the Roadway and Utility Easements
           described in said instruments.




    201524882N             © Title Guaranty of Hawaii, Inc.                            Page 4
                           235 OUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 113 of 196
                     if"'r
                           V
                             PageID.123                                        n^
                                                                                 +90
                     (                                                              .




                                   EXHIBIT CONTINUED



 5.    The following uarecorded license and matters arising from or affecting
       the same:

       License No. M03050 dated May 1, 2003, between MAUNA KEA AGRIBUSINESS
       CO., IND., by its agent Ka'u Agribusiness Co., Inc., as "Owner", and
       GILBERT ANDRADE and DENNIS ANDRADE, as "Licensee".



 6.    Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsi.stence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



 7.    The terms and provisions contained in letter entitled "Re:
       Archaeological Assessment for Three Na'alehu Project Areas, Island
       of Hawaii", dated June 2, 2006, by Paul L. Cleghorn, Ph . D., Principal ,
       Senior Archaeologist, Pacific Legacy, Incorporated, including the
       failure to comply with any recommendations made in said above letter,
       or made pursuant to any federal, state or county laws and regulations
       regarding any sites and discoveries.



 8.    Any unrecorded leases and matters arising from or affecting the same.



 9.    Discrepancies, conflicts in boundary lines, shortage in area,
       encroachments or any other matters which a correct survey or
       archaeological study would disclose.



10. The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1,
                     B-B)

       DATED          November 4, 2015
       RECORDED       Document No. A-58340237




201524882N               © Title Guaranty of Hawaii, Inc.                               Page 5
                         235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533£261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 114 of 196
                             PageID.124




                                      EXHIBIT 11 12"

                                LEGAL DESCRIPTION



 A11 of that certain parcel of land (being all of the land(s) described in
 and covered by Royal Patent Number 6929, Land Commission Award Number 8804
 to Puakekau) situate, lying and being at Makaka, District of Kau, Island
 and County of Hawaii, State of Hawaii, bearing Tax Key designation (3)
 9-6-005-013, and containing an area of 3.130 acres, more or less.



 Together with DECLARATION OF EASENMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TMK (3) 9-6-005-010), dated August 24, 2005,
 recorded as Document No. 2005-177585, as amended by PARTIAL CANCELLATION
 AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, recorded as Document
 No. 2006-152059; and subject to the terms and provisions contained therein.


 Together with DECLARATION OF EASENLSNTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TMK (3) 9-6-005-056), dated August 24, 2005,
 recorded as Document No. 2005-177586, as amended by PARTIAL CANCELLATION
 AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, recorded as Document
 No. 2006-152060; and subject to the terms contained therein.


 Together with DECLARATION OF EASEbtENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TMK (3) 9-6-005-012), dated August 24, 2005,
 recorded as Document No. 2005-177587, as amended by PARTIAL CANCELLATION
 AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, recorded as Document
 No. 2006-152061; and subject to the terms contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMK (3) 9-6-003-022), dated August 24, 2005,_
filed as Land Court Document No. 3322324, recorded as Document No.
2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
recorded as Document No. 2006-152062; and subject to the terms and
provisions contained therein.




2015248820            © Title Guaranty of Hawaii, Inc.                            Page 1
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533E261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 115 of 196
                             PageID.125



                                  EXHIBIT CONTINUED



 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNffC (3) 9-6-003-002) , dated August 24, 2005,
 filed as Land Court Document No. 3322325, recorded as Document No.
 2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEIMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
 recorded as Document No. 2006-152063; and subject to the terms and
 provisions contained therein.


 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PIIRPOSES
 (Existing roadways affecting TMR (3) 9-6-006-008), dated August 24, 2005,
 filed as Land Court Document No. 3322326, recorded as Document No.
 2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469271,
 recorded as Document No. 2006-152064; and subject to the terms and
 provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMC (3) 9-6-006-005) , dated August 24, 2005,
filed as Land Court Document No. 3322327, recorded as Document No.
2005-177591, as amended by AMENDMENT OF DECLARATION OF EASEbENT FOR ROADWAY
AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court Document
No. 3469268, recorded as Document No. 2006-152058, as amended by PARTIAL
CANCELLATION AS TO RESERVED EA3EMENT RIGHTS dated August 9, 2006, filed
as Land Court Document No. 3469272, recorded as Document No. 2006-152065;
and subject to the terms and provisions contained therein.


Together with a 40-foot wide perpetual nonexclusive easements, over, across
and under the Road Easements for roadway'and utility purposes, as shown
on Exhibits B and B-1 attached thereto as set forth in that certain
instrument entitled GRANT OF EASEMENT by instrument dated August 31, 2005,
recorded as Document No. 2005-225062; and subject to the terms and
provisions contained therein.




2015248820            © Title Guaranty of Hawaii, Inc.                             Page 2
                       236 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 116 of 196
                            PageID.126



                                  EXHIBIT CONTINUED



 Together with a perpetual, non exclusive easement ("Easement 8a") over,
 across, under and through TMK (3) 9-6-005-025 in use as roadway and utility
 corridors up to approximately forty (40) feet in width, as set forth in
 GRANT OF EASEMENT dated effective-November 8, 2005, filed as Land Court
 Document No. 3420914, recorded as Document No. 2006-078665 and more
 particularly described therein; and subject to the terms and provisions
 contained therein.


 Together with a non-exclusive easement over, across, under and through TMK
 (3) 9-6-005-017 for use as a roadway and utility corridor up to
 approximately 40 feet in width, as set forth in GRANT OF EASEMENT
 (Ka'u)(EASENENT B-B) dated August 9, 2006, filed as Land Court Document
 No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
 and provisions contained therein.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company
       DATED        December 22, 2015
       FILED        Land Court Document No. T-9486031
       RECORDED     Document No. A-58340236



Together with nonexclusive easements for pedestrian and vehicular access
and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
dated November 4, 2015, recorded as Document No. A-58340237.




2015248820            © Title Guaranty of Hawaii, Inc.                            Page 3
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533f261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 117 of 196
                             PageID.127



                                   EXHIBIT CONTINUED



                                    SCHEDULE B FOR
                                     EXHIBIT 11 12"


 This policy does not insure against loss or damage, and the Company will
 not-pay costs, attorneys' fees, or expenses that arise by reason of:



 1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-005-013                  Area Assessed: 3.130 acres



2. Mineral and water rights of any nature.



3.     Any claim or boundary dispute which may exist or arise by reason of
       the failure of the Declarations of Easements for Roadway and Utility
       Easements Purposes and Grants of Easement referred to in Schedule C
       to locate with certainty the boundaries of the Roadway and Utility
       Easements described in said instruments.



4.     The following unrecorded license and.matters arising from or affecting
       the same:

      License No. M03050 dated May 1, 2003, between MAUNA KEA AGRIBUSINESS
      CO., INC. by its agent Ka'u Agribusiness Co., Inc., as "Owner" and
      GILBERT ANDRADE and DENNIS ANDRADE, as "Licensee".



5.    Claims arising out of customary and traditional rights and practices,
      including without limitation those exercised for subsistence,
      cultural, religious, access or gathering purposes, as provided for
      in the Hawaii Constitution or the Hawaii Revised Statutes.




2015248820             © Title Guaranty of Hawaii, Inc.                             Page 4
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 118 of 196
                             PageID.128



                                   EXHIBIT CONTINUED



 6.    Terms and provisions, as contained in letter entitled "Re:
       Archaeological Assessment for Three Na'alehu Project Areas, Island
       of Hawaii" , dated June 2, 2006, by Paul L. Cleghorn, Ph . D., Principal ,
       Senior Archaeologist, Pacific Legacy, Incorporated, including the
       failure to comply with any recommendations made in said above letter,
       or made pursuant to any federal, state or county laws and regulations
       regarding any sites and discoveries.



 7.    Any unrecorded leases and matters arisi.ng from or affecting the same .



 B. Discrepancies, conflicts in boundary lines, shortage in area,
      encroachments or any other matters which a correct survey or
      archaeological study would disclose.



 9. The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEMENT (Ka'u Easements 13D, Ba, A-1,
                     B-B)

       DATED     . November 4, 2015
       RECORDED . Document No. A-58340237




2015248820              © Title Guaranty of Hawaii, Inc.                              Page 5
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261 '
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 119 of 196
                             PageID.129




                                     EXHIBIT 11 13"

                                LEGAL DESCRIPTION



 -ITEM I:-

 A11 of that certain parcel of land (being all of the land(s) described in
 and covered by Royal Patent Grant Number 1570 to Louis Maigret) situate,
 lying and being at Makaka, District of Kau, Island and County of Hawaii,
 State of Hawaii, bearing Tax Key designation (3) 9-6-005-015, and
 containing an area of 215.800 acres, more or less.



-ITEM II:-

Together with a non-exclusive easement over Easement B-B, located on TMK
(3) 9-6-005-017 for roadway and utility purposes, as set forth in GRANT
OF EASEMENT (KA' U) (EASEMENT B-B) , dated April 4, 2007, recorded as Document
No. 2007-153338, being made by and between C. BREWER AND COMPANY, LIMITED,
a dissolved Hawaii corporation, ("Brewer") and WWK HAWAII-CHURCH LLC, a
Delaware limited liability company, ("Grantee").



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED        December 22, 2015
       FILED        Land Court Document No. T-9486031
       RECORDED     Document No. A-58340236




201524882P            © Title Guaranty of Hawaii, Inc.                             Page 1
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 120 of 196
                             PageID.130



                                  EXHIBIT CONTINUED



 Together with nonexclusive easements for pedestrian and vehicular access
 and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
 as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, Ba, A-1, B-B)
 dated Nov,ember 4, 2015, recorded as Document No. A-58340237.


 Together with nonexclusive easements for pedestrian and vehicular access
 and utility purposes through tax map key parcels (3) 9-6-003-022 , as granted
 in DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES dated November
 _, 2015 (acknowledged November 10, 2015) recorded as Document No:
 A-58340238.



                                   SCHEDULE B FOR
                                    EXHIBIT 11 13"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-005-015                 Area Assessed: 215.800 acres



2.     Mineral and water rights of any nature.



3.     Roadway and Flume as referenced on Tax Map.




201524882P             © Title Guaranty of Hawaii, Inc.                            Page 2
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
     Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 121 of 196
'                        ~..
                                 PageID.131           ~.




                                      EXHIBIT CONTINUED



     4.    -AS TO ITEM II:-

           The terms and provisions contained in GRANT OF EASEMENT
           (KA'U)(EASEMENT B-B), dated April 4, 2007, recorded as Document No.
           2007-153338, being made by and between C. BREWER AND COMPANY, LIMITED,
           a dissolved Hawaii corporation, ("Brewer") and WWK HAWAII-CHURCH LLC,
           a Delaware limited liability company, ("Grantee").



     S.    Claims arising out of customary and traditional rights and practices,
           including without limitation those exercised for subsistence,
           cultural, religious, access or gathering purposes, as provided for
           in the Hawaii Constitution or the Hawaii Revised Statutes.



     6.    Any rights or other matters with a full archaeological study would
           disclose.



     7.    Any unrecorded leases and matters arising from or affecting the same.



    8.     Discrepancies, conflicts in boundary lines, shortage in area,
           encroachments or any other rights or matters which a correct survey
           or archaeological study would disclose.



    9.     The terms and provisions contained in the following:

           INSTRUMENT : DECLARATION OF EASEbH';NT (Ka'u Easements 13D, 8a, A-1,
                         B-B)
           DATED      . November 4, 2015
           RECORDED   . Document No. A-58340237



    10. The terms and provisions contained in the following:




    201524882P             © Title Guaranty of Hawaii, Inc.                            Page 3
                           235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 122 of 196
                            PageID.132
                    ,




                                  EXHIBIT CONTINUED



       INSTRUMENT : DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY
                     PURPOSES

       DATED      . November _, 2015 (acknowledged November 10, 2015)
       RECORDED   . Document No. A-58340238




201524882P              © Title Guaranty of Hawaii, Inc.                            Page 4
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 123 of 196
                             PageID.133
                                                                             i'~~'




                                     EXHIBIT 11 14"

                               LEGAL DESCRIPTION



 -ITEM I:-

 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Grant Number 2460 to Alohikea and
 all of Royal Patent Number 7127, Land Commission Award Number 8360-B to
 Kanikaa) situate, lying and being at Makaka, District of Rau, Island and
 County of Hawaii, State of Hawaii, bearing Tax ECey designation (3)
 9-6-005-056, and containing an area of 95.959 acres, more or less.



 Together with DECLARATION OF EASEtMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TMK (3) 9-6-003-022) , dated August 24, 2005,
 filed as Land Court Document No. 3322324, recorded as Document No.
 2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August '9, 2006, filed as Land Court Document No. 3469269,
 recorded as Document No. 2006-152062; and subject to the terms and
 provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMK (3) 9-6-003-002), dated August 24, 2005,
filed as Land Court Document No. 3322325, recorded as Document No.
2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
recorded as Document No. 2006-152063; and subject to the terms and
provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMK (3) 9-6-006-008), dated August 24, 2005,
filed as Land Court Document No. 3322326, recorded as Document No.
2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469271,
recorded as Document No. 2006-152064; and subject to the terms and
provisions contained therein.




201524882Q            © Title Guaranty of Hawaii, Inc.                               Page 1
                      235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 124 of 196
                             PageID.134



                                 EXHIBIT CONTINUED



Together with DECLARATION OF EASEt4ENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TNIIt (3) 9-6-006-005) , dated August 24, 2005,
filed as Land Court Document No. 3322327, recorded as Document No.
2005-177591, as amended by AMENDMENT OF DECLARATION OF EASEMENT FOR ROADWAY
AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court Document
No. 3469268, recorded as Document No. 2006-152058, as amended by PARTIAL
CANCELLATION AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006, filed
as Land Court Document No. 3469272, recorded as Document No. 2006-1152065;
and subject to the terms and provisions contained therein.


Together with a 40-foot wide nonexclusive easements, over, across and under
the Road Easements for roadway and utility purposes, as shown on Exhibits
B and B-1 attached thereto as set forth in that certain instrument entitled
GRANT OF EASEMENT by instrument dated August 31, 2005, recorded as Document
No. 2005-225062; and subject to the terms and provisions contained therein.


Together with a nonexclusive easement ("Easement 8a") over, across, under
and through T1rIIC.(3) 9-6-005-025 in use as roadway and utility corridors
up to approximately forty (40) feet in width, as set forth in GRANT OF
EASEMENT effective dated November 8, 2005, filed as Land Court Document
No. 3420914, recorded as Document No. 2006-078665 and more particularly
described therein; and subject to the terms and provisions contained
therein.



-ITEM II:-

Together with a nonexclusive easement for roadway, access and utility
purposes over and across Easement 13-D, as set forth in DECLARATION OF
EASEMENTS FOR ROADWAY AND UTILITY PURPOSES (Existing Roadways Affecting
TNgC (3) 9-6-005-010), dated August 9, 2006, filed as Land Court Document
No. 3469266, recorded as Document No. 2006-152056 and more particularly
described therein; and subject to the terms and provisions contained
therein.




201524882Q           © Title Guaranty of Hawaii, Inc.                             Page 2
                      235 QUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 125 of 196
                            PageID.135



                                  EXHIBIT CONTINUED



 Together with a non-exclusive easement over, across, under and through TMK
 (3) 9-6-005-017 for use as a roadway and utility corridor up to
 approximately 40 feet in width, as set forth in GRANT OF EASEMENT
 (Ka'u)(EASEMENT B-B) dated August 9, 2006, filed as Land Court Document
 No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
 and provisions contained therein.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED      . December 22, 2015
       FILED         Land Court Document No. T-9486031
       RECORDED      Document No. A-58340236



Together with nonexclusive easements for pedestrian and vehicular access
and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
dated November 4, 2015, recorded as Document No. A-58340237.



                                   SCHEDULE B FOR
                                    EXHIBIT 11 14"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:




                                  k




201524882Q            © Title Guaranty of Hawaii, Inc.                             Page 3
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 126 of 196
                            PageID.136



                                    EXHIBIT CONTINUED



 1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Rey: (3) 9-6-005-056                    Area Assessed: 95.959 acres


       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.



3.     Easement A-1 for road and utility purposes (area: 2.28 acres) as shown
       on survey map prepared by Robert R. Y. Lee, Land Surveyor, with R.
       M. Towill Corporation, dated September 15, 1994, last revised November
       7, 1997, and approved by the Planning Department, County of.Hawaii,
       Subdivision No. 6537-Revised, on December 1, 1997.



4.     The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEt4ENTS FOR ROADWAY AND UTILITY
                     PURPOSES

       DATED         August 24, 2005
       RECORDED      Document No. 2005-177586

      PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS (Existing
      Roadways Affecting TMK (3) 9-6-005-056) dated August 9, 2006, recorded
      as Document No. 2006-152060.



S. Any claim or boundary dispute which may exist or arise by reason of
     the failure of the Declarations of Easements for Roadway and Utility
     Purposes and Grants of Easement referred to in Schedule C to locate
     with certainty the boundaries of the Roadway and Utility Easements
     described in said instruments.




201524882Q                © Title Guaranty of Hawaii, Inc.                           Page 4
                      ;   235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533E261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 127 of 196
                             PageID.137



                                  EXHIBIT CONTINUED



 6.    The following unrecorded licenses and leases, and matters arising from
       or affecting the same:

       (A) License between Ka'u Agribusiness Co. Inc and Marceliano Camba,
           (P98128) as assigned to Sixto Asuncion;

       (B) License between Ka'u Agribusiness Co. Inc and Leonard Avenue;
           and Rosita Avenue as co-licensee as of December 14, 2000;

       (C) License between Ka'u Agribusiness Co. Inc and Gloria Camba; and
           Rogelio B. Aquino as co-licensee as of August 6, 1998;

       (D) License between Ka'u Agribusiness Co. Inc and Alexandrer
           Calumpit as assigned to Gloria Camba in Assignment effective July
           1, 2005;

       (E) License between Ka'u Agribusiness Co. Inc and Antonio Maltezo
           (P98122), assigned to Marcos Domingo in Assignment effective
           July 1, 2002;

       (F) License between Ka'u Agribusiness Co. Inc and Melchor Fernandez;
           and Fely Fernandez, Allan Fernandez and J. Fernandez as
           co-licensees as of August 4, 1998;

       (G) License between Ka'u Agribusiness Co., Inc. and.Vince Hashimoto.
           Lorraine Navarro (mother) was added as co-licensee on August 9,
           1998. Assigned to Lorraine Navarro on February 7, 2003;

       (H) License P97051 between Ka'u Agribusiness Co., Inc. and Leo
           Noberte;

       (I) License between Ka'u Agribusiness Co., Inc. and Wallace Young;
           Bertha Young (wife) was added as co-licensee on August 4, 1998 ;

       (J) License between Ka'u Agribusiness Co., Inc. and Wallace Young;
           Bertha Young - Co-licensee; and
       (K) License between Ka'u Agribusiness Co., Inc. and Wally Young and
           Bradley Young.




201524882Q             O Title Guaranty of Hawaii, Inc.                            Page 5
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 128 of 196
                            PageID.138



                                    EXHIBIT CONTINUED



7.     Terms and provisions contained in letter entitled "Re: Archaeological
       Assessment for Three Na'alehu Project Areas, Island of Hawaii", dated
       June 2, 2006, by Paul L. Cleghorn, Ph.D., Principal, Senior
       Archaeologist, Pacific Legacy, Incorporated, including the fai.lure
       to comply with any recommendations made in said above letter, or made
       pursuant to any federal, state or county laws and regulations
       regarding any sites and discoveries.



8.     -AS TO ITEM II:-

       The terms and provisions contained in DECLARATION OF EASEMENTS FOR
       ROADWAY AND UTILITY PURPOSES (Existing roadways.affecting TMK (3)
       9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
       Court Document No. 3469266, recorded as Document No. 2006-152056.



9.     Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



10. 'Any unrecorded leases and matters arising from or affecting the same.



11. Discrepancies, conflicts in boundary lines, shortage in area,
    encroachments or any other matters which a correct survey or
    archaeological study would disclose.



12. The terms and provisions contained in the following:

       INSTRiJNENT : DECLARATION OF EASEMNT (Ka'u Easements 13D, 8a, A-1,
                     B-B)

      DATED       . November 4, 2015
      RECORDED    . Document No. A-58340237




201524882Q             © Title Guaranty of Hawaii, Inc.                               Page 6
                          235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 129 of 196
                            PageID.139




                                     EXHIBIT 11 15"

                               LEGAL DESCRIPTION



-ITEM I:-

All of that certain parcel of land (being all of the land(s) described in
and covered by Royal Patent Grant Number 2894 to Uha and portion of Royal
Patent Grant Number 2460 to Alohikea) situate, lying and being at Makaka,
District of Kau, Island and County of Hawaii, State of Hawaii, bearing Tax
Key designation (3) 9-6-006-005, and containing an area of 249.520 acres;
more or less.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNIIC (3) 9-6-003-022) , dated August 24, 2005,
filed as Land Court Document No. 3322324, recorded as Document No.
2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
recorded as Document No. 2006-152062; and subject to the terms and
provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TbIIt (3) 9-6-003-002) , dated August 24, 2005,
filed as Land Court Document No. 3322325, recorded as Document No.
2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
recorded as Document No. 2006-152063; and subject to the terms and
provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TtrIIC (3) 9-6-006-008) , dated August 24, 2005,
filed as Land Court Document No. 3322326, recorded as Document No.
2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, fi.led as Land Court Document No. 3469271,
recorded as Document No. 2006-152064; and subject to the terms and
provisions contained therein.




201524882R            © Title Guaranty of Hawaii, Inc.                             Page l
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 130 of 196
                            PageID.140



                                 EXHIBIT CONTINUED



Together with a 40-foot wide nonexclusive easements, over, across and under
the Road Easements for roadway and utility purposes, as shown on Exhibits
B and B-1 attached thereto as set forth in that certain instrument entitled
GRANT OF EASEMENT by instrument dated August 31, 2005, recorded as Document
No. 2005-225062; and subject to the terms and provisions contained therein.


Together with a non exclusive easement ("Easement 8a") over, across, under
and through TMK (3) 9-6-005-025 in use as roadway and utility corridors
up to approximately forty (40) feet in width, as set forth in GRANT OF
EASEMENT effective dated November 8, 2005, filed as Land Court Document
No. 3420914, recorded as Document No. 2006-078665 and more particularly
described therein; and subject to the terms and provisions contained
therein.


Together with a nonexclusive easement over, across, under and through TNIIC
(3) 9-6-005-056, being as shown on map attached thereto, as set forth in
DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES (Existing
roadways affecting TMK (3) 9-6-005-056), dated August 9, 2006, filed as
Land Court Document No. 3469267, recorded as Document No. 2006-152057; and
subject to the terms and provisions contained therein.



-ITEM II:-

Together with a nonexclusive easement for roadway, access and utility
purposes over and across Easement 13-D, as set forth in DECLARATION OF
EASEMENTS FOR ROADWAY AND UTILITY PURBOSES (Existing Roadways Affecting
TMK (3) 9-6-005-010), dated August 9, 2006, filed as Land Court Document
No. 3469266, recorded as Document No. 2006-152056 and more particularly
described therein; and subject to the terms and provisions contained
therein.


Together with a non-exclusive easement over, across, under and through T1rII{
(3) 9-6-005-017 for use as a roadway and utility corridor up to
approximately 40 feet in width, as set forth in GRANT OF EASEMENT
(Ka'u)(EASEMENT B-B) dated August 9, 2006, filed as Land Court Document
No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
and provisions contained therein.




201524882R            CO Title Guaranty of Hawaii, Inc.                             Page 2
                       235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533f 261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 131 of 196
                            PageID.141
                    }'r's                        ~~.




                                       EXHIBIT CONTINUED



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED         December 22, 2015
       FILED-     . Land Court Document No. T-9486031
       RECORDED   . Document No. A-58340236



 Together with nonexclusive easements for pedestrian and vehicular access
 and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
 as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
 dated November 4, 2015, recorded as Document No. A-58340237.



                                        SCHEDULE B FOR
                                         EXHIBIT "15"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July l, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-006-005                      Area Assessed: 249.520 acres


       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.




201524882R             © Title Guaranty of Hawaii, Inc.                                 Page3
                            235 QUEEN ST., HONOLULU. HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 132 of 196
                            PageID.142



                                   EXHIBIT CONTINUED



 3.    The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
                     PURPOSES

       DATED      . August 24, 2005
       FILED         Land Court Document No. 3322327
       RECORDED      Document No. 2005-177591

       Said above Declaration was amended by instrument dated August 9, 2006,
       filed as Land Court Document No. 3469268, recorded as Document No.
       2006-152058. PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS
       (Existing Roadways Affecting TNEt (3) 9-6-006-005), dated August 9,
       2006, filed as Land Court Document No. 3469272, recorded as Document
       No. 2006-152065.



 4.    GRANT

       TO         . TRUSTEES OF THE ESTATE OF BERNICE PAUAHI BISHOP

       DATED        November 8, 2005
       RECORDED  . Document No. 2006-078665
       GRANTING . a nonexclusive easement over and across, under and
                    through Easement 12b for access and utility corridors
                    up to approximately forty (40) feet in width, more
                    particularly described therein



 S. Any claim or boundary dispute which may exist or arise by reason of
      the failure of the Declarations of Easements for Roadway and Utility
      purposes and Grants of Easement referred to in Schedule C to locate
      with certainty the boundaries of the Roadway and Utility Easements
      described in said instruments.




201524882R             © Title Guaranty of Hawaii, Inc.                             Page 4
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (B08) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 133 of 196
                            PageID.143
                                                                                ~



                                    EXHIBIT CONTINUED



 6.    The following unrecorded licenses and leases, and matters arising from
       or affecting the same:

       (A) License No. P99146 dated May 1, 1999, between Mauna Kea
           Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner" and Efren Abellera, as "Licensee".

       (B) License No. P99145, betmeen Mauna Kea Agri.business Co., Inc.,
           as agent for Ka' u Agribusiness Co ., Inc ., as "Owner" and Amelia
           Pinzon and Ronald Aquino, as "Licensee", which License was
           amended to note the name change of Amelia Pinzon to Amelia Pinzon
           Biason, remove Ronald Aquino as Co-Licensee, and add Marion C.
           Biason as a Co-Licensee in his place, by unrecorded Amendment
           to License dated May 28, 2003.

       (C) License No. P99147 dated May 1, 1999, between Mauna Kea
           Agribusiness Co., Inc.,by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner", and Don Dacalio, as "Licensee", which License was
           amended to add Wayne Dacalio and Verna Dacal3.o as CO-Licensees,
           by unrecorded instrument dated July 15, 1999.

       (D) License No. P98125 dated July 1, 1998, between Mauna Kea
           Agribusiness Co., Inc.,by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner" and Verna Dacalio, as "Licensee", which License was
           amended to add Milton Dacalio as a Co-Licensee, by unrecorded
           instrument dated August 6, 1998.

       (E) License No. P98126 dated July 1, 1998, between Mauna Kea
           Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner", and Wayne Dacalio, as "Licensee" which License was
           amended to add Milton W. Dacalio and Verna Dacalio as
           Co-Licensees, by unrecorded instrument dated August 4, 1998, and
           further amended to add Don Dacalio as a Co-Licensee, by
           unrecorded instrument dated August 5, 1999.

       (F) License No. P99149 dated June 1, 1999, between Mauna Kea
           Agribusiness Co ., Inc ., by i.ts agent Ka' u Agribusiness Co ., Inc .,
           as "Owner" and Rey Gascon, as "Licensee".

       (G) License No. P99155 dated December 1, 2004, between C. Brewer
           Company, LTD, as agent for Ka'u Agribusiness Co., Inc., as
           "Owner" and Lrank Lorenzo, as "Licensee".




201524882R              © Title Guaranty of Hawaii, Inc.                             Page 5
                         235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 134 of 196
                            PageID.144



                                  EXHIBIT CONTINUED



       (H) License No. P99148 dated June 1, 1999, between Ma.una Kea
           Agribusiness Co., Inc., by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner", and William Tabious, as "Licensee".

       (I) License No. P203030 dated May 1, 2003. between Mauna Kea
           Agribusiness Co, Inc., by its agent Ka'u Agribusiness Co., Inc.,
           as "Owner", and Warren "Dit" Werner, as "Licensee".



7.     Terms and provisions contained in letter entitled "Re: Archaeological
       Assessment for Three Na'alehu Project Areas, Island of Hawaii", dated
       June 2, 2006, by Paul L. Cleghorn, Ph.D., Principal, Senior
       Archaeologist, Pacific Legacy, Incorporated, including the failure
       to comply with any recommendations made in said above letter, or made
       pursuant to any federal, state or county laws and regulations
       regarding any sites and discoveries.



 B.    -AS TO ITEM II:-

       The terms and provisions contained in DECLARATION OF EASEMENTS FOR
       ROADWAY AND UTILITY PURPOSES (Existing roadways affecting TNIIC (3)
       9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
       Court Document No. 3469266, recorded as Document No. 2006-152056.



9.     Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



10. Any unrecorded leases and matters arising from or affecting the same .




201524882R             © Title Guaranty of Hawaii, Inc.                            Page 6
                       235 QUEEN S7., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 135 of 196
                             PageID.145



                                  EXHIBIT CONTINUED



 11. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.



 12. The terms and provisions contained in the following:

       INSTRUt4ENT : DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1,
                     B-B)

       DATED     . November 4, 2015
       RECORDED . Document No. A-58340237




201524882R            © Title Guaranty of Hawaii, Inc.                             Page 7
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 136 of 196
                            PageID.146




                                    EXHIBIT 11 16"

                              LEGAL DESCRIPTION



 —ITEM I:—

All of that certain parcel of land situate at Makaka, District of Kau, Island
and County of Hawaii, State of Hawaii, being LOT 1, containing an area of
0.91 acre, more or less, as shown on Map 1 of Land Court Application No.
659 of Corporation of the President of the Church of Jesus Chri.st of
Latter-Day Saints, and described below by metes and bounds; an undivided
1/2 interest of which has been registered in the Land Court of the State
of Hawaii as a portion of said Application No. 659, the remaining undivided
1/2 interest thereof being still unregistered:


A11 of that certain parcel of land (being Royal Patent Number 7950, Land
Commission Award Number 10549, Apana 1 to Alohikea) situate at Makaka,
District of Kau, Island and County of Hawaii, State of Hawaii, and thus
bounded and described as follows:

Beginning at the west corner of this piece, the true azimuth and distance
to a concrete monument at the east corner of Grant 2698 to Alohikea, being
1200 55' 30" 1030 . 3 feet, and the coordinates of said point of beginning
referred to Government Survey Triangulation Station "ALILI" being 3420.6
feet south and 3611.7 feet east, and running by true azimuths:

1.     2230 18'          122.76              feet along Grant 2460 to Alohikea;

2.     3160 26'          294.36              feet along Grant 2460 to Alohikea to a
                                             2 inch pipe;

3.      45° 00'          148.50              feet along Grant 2460 to Alohikea;

4.     1410 31'          292.52              feet along Grant 2460 to Alohikea to
                                             point of beginning and containing an
                                             area of 0.91 acre, more or less.




201524882S            © Title Guaranty of Hawaii, Inc.                            Page 1
                      235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 137 of 196
                            PageID.147



                                  EXHIBIT CONTINUED



 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNIIt (3) 9-6-003-022) , dated August 24, 2005,
 filed as Land Court Document No. 3322324, recorded as Document No.
 2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEbENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
 recorded as Document No. 2006-152062; and subject to the terms and
 provisions contained therein.


Together with DECLARATION OF EASEIMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMK (3) 9-6-003-002), dated August 24, 2005,
filed as Land Court Document No. 3322325, recorded as Document No.
2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEIMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
recorded as Document No. 2006-152063; and subject to the terms and
provisions contained therein.


Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TMC (3) 9-6-006-008) , dated August 24, 2005,
filed as Land Court Document No. 3322326, recorded as Document No.
2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469271,
recorded as Document No. 2006-152064; and subject to the terms and
provisions contained therein.


Together also with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
PURPOSES (Existing roadways affecting TNIIt (3) 9-6-006-005), dated August
24, 2005, filed as Land Court Document No. 3322327, recorded as Document
No. 2005-177591, as amended by AMENDMENT OF DECLARATION OF EASEMENTS FOR
ROADWAY AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court
Document No. 3469268, recorded as Document No. 2006-152058, and as amended
by PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006,
filed as Land Court Document No. 3469272, recorded as Document No.
2006-152065; and subject to the terms and provisions contained therein.




201524882s            © Title Guaranty of Hawaii, Inc.                             Page 2
                       235 QUEEN ST., HONOLULU. HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 138 of 196
                            PageID.148



                                  EXHIBIT CONTINUED



 Together with a 40-foot wide nonexclusive easements, over, across and under
 the Road Easements for roadway and utility purposes, as shown on Exhibits
 B and B-1 attached thereto as set forth in that certain instrument entitled
 GRANT OF EASEI4ENT by instrument dated August 31, 2005, recorded as Document
 No. 2005-225062, filed as Land Court Document No. 3469265; and subject to
 the terms and provisions contained therein.


Together with a non exclusive easement ("Easement 8a") over, across, under
and through TMK (3) 9-6-005-025 in use as roadway and utility corridors
up to approximately forty (40) feet in width, as set forth in GRANT OF
EASEMENT dated effective November 8, 2005, filed as Land Court Document
No. 3420914, recorded as Document No. 2006-078665 and more particularly
described therein; and subject to the terms and provisions contained
therein.


Together with a nonexclusive easement over, across, under and through TNgi
(3) 9-6-005-056, being as shown on map attached thereto, as set forth in
DECLARATION OF EASEb1ENTS FOR ROADWAY AND UTILITY PURPOSES (Existing
roadways affecting TMK (3) 9-6-005-056), dated August 9, 2006, filed as
Land Court Document No. 3469267, recorded as Document No. 2006-152057; and
subject to the terms and provisions contained therein.



-ITEM II:-

Together with a nonexclusive easement for roadway, access and utility
purposes over and across Easement 13-D, as set forth in DECLARATION OF
EASEMENTS FOR ROADWAY AND UTILITY PURPOSES (Existing Roadways Affecting
TNgC (3) 9-6-005-010), dated August 9, 2006, filed as Land Court Document
No. 3469266, recorded as Document No. 2006-152056 and more particularly
described therein; and subject to the terms and provisions contained
therein.


Together with a non-exclusive easement over, across, under and through TIrIIC
(3) 9-6-005-017 for use as a roadway and utility corridor up to
approximately 40 feet in width, as set forth in GRANT OF EASEMENT
(Ra'u)(EASEbENT B-B) dated August 9, 2006, filed as Land Court Document
No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
and provisions contained therein.




201524882S            © Title Guaranty of Hawaii, Inc.                             Page 3
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 139 of 196
                             PageID.149



                                  EXHIBIT CONTINUED



 Being land(s) described in Transfer Certificate of Title No. 1,108,915
 issued to KA'U MAHI, LLC, a Colorado limited liability company.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company
       GRANTEE       KA'U MAHI, LLC, a Colorado limited liability company
       DATED         December 22, 2015
       FILED      . Land Court Document No. T-9486031
       RECORDED      Document No. A-58340236



 Together with nonexclusive easements for pedestrian and vehicular access
 and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
 as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
 dated November 4, 2015, recorded as Document No. A-58340237.



                                   SCHEDULE B FOR
                                    EXHIBIT 11 16"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-006-006                 Area Assessed: 0.910 acre




201524882S            © Title Guaranty of Hawaii, Inc.                             Page 4
                       235 QUEEN ST., HONOLULU, HAWAII 96873, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 140 of 196
                            PageID.150
                     ~~.                                                         el-,



                                      EXHIBIT CONTINUED



       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.



3.     Any claim or boundary dispute which may exist or arise by reason of
       the failure of the Declarations of Easements for Roadway and Utility
       purposes and Grants of Easements referred to in Schedule C to locate
       with certainty the boundaries of the Roadway and Utility Easements
       described in said instruments.



4.     The following unrecorded license and matters arising from or affecting
       the same:

       License No. P99149 dated June 1, 1999, between MAUNA FU;A AGRIBUSINESS
       CO., INC. by its agent Ra'u Agribusiness Co., Inc., as "Owner" and
       REY GASCON as "Licensee".



S.     Terms and provisions contained in letter entitled "Re: Archaeological
       Assessment for Three Na'alehu Project Areas, Island of Hawaii", dated
       June 2, 2006, by Paul L. Cleghorn, Ph.D., Principal, Senior
       Archaeologist, Pacific Legacy, Incorporated, including the failure
       to comply with any recommendations made in said above letter, or made
       pursuant to any federal, state or county laws and regulations
       regarding any sites and discoveries.



6.     -AS TO ITEM II:-

       The terms and provisions contained i.n DECLARATION OF EASEMENTS FOR
       ROADWAY AND UTILITY PURPOSES (Existing roadways affecting TMK (3)
       9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
       Court Document No. 3469266, recorded as Document No. 2006-152056.



7.    Any unrecorded leases and matters arising from or affecting the same. .



201524882S             © Title GUaranty of Hawaii, Inc.                                 Page 5
                          235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533E261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 141 of 196
                            PageID.151



                                 EXHIBIT CONTINUED



8.     Discrepancies, conflicts in boundary lines, shortage in area,
       encroachments or any other matters which a correct survey or
       archaeological study would disclose.



9.     The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEMENT (Ra'u Easements 13D, 8a, A-1,
                     B-B)

       DATED      . November 4, 2015
       RECORDED   . Document No. A-58340237




201524882s            CO Title Guaranty of Hawaii, Inc.                           Page 6
                       235 QUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533f261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 142 of 196
                            PageID.152
                     ~                                                          ~~




                                        EXHIBIT 11 17"

                                  LEGAL DESCRIPTION



 -ITEM I:-

 All of that certain parcel of land situate at Makaka, District of Kau, Island
and County of Hawaii, State of Hawaii, being LOT 2, containing an area of
5.97 acres, more or less, as shown on Map 1 of Land Court Application No.
659 of Corporation of the President of the Church of Jesus Christ of
Latter-Day Saints, and described below by metes and bounds, an undivided
1/2 interest of which has been registered in the Land Court of the State
of Hawaii as a portion of said Application No. 659, the remaining undivided
1/2 interest thereof being still unregistered:


A11 of that certain parcel of land (being Royal Patent Number 7950, Land
Commission Award Number 10549, Apana 2 to Alohikea) situate at Makaka,
District of Kau, Island and County of Hawaii, State of Hawaii, and thus
bounded and described as follows:

Beginning at a 2 inch pipe at the south corner of this piece, the true azimuth
and distance to a concrete monument at the east corner of Grant 2698 to
Alohikea, being 560 00' 1120.0 feet, and the coordinates of said point
of beginning referred to Government Survey Triangulation Station "ALILI"
being 2264.7 feet south and 3656.5 feet east, and running by true azimuths:
1.     1310 03' 30"          441.7              feet along Grant 2894 to Uha to a 2 inch
                                                pipe;

2.     2180 59'              569.5              feet along Grant 2894 to Uha to a 2 inch
                                                pipe;

3.     2890 29' 30"         384.0               feet along Grant 2894 to Uha to a galv.
                                                spike in bottom of gulch;

 4.     32 0 38'             718.0              feet along Grant 2894 to Uha to point of
                                                beginning and containing an area of S. 97
                                                acres, more or less.




201524882T             CO Title Guaranty of Hawaii, Inc.                             Page 1
                         235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 143 of 196
                             PageID.153



                                  EXHIBIT CONTINUED



 Together with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting Tt4K (3) 9-6-003-022), dated August 24, 2005,
 filed as Land Court Document No. 3322324, recorded as Document No.
 2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
 recorded as Document No. 2006-152062; and subject to the terms and
 provisions contained therein.


 Together with DECLARATION OF EASENENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TI4EC (3) 9-6-003-002) , dated August 24, 2005,
 filed as Land Court Document No. 3322325, recorded as Document No.
 2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469270,
 recorded as Document No. 2006-152063; and subject to the terms and
 provisions contained therein.


 Together with DECLARATION OF EASEIMENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TMK (3) 9-6-006-008) , dated August 24, 2005,
 filed as Land Court Document No. 3322326, recorded as Document No.
 2005-177590, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469271,
 recorded as Document No. 2006-152064; and subject to the terms and
 provisions contained therein.


Together also with DECLP,RATION OF EASEMENTS FOR ROADWAY AND UTILITY
PURPOSES (Existing roadways affecting TMK (3) 9-6-006-005), dated August
24, 2005, filed as Land Court Document No. 3322327, recorded as Document
No. 2005-177591, as amended by AMENDMENT OF DECLARATION OF EASEMENTS FOR
ROADWAY AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court
Document No. 3469268, recorded as Document No. 2006-152058, and as amended
by PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006,
filed as Land Court Document No. 3469272, recorded as Document No.
2006-152065; and subject to the terms and provisions contained therein.




201524882T             CO Title Guaranty of Hawaii, Inc.                           Page 2
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 144 of 196
                            PageID.154



                                  EXHIBIT CONTINUED


 Together with a 40-foot wide nonexclusive easements, over, across and under
 the Road Easements for roadway and utility purposes, as shown on Exhibits
 B and B-1 attached thereto as set forth in that certain instrument entitled
 GRANT OF EASEMENT by instrument dated August 31, 2005, recorded as Document
 No. 2005-225062, filed as Land Court Document No. 3469265; and subject to
 the terms and provisions contained therein.

 Together with a non exclusive easement ("Easement 8a") over, across, under
 and through TMt (3) 9-6-005-025 in use as roadway and utility corridors
 up to approximately forty (40) feet in width, as set forth in GRANT OF
 EASEt4ENT effective dated November 8, 2005, filed as Land Court Document
 No. 3420914, recorded as Document No. 2006-078665 and more particularly
 described therein; and subject to the terms and provisions contained
 therein.

Together with a nonexclusive easement over, across, under and through TNIIC
(3) 9-6-005-056, being as shown on map attached thereto, as set forth in
DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES (Existing
roadways affecting TNIIC (3) 9-6-005-056), dated August 9, 2006, filed as
Land Court Document No. 3469267, recorded as Document No. 2006-152057; and
subject to the terms and provisions contained therein.


-ITEM II:-
Together with a nonexclusive easement for roadway, access and utility
purposes over and across Easement 13-D, as set forth in DECLARATION OF
EASEI4ENTS FOR ROADWAY AND UTILITY PURPOSES (Existing Roadways Affecting
T1rIIC (3) 9-6-005-010), dated August 9, 2006, filed as Land Court Document
No. 3469266, recorded as Document No. 2006-152056 and more'particularly
described therein; and subject to the terms and provisions contained
therein.

Together with a non-exclusive easement over, across, under and through TNIIC
(3) 9-6-005-017 for use as a roadway and utility corridor up to
approximately 40 feet in width, as set forth in GRANT OF EASEMENT
(Ka'u)(EASEbMENT B-B) dated August 9, 2006, filed as Land Court Document
No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
and provisions contairied therein.




201524882T            CO Title Guaranty of Hawaii, Inc.                                Page 3
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261   -
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 145 of 196
                            PageID.155



                                 EXHIBIT CONTINUED



 Being land(s) described in Transfer Certificate of Title No. 1,108,915
 issued to KA'U MAHI, LLC, a Colorado limited liability company.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED         December 22, 2015
       FILED         Land Court Document No. T-9486031
       RECORDED   . Document No. A-58340236



Together with nonexclusive easements for pedestrian and vehicular access
and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, Ba, A-1, B-B)
dated November 4, 2015, recorded as Document No. A-58340237.




                                   SCHEDULE B FOR
                                    EXHIBIT 11 17"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.
      Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-006-007                 Area Assessed: 5.970 acres




201524882T            © Title Guaranty of Hawaii, Inc.                             Page 4
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-5261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 146 of 196
                            PageID.156
                     w

                                    EXHIBIT CONTINUED



       -Note:-   Attention is invited to the fact that the premises covered
                 herein may be subject to possible rollback or retroactive
                 property taxes.



2.     Mineral and water rights of any nature.



3.     Any claim or boundary dispute which may exist or arise by reason of
       the failure of the Declarations of Easements for Roadway and Utility
       purposes and Grants of Easements referred to in Schedule C to locate
       with certainty the boundaries of the Roadway and Utility Easements
       described in said instruments.



4.     The following unrecorded license and matters arising from or affecting
       the same:

       License No. P99142 dated May 1, 1999, between MAUNA KEA AGRIBUSINESS
       CO., INC., by its agent Ra'u Agribusiness Co., Inc., as "Owner" and
       BARBARA SOWARDS, as "Licensee".



5.    Terms and provisions, as contained in letter entitled "Re:
      Archaeological Assessment for Three Na'alehu Project Areas, Island
      of Hawaii", dated June 2, 2006, by Paul L. Cleghorn, Ph.D. , Principal,
      Senior Archaeologist, Pacific Legacy, Incorporated, including the
      failure to comply with any recommendations made in said above letter,
      or made pursuant to any federal, state or county laws and regulations
      regarding any sites and discoveries.



6.     -AS TO ITEM II:-

       The terms and provisions contained in DECLARATION OF EASEMENTS FOR
       ROADWAY AND UTILITY PURPOSES (Existing roadways affecting TMK (3)
       9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
       Court Document No. 3469266, recorded as Document No. 2006-152056.




201524882T             © Title Guaranty of Hawaii, Inc.                               Page 5
                          235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 147 of 196
                            PageID.157
                                                                             R~




                                 EXHIBIT CONTINUED



7.     Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



 8.    Any unrecorded leases and matters arising from or affecting the same.


9.     Discrepancies, conflicts in boundary lines, shortage in area,
       encroachments or any other matters which a correct survey or
       archaeological study would disclose.



10. The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEI4ENT (Ka'u Easements 13D, 8a, A-1,
                     B-B)

       DATED         November 4, 2015
       RECORDED   . Document No. A-58340237




201524882T             CO Title Guaranty of Hawaii, Inc.                           Page 6
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 148 of 196
                            PageID.158




             '                       EXHIBIT 11 18"

                               LEGAL DESCRIPTION



-ITEM I:-

All of that certain parcel of land situate at Makaka, District of Rau, Island
and County of Hawaii, State of Hawaii, containing an area of 121.54 acres,
more or less, as shown on Map 1 of Land Court Application No. 658 of,
Corporation of the President of the Church of Jesus Christ of Latter-Day
Saints, and described below by metes and bounds, an undivided 1/2 interest
of which has been registered in the Land Court of the State of Hawaii as
a portion of said Application No. 658, the remaining undivided 1/2 interest
thereof being still unregistered:


A11 of that certain parcel of land (being Royal Patent Grant Number 2698
to Alohikea) situate at Makaka, District of Rau, Island and County of
Hawaii, State of Hawaii, and thus bounded and described as follows:

Beginning at a concrete monument at the east corner of this piece, the true
azimuth and distance to Government Survey Triangulation Station "ALILI"
being 136° 40' 3974.9 feet and running by true azimuths:

1.     320       59'    1658.8                feet along Grant 1570 to L. Maigret to
                                              a 1 1/2 inch pipe;

2.     1180 16'         3178.9                feet along Grant 2946 to Kahahawai to a
                                              1 1/2 inch pipe;

3.     2070 02'         1592.1                feet along Government land to a 3/4 inch
                                              pipe;

4.     2970 13'         3350.0                feet along Grant 2894 to Uha to point of
                                              beginning and containing an area of
                                              121.54 acres, more or less.




201524882U             © Title GUaranty of Hawaii, Inc.                            Page 1
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 149 of 196
                             PageID.159



                                 EXHIBIT CONTINUED



 Together with DECLARATION OF EASEbENTS FOR ROADWAY AND UTILITY PURPOSES
 (Existing roadways affecting TNHC (3) 9-6-003-022) , dated August 24, 2005,
 filed as Land Court Document No. 3322324, recorded as Document No.
 2005-177588, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
 RIGHTS dated August 9, 2006, filed as Land Court Document No. 3469269,
 recorded as Document No. 2006-152062; and subject to the terms and
 provisions contained therein.


Together with DECLARATION OF EASEt4ENTS FOR ROADWAY AND UTILITY PURPOSES
(Existing roadways affecting TNIIt (3) 9-6-003-002) , dated August 24, 2005,
filed as Land Court Document No. 3322325, recorded as Document No.
2005-177589, as amended by PARTIAL CANCELLATION AS TO RESERVED EASEMENT
RIGHTS dated August 9, 2006, filed as.Land Court Document No. 3469270,
recorded as Document No. 2006-152063; and subject to the terms and
provisions contained therein.


Together also with DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
PURPOSES (Existing roadways affecting TMIIC (3) 9-6-006-005), dated August
24, 2005, filed as Land Court Document No. 3322327, recorded as Document
No. 2005-177591, as amended by AMENDMENT OF DECLARATION OF EASEMENTS FOR
ROADWAY AND UTILITY PURPOSES, dated August 9, 2006, filed as Land Court
Document No. 3469268, recorded as Document No. 2006-152058, and as amended
by PARTIAL CANCELLATION AS TO RESERVED EASEMENT RIGHTS dated August 9, 2006,
filed as Land Court Document No. 3469272, recorded as Document No.
2006-152065; and subject to the terms and provisions contained therein.


Together with a 40-foot wide nonexclusive easements, over, across and under
the Road Easements for roadway and utility purposes, as shown on Exhibits
B and B-1 attached thereto as set forth in that certain instrument entitled
GRANT OF EASEMENT by instrument dated August 31, 2005, recorded as Document
No. 2005-225062,filed as Land Court Document No. 3469265; and subject to
the terms and provisions contained therein.




201524882U            © Title Guaranty of Hawaii, Inc.                             Page 2
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 150 of 196
                            PageID.160



                                  EXHIBIT CONTINUED



 Together with a non exclusive easement ("Easement 8a") over, across, under
 and through TMIIC (3) 9-6-005-025 in use as roadway and utility corridors
 up to approximately forty (40) feet in width, as set forth in GRANT OF
 EASEMENT effective dated November 8, 2005, filed as Land Court Document
 No. 3420914, recorded as Document No. 2006-078665 and more particularly
 described therein; and subject to the terms and provisions contained
 therein.           I




Together with a nonexclusive easement over, across, under and through TNIIC
(3) 9-6-005-056, being as shown on map attached thereto, as set forth in
DECLARATION OF EASEND;NTS FOR ROADWAY AND UTILITY PURPOSES (Existing
roadways affecting TI4EC (3) 9-6-005-056), dated August 9, 2006, filed as
Land Court Document No. 3469267, recorded as Document No. 2006-152057; and
subject to the terms and provisions contained therein.



 -ITEM II:-

Together with a nonexclusive easement for roadway, access and utility
purposes over and across Easement 13-D, as set forth in DECLARATION OF
EASEIMENTS FOR ROADWAY AND UTILITY PURPOSES (Existing Roadways Affecting
TMC (3) 9-6-005-010), dated August 9, 2006, filed as Land Court Document
No. 3469266, recorded as Document No. 2006-152056 and more particularly
described therein; and subject to the terms and provisions contained
therein.


Together with a non-exclusive easement over, across, under and through TNIIC
(3) 9-6-005-017 for use as a roadway and utility corridor up to
approximately 40 feet in width, as set forth in GRANT OF EASEMENT
(Ra'u)(EASEMENT B-B) dated August 9, 2006, filed as Land Court Document
No. 3469274, recorded as Document No. 2006-152068; and subject to the terms
and provisions contained therein.




201524882U              © Title Guaranty of Hawaii, Inc.                            Page 3
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 151 of 196
                             PageID.161
                    ~b




                                    EXHIBIT CONTINUED



 Being land(s) described in Transfer Certificate of Title No. 1,108,915
 issued to KA'U MAHI, LLC, a Colorado limited liability company.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

        GRANTOR    : HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED     . December 22, 2015             '
       FILED     . Land Court Document No. T-9486031
       RECORDED . Document No. A-58340236



 Together with nonexclusive easements for pedestrian and vehicular access
 and utility purposes through tax map key parcels (3) 9-6-005-010 and 056,
 as granted in DECLARATION OF EASEMENT (Ka'u Easements 13D, 8a, A-1, B-B)
 dated November 4, 2015, recorded as Document No. A-58340237.




                                     SCHEDULE B FOR
                                      EXHIBIT 11 18"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



1. Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
     June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-006-008                   Area Assessed: 121.540 acres




201524882U            © Title Guaranty of Hawaii, Inc.                               Page 4
                         235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6281
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 152 of 196
                            PageID.162
                    r--*~'                                                    ~F-ti.




                                  EXHIBIT CONTINUED



       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.



 3.    The terms and provisions contained in the following:

       INSTRUMENT : DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY
                     PURPOSES

       DATED         August 24, 2005
       FILED         Land Court Document No. 3322326
       RECORDED      Document No. 2005-177590

       PARTIAL CANCELLATION AS TO RESERVED EASEtMENT RIGHTS (Existing
       Roadways Affecting TMR (3) 9-6-006-008) dated August 9, 2006, filed
       as Land Court Document No. 3469271, recorded as Document No.
       2006-152064.



4.     GRANT

       TO         . TRUSTEES OF THE ESTATE OF BERNICE PAUAHI BISHOP

       DATED     . November 8, 2005
       FILED     . Land Court Document No., 3420914
       RECORDED  . Document No. 2006-078665
       GRANTING . a perpetual, nonexclusive easement over and across,
                    under and through Easement 12b for access and utility
                     corridors up to approximately forty (40) feet in width,
                     more particularly described therein



5.    Any claim or boundary dispute which may exist or arise by reason of
      the failure of the Declarations of Easements for Roadway and Utility
      purposes and Grants of Easements referred to in Schedule C to locate
      with certainty the boundaries of the Roadway and Utility Easements
      described in said instruments.




201524882U            © Title Guaranty of Hawaii, Inc.                                 Page 5
                       235 QUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 153 of 196
                            PageID.163



                                    EXHIBIT CONTINUED



 6.    The following unrecorded license and matters arising from or affecting
       the same:

       License No. P97038 dated October 2, 1996, but effective October 1,
       1996, between ECA'U AGRIBUSINESS CO., INC., as "Owner", and WILLIAM
       LORENZO as "Licensee", as amended by unrecorded Amendment to Pasture
       License P97038 dated October 1, 2004, which License was assigned to
       STEVE'S AG SERVICES, LTD. by unrecorded Assa.gnment dated October 1,
       2005.



 7.    Terms and provisions, as contained in letter entitled "Re:
       Archaeological Assessment for Three Na'alehu Project Areas, Island
       of Hawaii", dated June 2, 2006, by Paul L. Cleghorn, Ph.D., Principal,
       Senior Archaeologist, Pacific Legacy, Incorporated, including the
       failure to comply with any recommendations made in said above letter,
       or made pursuant to any federal, state or county laws and regulations
       regarding any sites and discoveries.



8.     -AS TO ITEM II:-

       The terms and provisions contained in DECLARATION OF EASEMENTS FOR
       ROADWAY AND UTILITY PURPOSES (Existing roadways affecting TNIIC (3)
       9-6-005-010) (Easement 13-D), dated August 9, 2006, filed as Land
       Court Document No. 3469266, recorded as Document No. 2006-152056.



9.     Claims arising out of customary and traditional ri.ghts and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



10. Any unrecorded leases and matters arising from or affecting the same.




201524882U             © Title Guaranty of Hawaii, lnc.                               Page 6
                          235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 154 of 196
                            PageID.164



                                EXHIBIT CONTINUED



il. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.



12. The terms and provisions contained in the following:

      INSTRUMENT : DECLARATION OF EASEbMENT (Ra'u Easements 13D, 8a, A-1,
                    B-B)

      DATED      . November 4, 2015
      RECORDED   . Document No. A-58340237




201524882U            © Title Guaranty of Hawaii, Inc.                             Page 7
                      235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 155 of 196
                             PageID.165
                                                                             r'll"


                                      EXHIBIT 11 19"

                                LEGAL DESCRIPTION



 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Grant Number 2656 to Kaiahua and
 Royal Patent Grant Number 2118 to Keawemaka) situate, lying and being at
 Poohina, District of Kau, Island and County of Hawaii, State of Hawaii,
 being LOT A-2 , and thus bounded and descrsbed as per survey dated November
 13, 2006, to-wit:

 Beginning at the southwest corner of this parcel of land, being also along
 the northwest side of Mamalahoa Highway, the coordinates of said point of
 beginning referred to Government Survey Triangulation Station "STEIN 2"
 being 4,009.87 feet north and 4,577.20 feet east and thence running by
 azimuths measured clockwise from true South:

 1.Along Lot A-1, being portions of the Lands of Kioloku (Certificate of
                                 Boundaries No. 57); Grant 2656 to
                                 Kaiahua, Grant 2118 to Keawemaka; Grant
                                 2748 to Kaleikau; and all of R.P. 6782,
                                 L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                 L.C.Aw. 9659 to Kekahuna, on a curve to
                                 the right with a radius of 20.00 feet,
                                 the chord azimuth and distance being:

       100° 30'                28.28          feet;

 2.    1450 30'                90.00 feet along Lot A-1, being portions of the
                                       Lands of Kioloku (Certificate of
                                       Boundaries No. 57); Grant 2656 to
                                       Kaiahua, Grant 2118 to Keawemaka; Grant
                                       2656 to Kaiahua, Grant 2118 to
                                       Keawemaka; Grant 2748 to Kaleikau; and
                                       all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                       andR.P. 6095, L.C.Aw. 9659 to Kekahuna;




201525050A            © Title Guaranty of Hawaii, Inc.                               Page 1
                       235 QUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-8261
    Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 156 of 196
                                PageID.166



                                    EXHIBIT CONTINUED



    3.   Thence along Lot A-1, being portions of the Lands of Kioloku
                                     (Certificate of Boundaries No. 57);
                                     Grant 2656 to Kaiahua, Grant 2118 to
                                     Keawemaka; Grant 2748 to Kaleikau; and
                                     all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                     andR.P. 6095, L.C.Aw. 9659 to Kekahuna,
                                     on a curve to the right with a radius of
                                     270.00 feet, the chord azimuth and
                                     distance being:

         1850 45'              348.91 feet;

    4.   2260 00'              266.94            feet along Lot A-1, being portions of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57); Grant 2656 to
                                                 Kaiahua, Grant 2118 to Keawemaka; Grant
                                                 2748 to Kaleikau; and all of R.P. 6782,
                                                 L.C.Aw. 9600 to Kaahui and R.P. 6095,
0
                                                 L.C.Aw. 9659 to Kekahuna;

    S.   Thence along Lot A-1, being portions of the Lands of Kioloku
                                     (Certificate of Boundaries No. 57);
                                     Grant 2656 to Kaiahua, Grant 2118 to
                                     Keawemaka; Grant 2748 to Kaleikau; and
                                     all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                     and R.P. 6095, L.C.Aw. 9 65 9 to Kekahuna,
                                     on a curve to the left with a radius of
                                     330.00 feet, the chord azimuth and       '
                                     distance being:

         192° 15'              366.68           feet;

    6. 1580 30'                496.84 feet along Lot A-1, being portions of the
                                        Lands of Kioloku (Certificate of
                                        Boundaries No. 57); Grant 2656 to
                                        Kaiahua, Grant 2118 to Keawemaka; Grant
                                        2748 to Kaleikau; and all of R.P. 6782,
                                        L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                        L.C.Aw. 9659 to Kekahuna;




201525050A              © Title Guaranty of Hawaii, Inc.                             Page 2
                         235 QUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533E261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 157 of 196
                            PageID.167



                                 EXHIBIT CONTINUED



 7. Thence along Lot A-1, being portions of the Lands of Kioloku
                                 (Certificate of Boundaries No. 57);
                                 Grant 2656 to Kaiahua, Grant 2118 to
                                 Keawemaka; Grant 2748 to Kaleikau; and
                                 all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                 and R.P. 6095, L.C.Aw. 9659 to Kekahuna,
                                 on a curve to the right with a radius of
                                 270.00 feet, the chord azimuth and
                                 distance being:

       180' 52' 30"         205.56            feet;

 8.    2030 15'               51.54 feet along Lot A-1, being portions of the
                                      Lands of Kioloku (Certificate of
                                      Boundaries No. 57); Grant 2656 to
                                      Kaiahua, Grant 2118 to Keawemaka; Grant
                                      2748 to Kaleikau; and all of R.P. 6782,
                                      L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                      L.C.Aw. 9659 to Kekahuna;

 3.    3010 00'             517.86 feet along Lot A-3, being portions of
                                    Grant 2118 to Keawemaka and Grant 2656
                                    to Kaiahua;

 4.    3300 07'           1001.54 feet along Lot A-3, being porti.ons of
                                    Grant 2118 to Keawemaka and Grant 2656
                                    to Kaiahua;

 5.     610 50'             233.23 feet along the northwest side of
                                    Mamalahoa Highway;

 6.     670 30'             447.22 feet along the northwest side of
                                    Mamalahoa Highway;
 7.     550 30'             475.03 feet along the northwest side of
                                    Mamalahoa Highway to the point of
                                    beginning and containing an area of
                                    20.001 acres, more or less.




201525050A            © Title Guaranty of Hawaii, Inc.                             Page 3
                      235 QUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 158 of 196
                            PageID.168



                                 EXHIBIT CONTINUED




       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR       HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE       KA'U MAHI, LLC, a Colorado limited liability company

       DATED      . December 22, 2015
       FILED      . Land Court Document No. T-9486031
       RECORDED      Document No. A-58340236



                                   SCHEDULE B FOR
                                    EXHIBIT "19"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



 1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-5-012-039                 Area Assessed: 20.001 acres


       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.




201525050A            © Title Guaranty of Hawaii, Inc.                            Page 4
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 5338261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 159 of 196
                             PageID.169



                                   EXHIBIT CONTINUED



 3.    -AS TO THAT PORTION OF THE LAND DESCRIBED IN SCHEDULE C COVERED BY
       ROYAL PATENT GRANTS 2118, 2656 AND 2748:-

       Rights of native tenants as reserved in Royal Patent Grant Numbers
       2118 and 2656.



 4.    Unrecorded LEASE dated November 17, 1953 by and between HUTCHINSON
       SUGAR PLANTATION COMPANY, as Lessor, and HILO ELECTRIC LIGHT COMPANY,
       LIMITED (now known as HAWAII ELECTRIC LIGHT COMPANY, INC.), as Lessee;
       leasing and demising a 20-foot wide easement for pole and wireline
       purposes, as set forth in DEED dated June 1, 1961, recorded in Liber
       4303 at Page 337.


       Said LEASE was amended by AGREEMENT dated March 2, 1988, recorded in
       Liber 21728 at Page 375, by and between RA'U AGRIBUSINESS CO., INC.
       (formerly known as RAU SUGAR COMPANY, INC .), a Hawaii corporation and
       successor to HUTCHINSON SUGAR PLANTATION COMPANY, as Lessor, and
       HAWAII ELECTRIC LIGHT COMPANY, INC. (formerly known as HILO ELECTRIC
       LIGHT COMPANY, LIMITED), a Hawaii corporation, as Lessee; re: Parties
       have elected to continue the term of said lease on a year-to-year
       basis, re-survey of existing pole line, including proposed storm guys,
       e tc .


       Said easement affecting the subject land are EASEMENT "A", 20-foot
       wide Utility Line Easement, containing an area of 4.18 acres, more
       or less, being more particularly described therein.



5.     GRANT

       TO            GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.
       DATED      . May 31, 2000
       RECORDED   . Document No. 2000-093550
       GRANTING . non-exclusive right and easement for utility purposes,
                     Easement "T-111 , as shown on map attached thereto




201525050A             © Title Guaranty of Hawaii, Inc.                             Page 5
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 160 of 196
                            PageID.170



                                  EXHIBIT CONTINUED



 6.    Archaeological sites identified in the Archaeological Inventory
       Survey of a Property Located at TMK (3) 9-5-012:17 in Ki'oloku and
       Kaunamano Ahupua' a, Kau District, Island of Hawaii by Diane Guerriero ,
       B.A., Elizabeth Gregg, B.A., Joseph Kennedy, M.A., dated April 2005;
       subject to the terms and provisions, including the failure to comply
       with any recommendations made in said above report or made pursuant
       to any federal, state, or county laws and regulations regarding such
       sites and disaoveries.



7.     Any unrecorded leases and matters arising from or affecting the same.



 B.    Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



9. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.




201525050A              © Title Guaranty of Hawaii, Inc.                            Page 6
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 161 of 196
                             PageID.171             l                        r    .




                                     EXHIBIT 11 20"

                               LEGAL DESCRIPTION



 All of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Grant Number 2656 to Kaiahua and
 Royal Patent Grant Number 2118 to Keawemaka) situate, lying and being at
 Poohina, District of Kau, Island and County of Hawaii, State of Hawaii,
 being LOT A-3, and thus bounded and described as per survey dated November
 13, 2006, to-wit:

 Beginning at the east corner of this parcel of land, being also along the
 northwest side of Mamalahoa Highway, the coordinates of said point of
 beginning referred to Government Survey Triangulation Station "STEIN 2"
 being 5,214.10 feet north and 6,205.15 feet east and thence running by
 azimuths measured clockwise from true South:

 1.     380 00'           426.42             feet along the northwest side of
                                             Mamalahoa Highway;

 2.     480 10'           476.65             feet along the northwest side of
                                             Mamalahoa Highway;

 3.    1500 07'         1001.54              feet along Lot A-2, being portions of
                                             Grant 2656 to Kaiahua and Grant 2118 to
                                             Keawemaka;

 4.    1210 00'           517.86             feet along Lot A-2, being portions of
                                             Grant 2656 to Kaiahua and Grant 2118 to
                                             Keawemaka;

 5.    2030 15'          394.92              feet along Lot A-1, being portions of the
                                             Lands of Kioloku (Certificate of
                                             Boundaries No. 57); Grant 2656 to
                                             Kaiahua, Grant 2118 to Keawemaka; Grant
                                             2748 to Kaleikau; and all of R.P. 6782,
                                             L:C.Aw. 9600 to Kaahui and R.P. 6095,
                                             L.C.Aw. 9659 to Kekahuna;




201525050B            © Title Guaranty of Hawaii, Inc.                                Page 1
                      235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 162 of 196
                             PageID.172



                                  EXHIBIT CONTINUED



 6.    3010 00'          1638.75               feet along Lot A-4, being portions of
                                               Grant 2656 to Kaiahua; Grant 2118 to
                                               Keawemaka; and Grant 2748 to Kaleikau to
                                               the point of beginning and containing an
                                               area of 20.001 acres, more or less.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED      . December 22, 2015
       FILED      . Land Court Document No. T-9486031
       RECORDED   . Document No. A-58340236



                                   SCHEDULE B FOR
                                    EXHIBIT 11 20"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



 1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-5-012-040                 Area Assessed: 20.001 acres


       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.




201525050B            © Title Guaranty of Hawaii, Inc.                             Page 2
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 163 of 196
                             PageID.173



                                   EXHIBIT CONTINUED



 3.    -AS TO THAT PORTION OF THE LAND DESCRIBED IN SCHEDULE C COVERED BY
       ROYAL PATENT GRANTS 2118, 2656 AND 2748:-

       Rights of native tenants as reserved in Royal Patent Grant Numbers
       2118 and 2656.



 4.    Unrecorded LEASE dated November 17, 1953 by and between HUTCHINSON
       SUGAR PLANTATION COMPANY, as Lessor ,and HILO ELECTRIC LIGHT COMPANY,
       LIMITED (now known as HAWAII ELECTRIC LIGHT COMPANY, INC. ), as Lessee;
       leasing and demising a 20-foot wide easement for pole and wireline
       purposes, as set forth in DEED dated June 1, 1961, recorded in Liber
       4303 at Page 337.


       Said LEASE was amended by AGREEMENT dated March 2, 1988, recorded i.n
       Liber 21728 at Page 375, by and between KA'U AGRIBUSINESS CO., INC.
       (formerly known as KAU SUGAR COMPANY, INC. ), a Hawaii corporation and
       successor to HUTCHINSON SUGAR PLANTATION COMPANY, as Lessor, and
       HAWAII ELECTRIC LIGHT COMPANY, INC. (formerly known as HILO ELECTRIC
       LIGHT COMPANY, LIMITED), a Hawaii corporation, as Lessee; re: Parties
       have elected to continue the term of said lease on a year-to-year
       basis, re-survey of existing pole line, including proposed storm guys,
       etc.


       Said easements affecting the subject land are EASEMENT "A", 20-foot
       wide Utility Line Easement, containing an area of 4.18 acres, more
       or less, being more particularly described therein.



 5.    GRANT

       TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED         September 20, 1996
       RECORDED   . Document No. 96-139574
       GRANTING      non-exclusive right and easement for utility purposes
                     as shown on map attached thereto




201525050B             © Title Guaranty of Hawaii, Inc.                             Page 3
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 164 of 196
                            PageID.174



                                  EXHIBIT CONTINUED



 6.    GRANT

       TO            GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED      : May 31, 2000
       RECORDED   . Document No. 2000-093550
       GRANTING      non-exclusive right and easement for utility purposes,
                     Easement "T-111 , as shown on map attached thereto



7.     Archaeological sites identified in the Archaeological Inventory
       Survey of a Property Located at TMK (3) 9-5-012:17 in Ki'oloku and
       Kaunamano Ahupua'a, Kau District, Island of Hawaii by Diane Guerriero,
       B.A., Elizabeth Gregg, B.A., Joseph Kennedy, M.A., dated April 2005;
       subject to the terms and provisions, including the failure to comply
       with any recommendations made in said above report or made pursuant
       to any federal, state, or county laws and regulations regarding such
       sites and discoveries.



8.     Any unrecorded leases and matters arising from or affecting the same.



9.     Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



10. Discrepancies, conflicts in boundary lines, shortage in area,
    encroachments or any other matters which a correct survey or
    archaeological study would disclose.




201525050B             © Title Guaranty of Hawaii, Inc.                            Page 4
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533{261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 165 of 196
                            PageID.175
                     ~




                                      EXHIBIT 11 21"

                                LEGAL DESCRIPTION



 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Grant Number 2656 to Kaiahua, Royal
 Patent Grant Number 2118 to Keawemaka, and Royal Patent Grant Number 2748
 to Kaleikau) situate, lying and being at Poohina, District of Kau, Island
 and County of Hawaii, State of Hawaii, being LOT A-4, and thus bounded and
 described as per survey dated November 13, 2006, to-wit:

Beginning at the southeast corner of this parcel of land, being also along
the northwest side of Mamalahoa Highway, the coordinates of said point of
beginning referred to Government Survey Triangulation Station "STEIN 2"
being 5,214.10 feet north and 6,205.15 feet east and thence running by
azimuths measured clockwise from true South:

 1. .1210 00'              1638.75 feet along Lot A-3, being portions of
                                    Grant 2656 to Kaiahua and Grant 2118 to
                                    Keawemaka;

 2.    2030 15'                 62.42 feet along Lot A-1, being portions of the
                                        Lands of Kioloku (Certificate of
                                        Boundaries No. 57); Grant 2656 to
                                        Kaiahua, Grant 2118 to Keawemaka; Grant
                                        2748 to Kaleikau; and all of R.P. 6782,
                                        L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                        L.C.Aw. 9659 to Kekahuna;

 3.    Thence along feet along Lot A-1, being portions of the Lands of Kioloku
                                    (Certificate of Boundaries No. 57);
                                    Grant 2656 to Ka3.ahua, Grant 2118 to
                                    Keawemaka; Grant 2748 to Kaleikau; and
                                    all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                    and R.P. 6095, L.C.Aw. 9659 to Kekahuna,
                                    on a curve to the right with a radius of
                                    2970.00 feet the chord azimuth and
                                    distance being:

       2070 37' 23"          452.93 feet;




201525050C             © Title Guaranty of Hawaii, Inc.                            Page 1
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533E261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 166 of 196
                             PageID.176           .~,


                                   EXHIBIT CONTINUED



 4.     3010 00'             1736.95 feet along Lot A-5, being portions of
                                      Grant 2656 to Kaiahua; Grant 2118 to
                                      Keawemaka; and Grant 2748 to Kaleikau;
 5.      380 00'               517.86 feet along the northwest side of
                                       Mamalahoa Highway to the point of
                                       beginning and containing an area of
                                       20.001 acres, more or less.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR     . HI BIV LAND LLC, a Delaware limited li.ability company

       GRANTEE     . KA'U MAHI, LLC, a.Colorado limited liability company

       DATED     . December 22, 2015
       FILED     . Land Court Document No. T-9486031
       RECORDED . Document No. A-58340236



                                    SCHEDULE B FOR
                                     EXHIBIT 11 21"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



1. Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
     June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-5-012-041                   Area Assessed: 20.001 acres


       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.




201525050C             © Title Guaranty of Hawaii, Inc.                              Page 2
                        235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6267
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 167 of 196
                            PageID.177
                     ~.




                                   EXHIBIT CONTINUED



 2.    Mineral and water rights of any nature.



 3.    -AS TO THAT PORTION OF THE LAND DESCRIBED IN SCHEDULE C COVERED BY
       ROYAL PATENT GRANTS 2118, 2656 AND 2748:-

       Rights of native tenants as reserved in Royal Patent Grant Numbers
       2118, 2656 and 2748.



 4.    Unrecorded LEASE dated November 17, 1953 by and between HUTCHINSON
       SUGAR PLANTATION COMPANY, as Lessor, and HILO ELECTRIC LIGHT COMPANY,
       LIMITED (now known as HAWAII ELECTRIC LIGHT COMPANY, INC. ), as Lessee;
       leasing and demising a 20-foot wide easement for pole and wireline
       purposes, as set forth in DEED dated June 1, 1961, recorded in Liber
       4303 at Page 337.


       Said LEASE was amended by AGREENENT dated March 2, 1988, recorded in
       Liber 21728 at Page 375, by and between KA'U AGRIBUSINESS CO., INC.
        (formerly known as KAU SUGAR COMPANY, INC. ), a Hawaii corporation and
       successor to HUTCHINSON SUGAR PLANTATION COMPANY, as Lessor, and
       HAWAII ELECTRIC LIGHT COMPANY, INC. (formerly known as HILO ELECTRIC
       LIGHT COMPANY, LIMITED), a Hawaii corporation, as Lessee; re: Parties
       have elected to continue the term of said lease on a year-to-year
       basis, re-survey of existing pole line, including proposed storm guys,
       etc. .


       Said easements affecting the subject land are EASEMENT "A", 20-foot
       wide Utility Line Easement, containing an area of 4.18 acres, more
       or less, EASEMENT 13, 5-foot wide Anchor Easement, containing an area
       of 32 square feet, EASEMENT 14, 5-foot wide Anchor Easement,
       containing an area of 35 square feet, being more particularly
       described therein.



5.     GRANT

       TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

      DATED          September 20, 1996
      RECORDED    . Document No. 96-139574
      GRANTING       non-exclusive right and easement for utility purposes
                     as shown on map attached thereto

201525050C              CO Title Guaranty of Hawaii, Inc.                           Page 3
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 168 of 196
                            PageID.178



                                  EXHIBIT CONTINUED



6.     GRANT

       TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED      . May 31, 2000
       RECORDED   . Document No. 2000-093550
       GRANTING . non-exclusive right and easement for utility purposes
                     as shown on map attached thereto



7.     Archaeological sites identified in the Archaeological Inventory
       Survey of a Property Located at TMR (3) 9-5-012:17 in Ri'oloku and
       Raunamano Ahupua'a, Kau District, Island of Hawaii by Diane Guerriero,
       B.A., Elizabeth Gregg, B.A., Joseph Kennedy, M.A., dated April 2005;
       subject to the terms and provisions, including the failure to comply
       with any recommendations made in said above report or made pursuant
       to any federal, state, or county laws and regulations regarding such
       sites and discoveries.



8.     Any unrecorded leases and matters arising from or affecting the same.



9.     Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.



10. Discrepancies, conflicts in boundary lines, shortage in area,
    encroachments or any other matters which a correct survey or
    archaeological study would disclose.




201525050C             CO Title Guaranty of Hawaii, Inc.                            Page 4
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 169 of 196
                             PageID.179




                                       EBHIBIT 11 22"

                                 LEGAL DESCRIPTION



 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Grant Number 2656 to Kaiahua, Royal
 Patent Grant Number 2118 to Keawemaka, and Royal Patent Grant Number 2748
 to Kaleikau) situate, lying and being at Poohina, District of Kau, Island
 and County of Hawaii, State of Hawaii, being LOT A-5, and thus bounded and
 described as per survey dated November 13, 2006, to-wit:

 Beginning at the east corner of this parcel of land, being also along the
 northwest side of Mamalahoa Highway, the coordinates of said point of
 beginning referred to Goverament Survey Triangulation Station "STEIN 2"
 being 6,041.52 feet north and 6,796.07 feet east and thence running by
 azimuths measured clockwise from true South:

 1.     270 50'               141.66 feet along the northwest side of
                                      Mamalahoa Highway;

 2.     320 00'               179.45 feet along the northwest side of
                                      Mamalahoa Highway;

 3.     380 00'               180.07 feet along the northwest side of
                                      Mamalahoa Highway;

 4.    1210 00'             1736.95 feet along Lot A-4, being portions of
                                     Grant 2656 to Kaiahua; Grant 2118 to
                                     Keawemaka; and Grant 2748 to Kaleikau;

 5.    Thence along feet along Lot A-1, being portions of the Lands of Kioloku
                                     (Certificate of Boundaries No. 57);
                                     Grant 2656 to Kaiahua, Grant 2118 to
                                     Keawemaka; Grant 2748 to Kaleikau; and
                                     all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                     and R.P. 6095, L.C.Aw. 9659 to Kekahuna,
                                     on a curve to the right with a radius of
                                     2970.00 feet, the chord azimuth and
                                     distance being:
       2120 59' 53"          103.87 feet;




201525050D             © Title Guaranty of Hawaii, Inc.                             Page 1
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
          Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 170 of 196
•   '~                                PageID.180



                                           EXHIBIT CONTINUED



          6.    2140 00'              396.33 feet along Lot A-1, being portions of the
                                               Lands of Kioloku (Certificate of
                                               Boundaries No. 57); Grant 2656 to
                                               Kaiahua, Grant 2118 to Keawemaka; Grant
                                               2748 to Kaleikau; and all of R.P. 6782,
                                               L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                               L.C.Aw. 9659 to Kekahuna;

          7.    3010 00'            1729.84 feet along Lot A-6, being portions of
                                              Grant 2748 to Kaleikau; Grant 2656 to
                                             Kaiahua, and the Lands of Kioloku
                                             (Certificate of Boundaries No. 57) to
                                                        the point of beginning and containing an
                                                        area of 20.001 acres, more or less.



                BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

                GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

                GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

                DATED      . December 22, 2015
                FILED      . Land Court Document No. T-9486031
                RECORDED   . Document No. A-53840236



                                            SCHEDULE B FOR
                                             EXHIBIT 11 22"


         This policy does not insure against loss or damage; and the Company will
         not pay costs, attorneys' fees, or expenses that arise by reason of:


         1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
                June 30, 2016.

               Payable on or before February 20, 2016.

                Tax Key: (3) 9-5-012-042                 Area Assessed: 20.001 acres




         201525050D            © Title Guaranty of Hawaii, Inc.                             Page 2
                                235 OUEEN ST., HONOLULU, HAWAII 96813, PH; (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 171 of 196
                             PageID.181



                                   EXHIBIT CONTINUED



       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



 2.    Mineral and water rights of any nature.



 3.    -AS TO THAT PORTION OF THE LAND DESCRIBED IN SCHEDULE C COVERED BY
       ROYAL PATENT GRANTS 2118, 2656 AND 2748:-

       Rights of native tenants as reserved in Royal Patent Grant Numbers
       2118, 2656 and 2748.



 4.    Unrecorded LEASE dated November 17, 1953 by and between HUTCHINSON
       SUGAR PLANTATION COMPANY, as Lessor, and HILO ELECTRIC LIGHT COMPANY,
       LIMITED (now known as HAWAII ELECTRIC LIGHT COMPANY, INC.); as Lessee,
       leasing and demising a 20-foot wide easement for pole and wireline
       purposes, as set forth in DEED dated June 1, 1961, recorded in Liber
       4303 at Page 337.


       Said LEASE was amended by AGREEMENT dated March 2, 1988, recorded in
       Liber 21728 at Page 375, by and between KA'U AGRIBUSINESS CO., INC.
       (formerly known as KAU SUGAR COMPANY, INC .), a Hawaii corporation and
       successor to HUTCHINSON SUGAR PLANTATION COMPANY, as Lessor, and
       HAWAII ELECTRIC LIGHT COMPANY, INC. (formerly known as HILO ELECTRIC
       LIGHT COMPANY, LIMITED), a Hawaii corporation, as Lessee; re: Parties
       have elected to continue the term of said lease on a year-to-year
       basis, re-survey of existing pole line, including proposed storm guys,
       etc.


       Said easements affecting the subject land are EASEMENT "A", 20-foot
       wide Utility Line Easement, containing an area of 4.18 acres, more
       or less, EASEMENT 13, 5-foot wide Anchor Easement, containing an area
       of 32 square feet, EASEbENT 14, 5-foot wide Anchor Easement,
       containing an area of 35 square feet, being more particularly
       described therein.




201525050D             © Title Guaranty of Hawaii, Inc.                             Page 3
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 172 of 196
                             PageID.182



                                   EXHIBIT CONTINUED



 5.    GRANT

       TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED          September 20, 1996
       RECORDED       Document No. 96-139574
       GRANTING       non-exclusive right and easement for utility purposes
                      as shown on map attached thereto



 6.    GRANT

       TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED       May 31, 2000
       RECORDED    Document No. 2000-093550
       GRANTING . non-exclusive right and easement for utility purposes,
                   Easement "T-111 , as shown on map attached thereto



7.     Archaeological sites identified in the Archaeological Inventory
       Survey of a Property Located at TMK (3) 9-5-012:17 in Ki'oloku and
       Raunamano Ahupua'a, Kau District, Island of Hawaii by Diane Guerriero,
       B.A., Elizabeth Gregg, B.A., Joseph Rennedy, M.A., dated Apri.l 2005;
       subject to the terms and provisions, including the failure to comply
       with any recommendations made in said above report or made pursuant
       to any federal, state, or county laws and regulations regarding such
       sites and discoveries.



B.     Any unrecorded leases and matters arising from or affecting the same.


9.     Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Constitution or the Hawaii Revised Statutes.




201525050D             © Title Guaranty of Hawaii, Inc.                              Page 4
                        235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 173 of 196
                             PageID.183          .~



                                 EXHIBIT CONTINUED



 10. Discrepancies, conflicts in boundary line's, shortage in area,
      encroachments or any other matters which a correct surv.ey or
      archaeological study would disclose.




201525050D            CO Title Guaranty of Hawaii, Inc.                           Page 5
                      235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 174 of 196
                            PageID.184




                                      EXHIBIT 11 23"

                                LEGAL DESCRIPTION



All of that certain parcel of land (being portion(s) of the land(s)
described in and covered by Royal Patent Grant Number 2656 to Kaiahua, Royal
Patent Grant Number 2748 to Kaleikau, and the Lands of Kioloku (Certificate
of Boundaries No. 57)) situate, lying and bei.ng at Kioloku, Poohina,
District of Kau, Island and County of Hawaii, State of Hawaii, being LOT
A-6, and thus bounded and described as per survey dated November 13, 2006,
to-wit:

Beginning at the southeast corner of this parcel of land, being also along
the northwest side of Mamalahoa Highway, the coordinates of said point of
beginning referred to Government Survey Triangulation Station "STEIN 2"
being 6,041.52 feet north and 6,796.07 feet east and thence running by
azimuths measured clockwise from true South:

1.     1210 00'            1729.84 feet along Lot A-5, being portions of
                                    Grant 2656 to Kaiahua; Grant 2118 to
                                    Keawemaka; and Grant 2748 to Kaleikau;

2.     2140 00'                13.95 feet along Lot A-1,being portions of the
                                       Lands of Kioloku (Certificate of
                                       Boundaries No. 57); Grant 2656 to
                                       Kaiahua, Grant 2118 to Keawemaka; Grant
                                       2748 to Kaleikau; and all of R.P. 6782,
                                       L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                       L.C.Aw. 9659 to Kekahuna;

3.     Thence along feet along Lot A-1, being portions of the Lands of Kioloku
                                     (Certificate of Boundaries No. 57);
                                     Grant 2656 to Kaiahua, Grant 2118 to
                                     Keawemaka; Grant 2748 to Kaleikau; and
                                     all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                     andR.P. 6095, L.C.Aw. 9659 to Kekahuna,
                                     on a curve to the right with a radius of
                                     45.00 feet, the chord azimuth and
                                     distance being:

       2300 46' 43"            25.98 feet;




201525050E             © Title Guaranty of Hawaii, Inc.                             Page 1
                        235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
        Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 175 of 196
.   .                               PageID.185
                           f•~"`~                                                          , ~^v




                                               EXHIBIT CONTINUED



         4. Thence along Lot A-1, being portions of the Lands of Kioloku
                                         (Certificate of Boundaries No. 57);
                                         Grant 2656 to Kaiahua, Grant 2118 to
                                         Keawemaka; Grant 2748 to Kaleikau; and
                                         all of R.P. 6782, L.C.Aw. 9600 to Kaahui
                                         and R.P. 6095, L.C.Aw. 9659 to Kekahuna,
                                         on a curve to the left with a radius of
                                         45.00 feet, the chord azimuth and
                                         distance being:

               2060 41' 02"                 58.90 feet;

         5.    2140 00'                   419.47 feet along Lot A-1, being portions of the
                                                   Lands of Kioloku (Certificate of
                                                   Boundaries No. 57); Grant 2656 to
                                                   Kaiahua, Grant 2118 to Keawemaka; Grant
                                                  2748 to Kaleikau; and all of R.P. 6782,
                                                  L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                                  L.C.Aw. 9659 to Kekahuna;

         6.    3010 00'                 1300.00 feet along Lot A-1, being portions of the
                                                 Lands of Kioloku (Certificate of
                                                  Boundaries No. 57); Grant 2656 to
                                                 Kaiahua, Grant 2118 to Keawemaka; Grant
                                                 2748 to Kaleikau; and all of R.P. 6782,
                                                 L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                                 L.C.Aw. 9659 to Kekahuna;

         7.    2110 00'                   400.00 feet along Lot A-1, being portions of the
                                                  Lands of Kioloku (Certificate of
                                                  Boundaries No. 57); Grant 2656 to
                                                   Kaiahua, Grant 2118 to Keawemaka; Grant
                                                  2748 to Kaleikau; and all of R.P. 6782,
                                                  L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                                  L.C.Aw. 9659 to Kekahuna;
        8.     2180 29'                  192.00 feet along Lot A-1, being portions of the
                                                  Lands of Kioloku (Certificate of
                                                  Boundaries No. 57); Grant 2656 to
                                                  Kaiahua, Grant 2118 to Keawemaka; Grant
                                                  2748 to Kaleikau; and all of R.P. 6782,
                                                  L.C.Aw. 9600 to Kaahui and R.P. 6095,
                                                  L.C.Aw. 9659 to Kekahuna;




        201525050E             © Title Guaranty of Hawaii, Inc.                                    Page 2
                                    235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 176 of 196
                            PageID.186



                                    EXHIBIT CONTINUED



 9.    2270   19'               337.30           feet along Lot A-1, being portions of the
                                                 Lands of Kioloku (Certificate of
                                                 Boundaries No. 57); Grant 2656 to
                                                 Kaiahua, Grant 2118 to Keawemaka; Grant
                                                 2748 to Kaleikau; and all of R.P. 6782,
                                                 L.C.Aw. 9600 to Kaahui. and R.P. 6095,
                                                 L.C.Aw. 9659 to Kekahuna;

 10. 250      56'   20"           62.44          feet along the northwest side of
                                                 Mamalahoa Highway;

 11. 130      53'   20"         567.56           feet along the northwest side of
                                                 Mamalahoa Highway;

 12. 220      21'   20"         678.43           feet along the northwest side of
                                                 Mamalahoa Highway;

 13. 270      50'               154.97           feet along the northwest side of
                                                 Mamalahoa Highway to the point of
                                                 beginning and containing an area of
                                                 24.426 acres, more or less.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR      . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE      . KA'U MAHI, LLC, a Colorado limited liability company

       DATED        . December 22, 2015
       FILED        . Land Court Document No. T-9486031
       RECORDED     . Document No. A-53840236




201525050E                © Title Guaranty of Hawaii, Inc.                            Page 3
                          235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
         Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 177 of 196
1   ~                                PageID.187
                              ~ ~i                                                     ~~'•




                                            EXHIBIT CONTINUED



                                             SCHEDULE B FOR
                                              EXHIBIT 11 23"


         This policy does not insure against loss or damage, and the Company will
         not pay costs, attorneys' fees, or expenses that arise by reason of:



         1.    Rea1 Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
               June 30, 2016.

               Payable on or before February 20, 2016.

               Tax Key: (3) 9-5-012-043                   Area Assessed: 24.426 acres


               -Note:- Attention is invited to the fact that the premises covered
                        herein may be subject to possible rollback or retroactive
                        property taxes.



        2.     Mineral and water rights of any nature.



        3.     -AS TO THAT PORTION OF THE LAND DESCRIBED IN SCHEDULE C COVERED BY
               ROYAL PATENT GRANTS 2118, 2656 AND 2748:-

               Rights of native tenants as reserved in Royal Patent Grant Numbers
               2656 and 2748.



        4.     Unrecorded LEASE dated November 17, 1953 by and between HUTCHINSON
               SUGAR PLANTATION COMPANY, as Lessor, and HILO ELECTRIC LIGHT COMPANY,
               LIMITED (now known as HATnTAII ELECTRIC LIGHT COMPANY, INC. ), as Lessee;
               leasing and demising a 20-foot wide easement for pole and wireline
               purposes, as set forth in DEED dated June 1, 1961, recorded in Liber
               4303 at Page 337.




        201525050E              © Title Guaranty of Hawaii, Inc.                              Page 4
                                 235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533f261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 178 of 196
                            PageID.188



                                  EXHIBIT CONTINUED



       Said LEASE was amended by AGREEMENT dated March 2, 1988, recorded in
       Liber 21728 at Page 375, by and between KA'U AGRIBUSINESS CO., INC.
       (formerly known as KAU SUGAR COMPANY, INC .), a Hawaii corporation and
       successor to HUTCHINSON SUGAR PLANTATION COMPANY, as Lessor, and
       HAWAII ELECTRIC LIGHT COMPANY, INC. (formerly known as HILO ELECTRIC
       LIGHT COMPANY, LIMITED), a Hawaii corporation, as Lessee; re: Parties
       have elected to continue the term of said lease on a year-to-year
       basis, re-survey of existing pole line, including proposed storm guys,
       e tc .


       Said easements affecta.ng the subject land are EASEMENT "A", 20-foot
       wide Utility Line Easement, containing an area of 4.18 acres, more
       or less, being more particularly described therein.



5.     GRANT

       TO         . GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED      . September 20, 1996
       RECORDED   . Document No. 96-139574
       GRANTING . non-exclusive right and easement for utility purposes
                     as shown on map attached thereto



6.     GRANT

       TO            GTE HAWAIIAN TELEPHONE COMPANY INCORPORATED, a Hawaii
                     corporation, now known as HAWAIIAN TELCOM, INC.

       DATED      : May 31, 2000
       RECORDED   . Document No. 2000-093550
       GRANTING      non-exclusive right and easement for utility purposes,
                     Easement 'IT-111, as shown on map attached thereto



7.    Archaeological sites identified in the Archaeological Inventory
      Survey of a Property Located at TIrIIC (3) 9-5-012:17 in Ki'oloku and
      Kaunamano Ahupua'a, Kau District, Island o£ Hawaii by Diane Guerriero,
      B.A., Elizabeth Gregg, B.A., Joseph Kennedy, M.A., dated April 2005;
      subject to the terms and provisions, including the failure to comply
      with any recommendations made in said above report or made pursuant
      to any federal, state, or county laws and regulations regarding such
      sites and di.scoveries.

201525050E   _         © Title Guaranty of Hawaii, Inc.                             Page 5
                        235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 179 of 196
                             PageID.189



                                  EXHIBIT CONTINUED



 8.    Any unrecorded leases and matters arising from or affecting the same.



 9.    Claims arising out of customary and traditional rights and practices,
       including without limitation those exercised for subsistence,
       cultural, religious, access or gathering purposes, as provided for
       in the Hawaii Consti.tution or the Hawaii Revised Statutes.



 10. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.




201525050E            O Title Guaranty of Hawaii, Inc.
                      O                                                           Page 6
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533£261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 180 of 196
                            PageID.190




                                     EXHIBIT 11 24"

                               LEGAL DESCRIPTION



 -ITEM I:-

 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Number 7049, Land Commission Award
 Number 8559-B, Apana 13 to Wm. C. Lunalilo, and Royal Patent Number 6926,
 Land Commission Award Number 9560 to Puupa) situate, lying and being at
 Honuapo, District of Ka'u, Island and County of Hawaii, State of Hawaii,
 being LOT B, bearing Tax Key designation (3) 9-5-014-008, and containing
 an area of 366.142 acres, more or less.



 -ITEM II:-

Together with a non-exclusive easement for access and utility purposes over
and across Easement "B" (50-feet wide), as granted by GRANT OF EASEMENT
FOR ACCESS AND UTILITY PURPOSES, dated December 15, 2003, recorded as
Document No. 2003-284524, more particularly described therein; and subject
to the terms and provisions contained therein.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED        December 22, 2015
       FILED        Land Court Document No. T-9486031
       RECORDED     Document No. A-53840236




201524882D            © Title Guaranty of Hawaii, Inc.                              Page 1
                       235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 181 of 196
                             PageID.191



                                  EXHIBIT CONTINUED



 Together with nonexclusive easements for roadway, access and utility
 purposes through tax map key parcel (3) 9-5-014-017, as granted in
 DECLARATION OF EASEMENT FOR ROADWAY AND UTILITY PURPOSES dated November
 30, 2015, recorded as Document No. A-58340239.



                                   SCHEDULE B FOR
                                    EXHIBIT 11 24"


 This policy does not insure against loss or damage, and the Company will
 not pay costs, attorneys' fees, or expenses that arise by reason of:



 1.    Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-5-014-008                 Area Assessed: 366.142 acres


       -Note:- Attention is invited to the fact that the premises covered
                herein may be subject to possible rollback or retroactive
                property taxes.



2.     Mineral and water rights of any nature.



3.     GRANT

       TO        . HAWAII ELECTRIC LIGHT COMPANY, INC.
       DATED      . August 28, 1995
       RECORDED   . Document No. 95-120864
       GRANTING . non-exclusive right and easement for utility purposes
                     as shown on map attached thereto




201524882D            © Title Guaranty of Hawaii, Inc.                            Page 2
                       2350UEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 182 of 196
                            PageID.192
                     ~""•..




                                        EXHIBIT CONTINUED



4.     GRANT

       TO             UNITED STATES OF AMERICA, represented by the Federal
                      Aviation Administration, Western-Pacific Region

       DATED     . September 7, 1995
       RECORDED  . Document No. 95-126813
       GRANTING . exclusive use of 22,500 square feet of land to
                    construct, install, operate and maintain the South
                    Hawaii NEXRAD facility, referred to as Easement 1 and
                    the non-exclusive use of an access road, referred to
                    as Kaalaiki Road, extending from the Site to State Route
                    11. Said Easement 1 being more particularly described
                    therein



5.     GRANT

       TO             GTE HAWAIIAN TELEPHONE COMPANY, INCORPORATED, now
                      known as HAWAIIAN TELCOM, INC.

       DATED      . September 20, 1996
       RECORDED   . Document No. 96-139574
       GRANTING      non-exclusive right and easement for utility purposes
                     as shown on map attached thereto



6.     GRANT

       TO         . HAWAII ELECTRIC LIGHT COMPANY, INC. and GTE HAWAIIAN
                     TELEPHONE COMPANY, INCORPORATED, now known as HAWAIIAN
                     TELCOM, INC.

      DATED      . April 4, 1997
      RECORDED      Document No. 97-060718
      GRANTING . nonexclusive easements for utility purposes as shown
                    on map attached thereto




201524882D               © Title Guaranty of Hawaii, Inc. .                               Page 3
                              235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 183 of 196
                             PageID.193



                                  EXHIBIT CONTINUED



 7.    GRANT

       TO            THE NATURE CONSERVANCY, District of Columbia not for
                     profit corporation

       DATED     . February 28, 2002
       RECORDED  . Document No. 2002-037419
       GRANTING . nonexclusive easement for access purposes over and
                    across the easement area, being the existing roadways,
                    as shown on map attached thereto



 8.    The terms and provisions contained in the following:

       INSTRUMENT : AGREEbJENT AND MEMORANDUM OF UTILITY EASEMENT

       DATED      . April 11, 2002, but effective as of December 1, 1993
       RECORDED   . Document No: 2002-104889
       PARTIES    . KAU AGRIBUSINESS CO., INC., a corporation, and CROWN
                     CASTLE GT COMPANY LLC, a Delaware limited liability
                     company
       RE         . easement for utility purposes as shown on map attached
                     thereto for a term of 59 months beginning December 1,
                     1993


       Said AGREEbIBNT was assigned by ASSIGNNJENT AND ASSUMPTION AGREEIMENT
       dated April 1, 2000, recorded as Document No. 2002-133572, by GTE
       WIRELESS OF THE PACIFIC INCORPORATED, a Delaware corporation
       (successor by name change to GTE MOBILNET OF HAWAII INCORPORATED,
       successor by merger to GTE MOBILNET OF HAWAII INCORPORATED)..



9.     Any and all existing roads, trails, easements of way, flumes and
       irrigation ditches.




201524882D             © Title Guaranty of Hawaii, Inc.                            Page 4
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 184 of 196
                             PageID.194
                     f   ~                                                      '




                                    EXHIBIT CONTINUED



 10.   The following unrecorded licenses and leases and matters arising from
       or affecting the same:

       (A) WALTER ANDRADE, under unrecorded "Pasture Lease C".

             Said Lease covers the land described herein, besides other land.

       (B) ALFRED and STEPHANIE SIMEONA, under recorded agreement
           "M04500A".

       (D) HOMER HASHIMOTO, under recorded agreement "M97080".



 11. DECLARATION OF EASEMENTS FOR ROADWAY AND UTILITY PURPOSES (Easements
      A and B in favor of Lot C) by C. BREWER AND COMPANY, LIMITED, a Hawaii
      corporation ("Declarant"), dated October 26, 2004, recorded as
      Document No. 2004-262577; re: a perpetual nonexclusive easement for
      roadway, access and utility purposes over and across Easement "B"
      (area 4,500 sguare feet), more particularly described therein.



12. The terms and provisions contained in that certain unrecorded
     AGREEbENT PERTAINING TO CROWN EASEMENT dated December 17, 2004, by
     and between C. BREWER COMPANY, LIMITED, a Hawaii corporation, and BIG
     ISLE V VENTURES, LLC, a Delaware limited liability company.

       A MEMORANDUM OF AGREEMENT (CROWN EASEMENT) is dated December 17, 2004,
       recorded as Document No. 2004-262581.



13. The terms and provisions contained in that certain unrecorded
     AGREEMENT PERTAINING TO FAA EASEMENT dated December 17, 2004, by and
     between C. BREWER COMPANY, LIMITED, a Hawaii corporation, and BIG ISLE
     V VENTURES, LLC, a Delaware limited liability company.

       A MEMORANDUM OF AGREE[MENT (FAA EASEMENT) is dated December 17, 2004,
       recorded as Document No. 2004-262582.




201524882D               © Title Guaranty of Hawaii, Inc.                            Pagc 5
                         235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 185 of 196
                             PageID.195



                                  EXHIBIT CONTINUED



 14. The terms and provisions contained in the following:

       INSTRUMENT : SPECIAL WARRANTY DEED WITH EXCEPTIONS AND RESERVATIONS

       DATED         December 17, 2004
       RECORDED   . Document No. 2004-262578



 15. -AS TO ITEM II:-

       The terms and provisions contained in GRANT OF EASEI4ENT FOR ACCESS
       AND IITILITY PURPOSES, dated December 15, 2003, recorded as Document
       No. 2003-284524.



 16. Claims arising out of customary and traditional rights and practices,
     including without limitation those exercised for subsistence,
     cultural, religious, access or gathering purposes, as provided for
     in the Hawaii Constitution or the Hawaii Revised Statutes.



 17. Any unrecorded leases and matters arising from or affecting the same.



 18. Discrepancies, conflicts in boundary lines, shortage in area,
     encroachments or any other matters which a correct survey or
     archaeological study would disclose.




201524882D            © Title Guaranty of Hawaii, Inc.                             Page 6
                       235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 186 of 196
                     !   l
                            PageID.196           e-1                          y -5




                                       EXHIBIT 11 25 11

                                 LEGAL DESCRIPTION



A11 of that certain parcel of land (being portion(s) of the land(s)
described in and covered by Royal Patent Grant Number 7326, Land Commission
Award Number 7314 to Ku) situate, lying and being at Poupouwela and Kowala,
District of Kau, Island and County of Hawaii, State of Hawaii, being LOT
170-A, same being a subdivision of Lot Number 170 of the "Naalehu
Subdivision, Third Series", and thus bounded and described:

Beginning at a spike at the southeast corner of this parcel of land, and
at the northwesterly side of the Mamalahoa Highway, the coordinates of said
point of beginning referred to Government Survey Triangulation Station
"STEIN 211 , being 247.09 feet north and 2,368.31 feet west and running by
azimuths measured clockwise from true South:

1.      770 26' 11"           49.15             feet along the northwesterly side of the
                                                Mamalahoa Highway to a pipe;

       Thence along Kukui Street along a curve to the right having a radius
                                    of 55.00 feet, the chord azimuth and
                                    distance being:

2.     1190 25' 05"           73.58             feet to a pipe;

3.     1610 24'              101.94             feet along the easterly side o£ Kukui
                                                Road to a nail;

       Thence along the easterly side of Kukui Road along a curve to the left
                                     having a radius of 620.00 feet, the chord
                                     azimuth and distance being:

4.     1600 49' 20"           12.50             feet to a nail (found);

5.     2570 15' 45"           81.64             feet along Lot 171, Naalehu Subdivision,
                                                Third Series to a pipe;




2015248821               © Title Guaranty of Hawaii, Inc.                            Page 1
                         235 QUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533£261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 187 of 196
                            PageID.197



                                     EXHIBIT CONTINUED



 6.    1630   53'   30"         10.00            feet along Lot 171, Naalehu Subdivision,
                                                 Third Series to a pipe;

 7.    2530   53'   30"         35.05            feet along Lot 171 and 173, Naalehu
                                                 Subdivision, Third Series to a pipe;

 8.    347°   26'   11"       175.40             feet along Lot 170-B, to the point of
                                                 beginning and containing an area of
                                                 17,382 square feet, more or less.

Together with a nonexclusive easement across Lot 170-B, to be used in common
with others, and described as follows:

Beginning at a spike at the southwest corner of this parcel of land and
at the northwesterly side of the Mamalahoa Highway, the coordinates of said
point of beginning referred to Government Survey Triangulation Station
"STEIN 2" being 247.09 feet north and 2368.31 feet west and running by
azimuths measured clockwise from true South:

1.     167°   26'   11'       158.47             feet;

2.     2570   26'   11"         20.14            feet;

3.     3500   01'   20"       158.63             feet to a point at the northwesterly side
                                                 of the Mamalahoa Highway;

4.      770   26'   11"         12.98            feet along the northwesterly side of the
                                                 Mamalahoa Highway to the point of
                                                 beginni.ng and containing an area of
                                                 2,623 square feet, more or less.




2015248821                © Title Guaranty of Hawaii, Inc.                           Page 2
                          235 OUEEN ST.. HONOLULU, HAWAII 96813, PH: (808) 5338261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 188 of 196
                            PageID.198



                                 EXHIBIT CONTINUED



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED      . December 22, 2015
       FILED      . Land Court Document No. T-9486031
       RECORDED   . Document No. A-58340236



                                   SCHEDULE B FOR
                                    EXHIBIT "25"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

       Payable on or before February 20, 2016.

       Tax Key: (3) 9-5-024-008                 Area Assessed: 17,382 sq. ft.



2.     Mineral and water rights of any nature.



3.     GRANT

       TO         . HILO ELECTRIC LIGHT COMPANY and HAWAIIAN TELEPHONE
                     COMPANY, now known as HAWAIIAN TELCOM, INC.

       DATED      . April 22, 1966
       RECORDED . Liber 5339 Page 16
       GRANTING . non-exclusive right and easement for utility purposes




2015248821            © Title Guaranty of Hawaii, Inc.                            Page 3
                       2350UEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 189 of 196
                             PageID.199



                                   EXHIBIT CONTINUED



4.     Reservations contained in DEED dated April 13, 1978, recorded in Liber
       12858 at Page 713, to-wit:

       "Reserving, however, unto the Grantor, a 10-foot wide non-exclusive
       easement for the operati.on, maintenance, repair, replacement, and
       removal of the existing sewer line and associated facilities under
       and across said Lot 170-A, the location of said easement being shown
       on the plan attached hereto as Exhibit A and hereby made a part hereof,
       together with the right of ingress and egress to and.from said easement
       area for all purposes in connection therewith; and together also with
       the right to assign and transfer said easement and.right of ingress
       and egress to a public utility, or to the State or County of Hamaii,
       or other appropriate governmental agency; provided, however, that the
       Grantor may at any time terminate said easement by executing a
       Declaration of Abandonment of Easement and recording same in the
       Bureau of Conveyances of Hawaii, and upon such termination such sewer
       line and other physical facilities may remain in said Lot without
       liability for any damages to property or injury to persons by reason
       of their continued existence, and title thereto shall vest in the owner
       of said Lot without further action.

       And reserving, also, unto the Grantor the right to enter at any time
       upon said Lot 170-A, for purposes of excavating and otherwise
       constructing a cesspool in said Lot, and to disconnect from said sewer
       line and connect to said cesspool all of the plumbing facilities then
       existing within said Lot at the time of such excavation, construction
       and connection shall be at the Grantor's own expense and shall be
       carried out in accordance with the provisions of the Sanitary Codes
       of the County of Hawaii and the State Board of Health."



S.     Nonexclusive road easement containing an area of 1,512 square feet,
       more or less, to be used in common with others, as shown on Tax map
       and more particularly described in DEED dated April 13, 1978, recorded
       in Liber 12858 at Page 713.



6. 5-foot setback for future road widening, adjacent to courses 2 and
     3 over said Lot 170-A, as shown in Deed dated April 13, 1978, recorded
     in Liber 12858 at Page 713.




201524882I             © Title Guaranty of Hawaii, Inc.                              Page 4
                        235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 190 of 196
                            PageID.200
                     .~




                                  EXHIBIT CONTINUED



 7.    Any unrecorded leases and matters arising from or affecting the same.


8.     Discrepancies, conflicts in boundary lines, shortage in area,
       encroachments or any other matters whioh a correct survey or
       archaeological study would disclose.




2015248821            © Title Guaranty of Hawaii, Inc.                                     Page 5
                       235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-8261   '   '
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 191 of 196
                      -;     PageID.201           r`


                                         EXHIBIT 11 26"

                                   LEGAL DESCRIPTION



 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Number 7326, Land Commission Award
 Number 7314 to Ku) situate, lying and being at Poupouwela and Kowala,
 District of Ka'u, Island and County of Hawaii, State of Hawaii, being LOT
 170-B of the "NAALEHU SUBDIVISION, THIRD SERIES", same being a portion of
 Lot 170, and thus bounded and described:

Beginning at a spike at the southwest corner of this parcel of land, and
at the northwesterly side of the Mamalahoa Highway, the coordinates of said
point of beginning referred to Government Survey Triangulation Station
"STEIN 2" being 247.09 feet north and 2,368.31 feet west and running by
azimuths measured clockwise from true South:

 1.    1670   26'   11"       175.40             feet along Lot 170-A to a pipe;
 2.    2530   53'   30"       104.80              feet along Lot 173 and 174, Naalehu
                                                  Subdivision, Third Series to a pipe;
 3.    3480   19'             181.91             feet along Lot 170-C to a pipe at the
                                                 northwesterly side of the Mamalahoa
                                                 Highway;
 4.     770   26'   11"       101.81             feet along the northwesterly side of the
                                                 Mamalahoa Highway to the point of
                                                 beginning and containing an area of
                                                 18,432 square feet, more or less.


Together with a nonexclusive road easement across Lot 170-A, to be used
in common with others and described as follows:

Beginning at'a spike at the southeast corner of this parcel of land and
at the northwesterly side of Mamalahoa Highway, the coordinates of said
point of beginning referred to Government Survey Triangulation Station
"STEIN 211 , being 247.09 feet north and 2,368.31 feet west and running by
azimuths measured clockwise from true South:




201524882J                © Title Guaranty of Hawaii, Inc.                            Page 1
                          235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 192 of 196
                             PageID.202



                                     EXHIBIT CONTINUED



 1. 770 26' 11"                   9.53            feet along the northwesterly side of the
                                                  Mamalahoa Highway;

 2.    1670   26'   il"       158.47              feet;

 3.    2570   26'   11"           9.53            feet;

 4.    3470   26'   11"       158.47              feet to the point of beginning and
                                                  containing an area of 1, 512 square feet,
                                                  more or less.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR      . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE      . RA'U MFiHI, LLC, a Colorado li.mited liability company

       DATED     . December 22, 2015
       FILED     . Land Court Document No. T-9486031
       RECORDED . Document No. A-58340236



                                      SCHEDULE B FOR
                                       EXHIBIT 11 26"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

      Payable on or before February 20, 2016.

       Tax Key: (3) 9-5-024-076                     Area Assessed: 18,432 sq. ft.



2.     Mineral and water rights of any nature.




201524882J                © Title Guaranty of Hawaii, Inc.                             Page 2
                          235 OUEEN ST., HONOLULU, HAW AII 96813, PH: (808) 533-6261
Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 193 of 196
                            PageID.203



                                   EXHIBIT CONTINUED



3.     GRANT

       TO         . HILO ELECTRIC LIGHT COMPANY, LIMITED and HAWAIIAN
                     TELEPHONE COMPANY, now known as HAWAIIAN TELCOM, INC.

       DATED      . April 22, 1966
       RECORDED      Liber 5339 Page 16
       GRANTING , non-exclusive right and easement for utility purposes



4.     DESIGNATION OF EASEMENT (10 feet wide)

       PURPOSE . sewer
       SHOWN      on tax map



S. DESIGNATION OF EASEMENT

       PURPOSE    . nonexclusive road
       SHOWN         on tax map and more particularly described in
                     instrument dated September 28, 2001, recorded as
                     Document No. 2001-170027



6.     The terms and provisions contained in the following:

       INSTRUMENT : DEED

       DATED         November 28, 1977
       RECORDED      Liber 12708 Page 618



7.     Any unrecorded leases and matters arising from or affecting the same.



8.     Discrepancies, conflicts in boundary lines, shortage in area,
       encroachments or any other matters which a correct survey or,
       archaeological study would disclose.




201524882J             © Title Guaranty of Hawaii, Inc.                             Page 3
                        235 QUEEN ST., HONOLULU, HAWAII 96613. PH: (808) 533-6261
 Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 194 of 196
                             PageID.204
                                                                             ~




                                     EXHIBIT 11 27"

                               LEGAL DESCRIPTION



 A11 of that certain parcel of land (being portion(s) of the land(s)
 described in and covered by Royal Patent Grant Number 2446 to Kamalo)
 situate, lying and being at Palima, District of Kau, Island and County of
 Hawaii, State of Hawaii, being LOT 34, bearing Tax Key designation (3)
 9-6-015-032, and containing an area of 44,952 square feet, more or less.



       BEING THE PREMISES ACQUIRED BY QUITCLAIM DEED

       GRANTOR    . HI BIV LAND LLC, a Delaware limited liability company

       GRANTEE    . KA'U MAHI, LLC, a Colorado limited liability company

       DATED         December 22, 2015
       FILED         Land Court Document No. T-9486031
       RECORDED      Document No. A-58340236



                                   SCHEDULE B FOR
                                    EXHIBIT 11 27"


This policy does not insure against loss or damage, and the Company will
not pay costs, attorneys' fees, or expenses that arise by reason of:



1.     Real Property Taxes, Second Installment, Fiscal Year July 1, 2015 -
       June 30, 2016.

      Payable on or before February 20, 2016.

       Tax Key: (3) 9-6-015-032                 Area Assessed: 44,952 sq. ft.




201524882V             © Title Guaranty of Hawaii, Inc.                            Page 1
                       235 OUEEN ST., HONOLULU, HAWAII 96813. PH: (808) 533-6261
         Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 195 of 196
,   ~                                PageID.205



                                           EXHIBIT CONTINUED



         2.    Mineral and water rights of any nature.



         3.    Triangulation Survey Station "MILL FLP,G" located within the land
               described herein, referenced on the Tax Map. Attention is invited
               to the provisions of Section 172-13 of the Hawaii Revised Statutes,
               relative to destruction, defacing or removal of survey monuments.




         4.    Terms and provisions, as contained in letter entitled "Re:
               Archaeological Assessment for Three Na'alehu Project Areas, Island
               of Hawaii" , dated June 2, 2006, by Paul L. Cleghorn, Ph . D., Principal ,
               Senior Archaeologist, Pacific Legacy, Incorporated, including the
               failure to comply with any recommendations made in said above letter,
               or made pursuant to any federal, state or county laws and regulations
               regarding any sites and discoveries.



         5.    Any unrecorded leases and matters arising from or affecting the same.



         C     Discrepancies, conflicts in boundary lines, shortage in area,
               encroachments r any other matters which a correct survey or
               archaeological study would disclose.




        201524882V              © Title Guaranty of Hawaii, Inc.                             Page 2
                                 235 OUEEN ST., HONOLULU, HAWAII 96813, PH: (808) 533-6261
          Case 1:20-cv-00448-JAO-KJM Document 1-2 Filed 10/20/20 Page 196 of 196
                                      PageID.206


         STATE OF HAWAI`I                                                                                CASE NUMBER
                                                                  SUMMONS
     CIRCUIT COURT OF THE
                                                       TO ANSWER CIVIL COMPLAINT
           THIRD CIRCUIT
  PLAINTIFF                                                     vS.       DEFENDANT(S)
  KA'U MAHI, LLC, a Colorado limited liability company                   FIRST AMERICAN TITLE INSURANCE COMPANY, a
                                                                         Nebraska corporation; DOES 1-25




  PLAINTIFF'S NAME & ADDRESS, TEL. N0.
 KA'U MAHI, LLC, a Colorado limited.liability company
 c/o CARLSMITH BALL LLP
 John Manaut, Esq.
 Katherine A. Garson; Esq.
 lan R. Wesley-Smitli; Esq.
 1001 Bishop Street, Suite 2100
 Honolulu, Hawaii 96813
 Tel. No. (808) 523-2500

    TO THE ABOVE-NAMED DEFENDANT(S)
              You are hereby summoned and required to file with the court and serve upon
     John Manaut, Esq., Katherine A. Garson, Esq., lan R. Wesley-Smith, Esq.
     Carlsmith Ball LLP
     1001 Bishop Street, Suite 2100, Honolulu, Hawaii 96813

     plaintiff's attorney, whose address is stated above, an answer to the complaint which is herewith served upon you, within
     20 days after service of this summons upon you, exclusive of the date of service. If you fail to do so, judgment by default
     will be taken against you for the relief demanded in the coinplaint.

          THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
          PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
          COURT PERMITS, IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING THOSE HOURS.
          A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY OF DEFAULT AND DEFAULT
          JUDGMENTAGAINST THE DISOBEYING PERSON OR PARTY.



    The original document is filed in the                             Effective Date of 28-Oct-2019                  `~
    Judiciary's electronic case management                                                                           ~
                                                                      Signed by: /s/ Cheryl Salmo
    system which is accessible via eCourt.Kokua                                                                      ~
    at: http:/www.courts.state.hi.us                                  Clerk, 3rd Circuit, State of Hawai`i


                In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
                reasonable accdmmodation for a disability, please contact the ADA Coordinator at the Circuit Court Administration Office on
                HAWAII- Phone No. 808-961-7424, TTY 808-961-7422, FAX 808-961-7411, at least ten (10) working days prior to your
                hearing or appointment date.




Form SC-P-787 (3CCn (10/19)
Summons to Complaint ©RG-AC-508 (10/19)
